                             EXHIBIT A




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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


SYNGENTA CROP PROTECTION, LLC,                                )
                                                              )
                 Plaintiff,                                   )       Civil Action No: 1:15-CV-274
                                                              )
        v.                                                    )       CONTAINS INFORMATION
                                                              )       DESIGNATED BY WILLOWOOD
WILLOWOOD, LLC, WILLOWOOD USA,                                )                     AS
LLC, WILLOWWOOD AZOXYSTROBIN,                                 )       ATTORNEYS’ EYES ONLY,
LLC, and WILLOWOOD LIMITED,                                   )       SUBJECT TO
                                                              )       PROTECTIVE ORDER
                 Defendants.                                  )
                                                              )


                     EXPERT REPORT OF BENJAMIN S. WILNER, Ph.D.

        The Plaintiff, Syngenta Crop Protection, LLC (“Syngenta”), retained Alvarez & Marsal
Disputes and Investigations, LLC (“A&M DI”) in the above captioned matter. In particular, I,
Benjamin S. Wilner, Ph.D., was asked to quantify damages Syngenta suffered as a result of the
multiple allegedly improper actions of Willowood, LLC, Willowood USA, LLC, Willowood
Azoxystrobin, LLC, and Willowood Limited (collectively, “Willowood” or the “Defendants”)
relating to Syngenta’s azoxystrobin products.
        Assuming the Finder of Fact determines the Defendants’ actions are improper,1 I find that
Syngenta’s damages are between $75.7 million and $273.4 million. With prejudgment interest,
damages are between $85.7 million and $297.9 million. If it is determined that the Defendants
infringed on Syngenta’s patents, I find that Syngenta’s lost profit damages are between $75.7
million and $273.4 million ($85.7 million to $297.9 million, with prejudgment interest). If the
Finder of Fact determines that the Defendants infringed on Syngenta’s copyrights, the damages
would be $135.5 million ($155.3 million with prejudgment interest).
        The opinions in this Report are preliminary and are based on the documents in Exhibit 1
in addition to conversations with Syngenta personnel, and my experience and training. I reserve
the right to modify and/or expand my opinions as I obtain additional information or perform any
additional work or analysis I may be asked to perform prior to or at trial.

1
  This Report assumes that the Finder of Fact makes such a determination. As an economist and statistician, I have
no opinion about whether the actions were improper. As a result, this Report does not refer to the Defendants’
actions as being improper; only that they are alleged to be improper. Nonetheless, I understand that Willowood
concedes that at least Willowood USA, LLC infringed Syngenta’s U.S. Patent Nos. 5,602,076 and 5,633,256 by
importing azoxystrobin into the United States in 2013 and using that azoxystrobin technical by having it 1)
formulated into end-use products and 2) tested in 2013. (Defendants’ Second Supplemental Non-Infringement and
Invalidity Contentions, dated June 27, 2016, pp. 2, 7-8; Willowood’s Responses to Syngenta’s Requests for
Admission, dated July 29, 2016, pp 1-21).
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        A&M DI is compensated for its services on an hourly basis and is being reimbursed for
out-of-pocket expenses. A&M DI is compensated at a rate of $595 per hour for my time. Other
individuals from A&M DI also provided assistance in this matter; their hourly rates range from
$185 to $450. No one who has contributed to this engagement has any known financial interest
in any party to the matter. A&M DI’s compensation is neither based nor contingent on the
results of this analysis.
        This report is provided solely for use in the matter described in the caption at the top of
this report. This report is not to be used with, circulated, quoted or otherwise referred to in whole
or in part for any other purpose, or in any other document without my expressed written consent.


 I.    Qualifications
        My qualifications are stated in my curriculum vita, which is attached as Exhibit 2. That
exhibit details my education, credentials, testimony, and publications.
        In particular, I am a Managing Director at Alvarez & Marsal Disputes and Investigations,
LLC. I have performed economic analyses in a great variety of engagements, including financial
analysis, contract losses, a wide range of class action matters, employment discrimination, and
intellectual property matters. I am the author of an annual report analyzing the crop insurance
industry as well.
       I have a Bachelor of Arts degree, Magna cum Laude with Distinction in Major in
Mathematics and Economics from the University of Pennsylvania as well as a General Course
Degree in Mathematics and Statistics from the London School of Economics. I was awarded a
Ph.D. in Managerial Economics and Decision Science from the Kellogg Graduate School of
Management at Northwestern University.
       I have served as a professor of economics, finance and statistics in the business schools at
the University of Michigan, the University of Iowa, Northwestern University and the Helsinki
School of Economics.
        My research has been published in the Journal of Finance, the leading academic journal
in finance, which covers topics in subfields such as corporate finance, asset valuations and
forensic economics. I have been awarded research grants from multiple universities as well as
from the United States Government’s National Science Foundation. My research has been
extensively cited. For example, the former President of the University of Chicago relied on my
undergraduate thesis as the theoretical basis for one of his published research papers. I also
served as a referee for multiple academic journals and textbooks.
        As an undergraduate, I spent three years as a research assistant to the 1980 Nobel Prize
winner Lawrence R. Klein. Dr. Klein was awarded the Nobel Prize in Economics for economic
and statistical forecasting. As a graduate student, I studied under Roger Myerson, who won the
2007 Nobel Prize in Economics for game theory, and Dale Mortensen, who won the 2010 Nobel
Prize in Economics for his study of labor markets.


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          I was also involved in the trading of corn and soybean futures while interning in the grain
 pits at the Chicago Board of Trade.


II.       Case Background
        A. Syngenta Crop Protection, LLC
         The Plaintiff, Syngenta Crop Protection, LLC, is a limited liability company organized
 and existing under the laws of the State of Delaware,2 and a United States subsidiary of Syngenta
 AG,3 a world-leading agribusiness producing products for crop protection, seeds, and lawn &
 garden applications.4 Syngenta is involved in the research, development, manufacture, and sale
 of crop protection chemicals, including fungicides, herbicides, insecticides, and seed treatments
 to control weeds, insects, and diseases in agricultural crops such as corn, wheat, soybeans, sugar
 beets, and cotton.5 Sister companies to Syngenta sell products for use in seed and lawn & garden
 applications in the United States.6
         One of the world’s best-selling proprietary fungicides and Syngenta’s largest selling
 product worldwide is azoxystrobin.7,8 Azoxystrobin is registered for use in approximately 100
 countries and for approximately 120 crops, including row crops such as corn, soybeans, and
 wheat.9
                              .10
         Azoxystrobin prevents and/or cures the major groups of pathogenic plant fungi, which
 cause soil-borne and foliar diseases such as rusts, powdery mildew, downy mildew, black rot,
 scab, anthracnose, white mold, Rhizoctonia limb, peg rot, early and late leaf spot, black sigatoka,
 botrytis, web blotch, and rice blast.11 Preventing and/or curing these fungal diseases through
 azoxystrobin:



 2
     Complaint, dated March 27, 2015, (“Complaint”), p. 2.
 3
     www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=2732461.
 4
   Syngenta AG Form 20-F, dated February 11, 2016, p. 44 (www4.syngenta.com/~/media/Files/S/Syngenta/media-
 releases/2015-form-20-f.pdf) (“Syngenta AG Form 20-F”).
 5
     www.syngentacropprotection.com; Complaint, p. 2.
 6
     www.syngenta-us.com/crops; www.syngentaprofessionalproducts.com/ppmain.aspx.
 7
   Nigel Uttley, Product Profile: Azoxystrobin (www.agribusinessglobal.com/agrichemicals/fungicides/product-
 profile-azoxystrobin) (“Azoxystrobin Product Profile”).
 8
     Syngenta AG Form 20-F, p. 17.
 9
     Ibid; Deposition of Rex Wichert, dated July 15, 2016, p. 31.
 10
   Amount excludes fungicides for use in lawn & garden, seed treatment, and wallboard applications (Gross to Net
 June LP.xlsx (SYN 287760).
 11
      Azoxystrobin Product Profile.
                                                          Page 3
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               Improves plant growth and average yields (“up to two to three times return on
                investment for corn”);12

               Provides long-lasting preventative and curative disease control to combat existing
                diseases; and,

               Provides movement throughout entire plant to provide uniform coverage.13
         Azoxystrobin is sold in two forms: technical and end-use. Azoxystrobin technical refers
to azoxystrobin in a relatively pure form that is then used as an active ingredient in end-use
azoxystrobin products. Syngenta uses azoxystrobin technical in its own end-use products and
sells it to select third-party suppliers, who either manufacture their own end-use azoxystrobin
product or repackage Syngenta’s product.




                                                                           .15
       Syngenta’s end-use azoxystrobin is sold under several different brand names such as
Quilt, Quadris, Abound, and Trivapro. 16 There are four general applications for end-use
azoxystrobin. 17 First, end-use azoxystrobin is primarily used as a crop protection product.
Growers apply end-use azoxystrobin (sometimes in combination with other insecticides and
herbicides) to planted agricultural crops like corn, wheat, and soybeans to protect them from
various fungi. Second, end-use azoxystrobin has seed care uses, where the chemical is applied to
seeds prior to planting. Third, end-use azoxystrobin can be applied to lawn & garden products.18
Fourth, end-use azoxystrobin is used as an ingredient in paper, wallboard, and paperboard
products.



12
 QUILT XCEL Competitor Sheet (www.syngentacropprotection.com/quilt-xcel-fungicide?tab=details) (“QUILT
XCEL Competitor Sheet”).
13
  QUILT XCEL Competitor Sheet and QUADRIS Early Info Sheet (www.syngentacropprotection.com/quadris-
fungicide?tab=details).
14
     Deposition of Jeff Cecil, dated July 13, 2016, p. 127.
15
     Exhibits B and C to
                                   (SYN 284185-86).
16
   www.syngenta-us.com/labels/quilt; www.syngenta-us.com/labels/quadris; www.syngenta-us.com/labels/abound-
flowable; and www.syngenta-us.com/labels/trivapro.
17
     See Exhibit 3.
18
  I understand Willowood considers the first three applications to be part of the crop protection portion of its
company. Deposition of Brian Heinze, dated August 4, 2016, pp. 133-134.
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        I understand that the United States Environmental Protection Agency (“EPA”) has to
approve each application of end-use products. As discussed below, I conservatively limit my
analysis in this Report to azoxystrobin crop protection products, which I call the “AZ Products-
at-Issue.”
        The AZ Products-at-Issue typically are sold through a two-step or three-step distribution
chain. In the two-step chain, Syngenta sells its products to cooperatives or independent
distributors, who then sell to growers. In the three-step system, Syngenta sells to distributors or
cooperative unions who act as wholesalers. These wholesalers then sell the product to
independent dealers or primary cooperatives before on-selling to growers.19
       I understand that a Syngenta predecessor first sold its azoxystrobin technical and end-use
products in 1997. As shown in Exhibit 3, between 2012 and June 2016, Syngenta marketed the
AZ Products-at-Issue under several brands.

                             .20
       I would like to highlight two types of new brands that Syngenta introduced in the past 18
months. First, in 2015, Syngenta introduced Aframe and Aframe Plus end-use azoxystrobin
products. 21 Aframe includes azoxystrobin as the active ingredient. Aframe Plus includes
azoxystrobin and propiconazole as active ingredients.22



                                                                                                        ”25
        Second, in 2016, Syngenta introduced their latest generation fungicides to the United
States, under the brand names Trivapro and Elatus. 26 Not only do these products contain
azoxystrobin, but they also contain other active ingredients that augment the benefits of
azoxystrobin and help address different crop and disease profiles. 27 For example, Trivapro
includes azoxystrobin, benzovindiflupyr, and propiconazole as active ingredients. 28 Syngenta

19
     Syngenta AG Form 20-F, p. 26; Deposition of Jeff Cecil, dated July 13, 2016, p. 102.
20
                                   (SYN 287760);                                  (SYN 287759).


21
                                   (SYN 287760).
22
     EPA Registration Nos. 100-1098 (SYN 290830-73) and 100-1324 (SYN 290696-748).
23
                                                                       (SYN 283435-36);
               (SYN 283733-98).
24
     Deposition of Jeff Cecil, dated July 13, 2016, Exhibit 1, p. 3.
25
     Deposition of Jeff Cecil, dated July 13, 2016, p. 37.
26
                                   (SYN 287760).
27
     Deposition of Andrew Fisher, dated July 22, 2016, pp. 49-52.
28
     EPA Registration Nos. 100-1324 (SYN 290696-748).and 100-1471 (SYN 290896-935).
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registered benzovindiflupyr under the trademark Solatenol in the United States in January
2015.29 According to Syngenta:
             Trivapro™, the next generation corn fungicide from Syngenta, is the hardest-
             working, longest-lasting fungicide on the market. In fact, Trivapro works ten
             times harder than competitive brands. What sets Trivapro apart from the
             competition? Trivapro contains Solatenol® fungicide, a breakthrough SDHI that
             is ten times more powerful than any other SDHI on the market. Combined with
             proven performers azoxystrobin and propiconazole, Trivapro gives growers the
             powerhouse fungicide they need to help shut down existing disease and prevent
             future infections.30
        Syngenta indicates that Trivapro provides excellent, long-lasting residual disease control,
binds the waxy layer of the plant for extended stay put protection, offers preventative and
curative disease control, and average yield increases. 31 Solatenol-based products were first
introduced outside of the United States in 2013 and were considered a blockbuster performer.32
        Elatus was also introduced in 2016 and includes azoxystrobin and
Solatenol/benzovindiflupyr. According to Syngenta, Elatus is the next generation fungicide for
peanut and potato growers looking to improve disease control, maximize yield, and protect
quality.33




                                                                                        .
       Azoxystrobin is part of the strobilurin family, which are a class of agricultural broad
spectrum fungicides.36 Other companies including Bayer, DuPont, and BASF sell brand-name

29
     U.S Trademark Serial Number 85373576.
30
     www.syngentacropprotection.com/trivapro-fungicide.
31
     Ibid.
32
   Syngenta AG Form 20F, p. 22; www.prnewswire.com/news-releases/syngenta-receives-epa-registration-for-
breakthrough-fungicide-solatenol-300135791.html.
33
     www.syngentacropprotection.com/elatus?tab=details-(solatenol-fungicide-+-azo)-fungicide.
34
  Deposition of Jeff Cecil, dated July 13, 2016, Exhibit 20, p. 3 (SYN 056120-41); Exhibit 1, p. 18 (SYN 283441-
62)
35
     Deposition of Jeff Cecil, dated July 13, 2016, Exhibit 1, p. 18 (SYN 283441-62).
36
     Deposition of Jeff Cecil, dated July 13, 2016, pp. 84 –85.
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strobilurin products. Exhibit 4 shows



       Given the importance of azoxystrobin, Syngenta and its predecessor companies applied
for and obtained patents directed to its azoxystrobin products. In 1997, United States Patent and
Trademark Office (“USPTO”) awarded Syngenta U.S. Patent Nos. 5,602,076 (“the ’076
Patent”)37 and 5,633,256 (“the ’256 Patent”),38 which I understand expired together on February
11, 2014. I also understand that the ’076 and the ’256 Patents each cover groups of chemical
compounds that include technical azoxystrobin.39
        Syngenta also invested significant resources developing processes for manufacturing
azoxystrobin technical, including the processes set forth in U.S. Patent No. 5,847,138 (“the ’138
Patent”) and U.S. Patent No. 8,124,761 (“the ’761 Patent”). The USPTO issued the ’138 Patent
on December 8, 1998, and I understand the ’138 Patent expired on December 8, 2015.40 The
USPTO issued the ’761 Patent on February 28, 2012, and I understand the ’761 Patent does not
expire until at least April 15, 2029. 41 It is my understanding that it is significantly more
expensive to produce azoxystrobin without utilizing the processes claimed in the ’138 Patent and
the ’761 Patent. I understand that Syngenta alleges that Willowood willfully infringed on these
patents. This further supports my opinion about the uneconomic nature of alternative processes
to manufacture azoxystrobin without infringing the ’138 Patent and the ’761 Patent.
        In addition to Syngenta’s patent protection, I understand that under the Federal
Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), the EPA requires companies to place
labels on their fungicides that describe the product, its use, directions for use, storage & disposal,
precautionary statements, and other product-related items. The EPA places such high
importance on the labels that they often require companies to edit their labels before FIFRA
approval is granted.42 Companies also place great care and time in the creation of these labels.
Not only do these labels instruct the consumer regarding how to use the products, but also the
labels serve as a marketing tool that sets forth the company’s vision for the product. 43 As Dr.
Adora Clark, Fungicide Team Lead – Azoxystrobin Regulatory Manager at Syngenta, testified,
the labels tell Syngenta’s story to the grower about how to utilize the fungicide and how the
product fits the grower’s needs.44 The label also sets forth the manufacturer’s warranties and
ways in which the manufacturer might be liable if the product is considered defective.


37
     U.S. Patent No. 5,602,076.
38
     U.S. Patent No. 5,633,256.
39
     Plaintiff Syngenta Crop Protection, LLC’s Second Supplemental Infringement Contentions, dated July 29, 2016.
40
     U.S. Patent No. 5,847,138.
41
     U.S. Patent No. 8,124,761.
42
  For example, see page 1 of EPA Registration Nos. 10182-415 (SYN 290635-50), 100-1161 (SYN 290656-95),
and 279-3442 (SYN 289973-94).
43
     Deposition of Adora Clark, dated July 22, 2016, p. 38.
44
     Deposition of Adora Clark, dated July 22, 2016, p. 20.
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       I am informed that Syngenta’s labels are entitled to copyright protection from the time
they were created. Syngenta submitted its copyrighted azoxystrobin labels for registration with
the United States Copyright Office (“UCO”) before the filing of this lawsuit. For example,
Syngenta registered the Quadris Flowable Fungicide label with the UCO on March 25, 2015
under UCO Registration No. TX0007992684. The Quilt Xcel label was registered with the UCO
on March 25, 2015 under UCO Registration No. TX0007994113. UCO Registration No.
TX0007992684 and UCO Registration No. TX0007994113 were published on July 31, 2013 and
July 18, 2013, respectively.
         As discussed above, Syngenta sells crop protection products including fungicides,
herbicides, and insecticides, which many growers utilize in conjunction with one another. For
example, growers sometimes request combinations of a fungicide, herbicide, and/or insecticide
so that they could obtain the benefits of all three in one application. It is my understanding that
growers sometimes request that the fungicide, herbicide, and/or insecticide in such combinations
are manufactured by the same company. That is because growers sometimes receive volume
discounts if they purchase from the same manufacturer. In addition, if a grower has a crop
failure, the claims process could be more difficult when multiple chemical providers are used.


       B. Willowood (the Defendants)
         The Defendants are part of the Willowood group of companies that, among other things,
import, develop, formulate, market, sell, and offer for sale generic crop protection products.
Willowood Limited is a Hong Kong based company, whom I understand sells azoxystrobin
technical to Willowood USA, LLC and ships the azoxystrobin technical into the United States. 45
Willowood USA, LLC, a Delaware-based company, arranges for the azoxystrobin technical to be
formulated into end-use azoxystrobin products that it then markets, sells, and offers for sale in
the United States.46 Beyond azoxystrobin, Willowood USA, LLC generally sells and offers for
sale herbicides, fungicides, insecticides, and other crop protection products for grass seeds, sugar
beets, corn, rice, tree fruits, nuts, grapes, and soybeans to the United States agriculture industry.47
Willowood Azoxystrobin, LLC and Willowood, LLC are Oregon-based companies that are
wholly owned by Willowood USA, LLC.48 In some instances, Willowood Azoxystrobin, LLC
has purchased and imported azoxystrobin technical from Willowood Limited and has represented
itself as a distributor of end-use azoxystrobin products in the United States.49 Willowood, LLC
applied for, obtained, and holds the EPA registrations on the end-use azoxystrobin products sold
by the Defendants, and Willowood, LLC was responsible for and commissioned the testing work
conducted in connection with those EPA registrations.50 Willowood, LLC also markets end-use

45
     Deposition of Brian Heinze, dated August 4, 2016, pp. 64, 67-68, and 71-72.
46
  Deposition of Brian Heinze, dated August 4, 2016, pp. 67-68; Defendants’ Answers and Objections to Plaintiff’s
Fourth Set of Interrogatories, dated July 14, 2016, pp. 2 and 4-7.
47
     www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=117472488.
48
     Deposition of Brian Heinze, dated August 4, 2016, p. 39.
49
     Deposition of Brian Heinze, dated August 4, 2016, pp. 49-50, 55, 57-58, and 60-61.
50
     Deposition of Brian Heinze, dated August 4, 2016, pp. 40-42.
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azoxystrobin products and has represented itself as a distributor of end-use azoxystrobin products
in the United States.51
         Syngenta alleges that the Defendants performed several improper actions to aid the
latter’s azoxystrobin sales.
        The EPA requires manufacturers to file an end-use product application when they desire
to sell fungicides. Manufacturers are required to submit comprehensive data showing that the
fungicide meets FIFRA’s requirements, including a demonstration that the product is safe.
However, the data requirements ordinarily applicable to manufacturers are relaxed if the
pesticide they seek to register utilizes a pre-approved product. In particular, the Formulator’s
Exemption “excuses an applicant from the requirement to submit or cite data pertaining to any
pesticide contained in his product that is derived solely from one or more EPA-registered
products with the applicant purchases from another person.”52
       Willowood utilized the Formulator’s Exemption in its August 13, 2013 EPA end-use
product application for its azoxystrobin product Azoxy 2SC, known as Azoxystrobin 2.08SC at
the time. 53 In particular, Willowood’s application stated that it was using Syngenta’s pre-
approved registration for azoxystrobin. I understand Willowood also utilized the Formulator’s
Exemption in its EPA end-use product application for its AzoxyProp Xtra product, another end-
use azoxystrobin product.54
        However, contrary to its application, Willowood did not utilize Syngenta’s azoxystrobin
in its Azoxy 2SC or AzoxyProp Xtra products. In fact, Syngenta has never supplied Willowood
with azoxystrobin technical or end-use azoxystrobin products. 55 Furthermore, Willowood
concedes that it never sought to obtain azoxystrobin from Syngenta.56 Based on Willowood’s
allegedly false statements in the Formulator’s Exemptions accompanying Willowood’s end-use
registrations, the EPA approved Willowood’s Azoxy 2SC and AzoxyProp Xtra end-use product
applications on January 6, 2014 and June 11, 2014, respectively.57
       Without use of the Formulator’s Exemption, Willowood would not have been able to
obtain EPA approval and sell its azoxystrobin products, as early as it did. Not only does a
company submitting an EPA end-use application with a Formulator’s Exemption avoid the time
consuming process of obtaining data demonstrating the efficacy of a fungicide, 58 the EPA
approves applications that cite to a Formulator’s Exemption more rapidly than other


51
     Deposition of Brian Heinze, dated August 4, 2016, pp. 44-46.
52
     40 C.F.R. § 152.85 as cited in Complaint, paragraph 40.
53
     EPA Registration No. 87290-44 (SYN 291061-125); Compliant, Exhibit 16, p. 4.
54
     EPA Registration No. 87290-56 (SYN 291185-217).
55
     Deposition of Rex Wichert, dated July 15, 2016, Exhibit 2.
56
     Answer, paragraphs 46-50; Answer.
57
  EPA Registration Nos. 87290-44 (SYN 291061-125) and 87290-56 (SYN 291185-217). I understand Syngenta
has requested that the EPA reverse its decision (Deposition of Jeff Cecil, dated July 13, 2016, p. 83).
58
     Deposition of Adora Clark, dated July 22, 2016, p. 42.
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applications.59 As a result, the Formulator’s Exemption enabled Willowood to speed up the time
to market for its azoxystrobin products.60 In fact, Willowood itself describes its registration
process as “unique and the fastest in the industry,” and has explained to investors that its process
takes approximately 12 months whereas other competitors take significantly longer.61
        Similarly, Willowood obtained early EPA approval by infringing on the ’076 and ’256
Patents. In particular, because Syngenta’s azoxystrobin is covered by the ’076 and ’256 Patents,
which had not expired when Willowood filed its EPA end-use product applications, Syngenta
alleges that Willowood infringed on its patents by importing azoxystrobin technical into the
United States and using the azoxystrobin technical to apply for and obtain its EPA registrations
and further by inducing others such as Adjuvants Unlimited and Analytical & Regulatory
Chemistry to use the azoxystrobin technical in formulation and testing activities before the
expiration of these patents.62 These infringing activities enabled Willowood to support its early
registration applications. Moreover, azoxystrobin sales peak in the fourth quarter of the year as
well as in the spring.63 Thus, Willowood was able to leverage its early EPA submissions and
registrations to make sales of end-use azoxystrobin products in Q4 2014 and Q1 2015.
Willowood likely would have missed making azoxystrobin sales for all or most of the 2015
growing season if it had waited to submit its end-use application until the expiry of the ’076
and ’256 Patents.
        Willowood manufactures its azoxystrobin technical via its manufacturer in China,
Yancheng Tai He Chemicals Co., Ltd. (“TaiHe”), and Willowood has imported and continues to
import this azoxystrobin technical from TaiHe into the United States for use in its end-use
products.64 Syngenta alleges that Willowood’s azoxystrobin technical is manufactured using the
patented process of the ’138 and ’761 Patents. To the extent that these patents were and
currently are utilized, Willowood has further infringed on Syngenta’s ’138 and ’761 Patents.
       Willowood began marketing its azoxystrobin products in 2013. For example, as early as
March 2013, Matt Heinze, a Regional Account Manager at Willowood USA, began emailing
potential customers regarding Willowood’s upcoming azoxystrobin products that he compared to
Syngenta’s products (e.g., Quadris, Abound).65 In December 2013, Brian Heinze, President and
CEO of Willowood USA, emailed colleagues stating they needed to start getting partners lined
up early in 2014 to sell its azoxystrobin.66 This appears to have occurred because, for example,
Joe Middione and Brian Heinze corresponded with Tim Zech of United Turf Alliance regarding
59
     Deposition of Adora Clark, dated July 22, 2016, p. 150.
60
     Deposition of Rex Wichert, dated July 15, 2016, pp. 41-44.
61
  Deposition of Brian Heinze, dated August 4, 2016, pp. 119-122; Willowood Management Presentation
(WW026466).
62
  Plaintiff Syngenta Crop Protection, LLC’s Second Supplemental Infringement Contentions, dated July 29, 2016,
pp. 1-2; Complaint, paragraphs 90-91 and 95-96.
63
     Deposition of Rex Wichert, dated July 15, 2016, p. 183.
64
  Defendants’ Responses to Plaintiff’s First Set of Requests for Admission, dated July 29, 2016, p. 7 (“Yancheng
Tai He Chemicals Co., Ltd. is the only source of azoxystrobin technical imported by Willowood USA, LLC:”).
65
     Deposition of Brian Heinze, dated August 4, 2016, pp. 154-157.
66
     Email from Brian Heinze to Joe Middione, et al, on December 23, 2013 (WW025053).
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a potential azoxystrobin supply agreement in February 2014 and March 2014.67 By June 2014,
Willowood had provided indications to customers regarding the pricing of its products. 68
Willowood also periodically emailed potential customers regarding its azoxystrobin products and
informed them of Willowood’s price reductions.69 Willowood was persistent with its marketing
as Syngenta personnel noted that growers were being inundated with information about
Willowood’s AzoxyProp Xtra by July 2015.70
       Exhibit 5 displays Willowood’s azoxystrobin sales, including sales of azoxystrobin
technical, Azoxy 2SC, and AzoxyProp Xtra from 2014 through June 13, 2016 based on
information provided by Willowood.71 Willowood recently began selling Tebustrobin SC (as of
July 2016), a product that contains azoxystrobin.72 July 2016 sales of Tebustrobin SC are also
displayed in Exhibit 5.
        The Defendants not only sold their azoxystrobin end-use products directly to the
distributors, but they also sold azoxystrobin technical and azoxystrobin end-use products to other
companies who placed their own private labels on the products. For example, I understand
Pinnacle Agriculture Holdings, LLC (“Pinnacle”) purchased the Defendants’ azoxystrobin and
sold it through one or more of its subsidiaries such as Innvictis.73,74 In fact, Willowood states
that it supplies azoxystrobin technical to Innvictis that is used to formulate a product called
“Liberty 3 Way.” 75 Mr. Brian Heinze, Willowood’s corporate witness, also testified that
Willowood supplies Innvictis with azoxystrobin-containing private-label products called Trevo
and TrevoProp as well as certain wholesale products that he could not immediately name. 76
Based on Mr. Heinze’s testimony, I further understand that Willowood supplies azoxystrobin-
containing private-label products to United Turf Alliance called ArmorTech Zoxy 2SC and
ArmorTech Zoxy-T.77


67
 Email from Joseph Middione to Brian Heinze on March 26, 2014 (WW020109-17); Willowood Azoxy 2SC,
United Turf Alliance (UTA) Proposal (WW012046).
68
     Deposition of Brian Heinze, dated August 4, 2016, pp. 157-158, Exhibit 61 (WW012693).
69
     Deposition of Brian Heinze, dated August 4, 2016, pp. 150-153, Exhibits 43-44.
70
     Email from Mary Johnson to Bob Kacvinsky on July 20, 2015 (SYN 056311-12).
71
   WW000057-60, WW000126-33, WW0026277-79, WW0026280-82, WW026687-88, and WW026690-91
(collectively “Willowood Sales Data”). Willowood provided July sales data for only Tebustrobin SC (WW026690-
91).
72
     Deposition of Brian Heinze, dated August 4, 2016, pp. 137-138.
73
     www.pinnacleagholdings.com/company/about; Willowood Sales Data.
74
  The aforementioned sales were recorded as “Pinnacle Ag,” “Innvictis Crop Care, LLC,” “Performance AG, LLC,”
and “Sanders” (Willowood Sales Data).
75
  Innvictis Liberty 3 Way Label (SYN 289322-39); Defendants’ Responses to Syngenta Crop Protection, LLC’s
Third Set of Interrogatories, dated June 2, 2016, p. 2; Deposition of Brian Heinze, dated August 4, 2016, p. 108.
76
  Deposition of Brian Heinze, dated August 4, 2016, pp. 108-111; Innvictis Trevo Label (SYN 289334-69);
Innvictis TrevoProp Label (SYN 289375-94).
77
  United Turf Alliance ArmorTech Zoxy 2SC Label (SYN 289278-94); United Turf Alliance ArmorTech Zoxy-T
Label (SYN 289295-304); Deposition of Brian Heinze, dated August 4, 2016, pp. 113-114.
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       Upon introducing azoxystrobin products, the Defendants also sold their azoxystrobin
products at low prices and continued to lower their prices. For example, Brad Reichman of
Reichman Sales testified:
           Willowood is just notorious just to – everything they bring in is that product
           usually goes way down in value when Willowood brings it. So how they price it I
           don’t know, but it – usually, when Willowood comes in with a product, you know
           that product is going to the basement on floor pricing.78
In fact, Willowood discounted prices to such a degree that Mr. Reichman testified that he was
aware of even lower prices Willowood was providing to others in the industry that he could not
profitably sell Willowood’s end-use azoxystrobin.79
         The available pricing data reflects Willowood’s low pricing. For example, Mr. Heinze
testified that as early as October 2014, Willowood was offering Azoxy 2SC at $125 per gallon,
well below Syngenta’s prices on Quadris. 80 As Mr. Reichman testified, Willowood also
apparently offered a rebate of $25 on sales of Azoxy 2SC going back to October 2014 that
resulted in a net price of $100 per gallon on Azoxy 2SC for Reichman Sales. 81 As of January
2016, Willowood was also offering Azoxy 2SC to Innvictis at $100 per gallon.82
        Similarly, Willowood began offering AzoxyProp Xtra at $90 per gallon as early as
October 2014.83 According to Mr. Reichman, as early as February 2015, Willowood offered
Reichman Sales product rebates that brought their net price on AzoxyProp Xtra down to around
$78-79. 84 On July 8, 2015, despite internal disagreement on price reductions, Willowood
reduced its price on AzoxyProp Xtra to $80 per gallon, making the price reduction retroactive to
July 1, 2015 and communicating the price reduction to all of its customers.85 Less than ten days
later, on July 17, 2016, Willowood offered AzoxyProp Xtra to a customer (Innvictis) at $76 per
gallon.86 As of January 2016, Willowood was offering Innvictis AzoxyProp Xtra at $75 per
gallon.87
        As discussed in the prior section, the product label is an important marketing tool in
selling fungicides. The Defendants are alleged to have copied substantial portions of Syngenta’s
copyrighted Quadris Flowable Fungicide label in their own Azoxy 2SC label. The Defendants

78
     Deposition of Brad Reichman, dated July 25, 2016, p. 56.
79
     Deposition of Brad Reichman, dated July 25, 2016, pp. 32-33.
80
     Deposition of Brian Heinze, dated August 4, 2016, pp. 160 and 169-170.
81
     Deposition of Brad Reichman, dated July 25, 2016, p. 68.
82
     Deposition of Brian Heinze, dated August 4, 2016, p. 189, Exhibit 58.
83
  Deposition of Brian Heinze, dated August 4, 2016, pp. 160 and 169-170; Deposition of Brad Reichman, dated
July 25, 2016, p. 68.
84
     Deposition of Brad Reichman, dated July 25, 2016, p. 71.
85
     Deposition of Brian Heinze, dated August 4, 2016, pp. 152-153, 174-175, and 181-183.
86
     Deposition of Brian Heinze, dated August 4, 2016, pp. 184-185.
87
     Deposition of Brian Heinze, dated August 4, 2016, p. 189, Exhibit 58.
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also allegedly copied substantial portions of Syngenta’s copyrighted Quilt Xcel Fungicide label
for use in their own AzoxyProp Extra label. In both instances, Willowood primarily utilized the
language from Syngenta’s label, but substituted Willowood and its product name for Syngenta
and Syngenta’s product name. Willowood did not even replace the name Syngenta with its own
in every instance. For example, Willowood’s Azoxy 2SC label stated that “Willowood
Azoxystrobin 2.08SC (azoxystrobin) is a Group 11 fungicide… Syngenta encourages
responsible resistance management to ensure effective long-term control of the fungal diseases
on this label.”88 Furthermore, Willowood stated to the EPA that it “incorporated label language
from both EPA Reg. No. 100-1222 and EPA Reg. No. 100-1098 [which correspond to
Syngenta’s copyrighted Quadris Flowable Fungicide label] into the Willowood Azoxystrobin
2.08SC label.”89
       At his deposition, Brian Heinze, Willowood’s corporate witness, conceded that
Willowood’s Azoxy 2SC and AzoxyProp Xtra labels copied the language in Syngenta’s Quadris
and Quilt Xcel labels. 90 Mr. Heinze also testified that Willowood sent emails to customers
marketing its Azoxy 2SC and AzoxyProp Xtra products as alternatives to Syngenta’s Quadris,
Quilt Xcel, and Abound products.91 Similarly, Mr. Reichman testified that Willowood, in its
communications with Reichman Sales, compared Azoxy2SC to Syngenta’s Quadris product and
characterized it as an equivalent for Quadris, and Willowood compared AzoxyProp Xtra to Quilt
Xcel and characterized it as an equivalent to Syngenta’s Quilt Xcel. 92 Likewise, Dr. Rex
Wichert, Manager of Customer Marketing for Syngenta, testified that Willowood copied
Syngenta’s label and then competed on price with a substitution-type approach.93
        Because I understand Syngenta’s Quadris Flowable Fungicide and Quilt Xcel Fungicide
labels are copyrighted and entitled to protection, the Finder of Fact could determine that key
portions of the Defendants’ marketing and sales were based on copyright infringement. Given
that the Defendants’ products contained azoxystrobin, the infringement conservatively affected
only the AZ Products-at-Issue.94




88
     Complaint, Exhibit 25, p. 5
89
     Complaint, Exhibit 16, p. 2.
90
     Deposition of Brian Heinze, dated August 4, 2016, pp. 315-316.
91
     Deposition of Brian Heinze, dated August 4, 2016, pp. 153 and 155-156.
92
     Deposition of Brad Reichman, dated July 25, 2016, pp. 88-89.
93
     Deposition of Rex Wichert, dated July 15, 2016, p. 176.
94
   Because Willowood sold approximately $662,000 worth of azoxystrobin for lawn & garden applications
(approximately less than 3% of its total azoxystrobin sales) (Willowood Sales Data), I conservatively ignore
Willowood’s effect on Syngenta’s lawn & garden azoxystrobin sales from my lost profits calculations. As discussed
above, the AZ Products-at-Issue exclude Syngenta’s lawn & garden azoxystrobin products.
                                                        Page 13
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       C. Reactions to Willowood’s Actions

           1. Syngenta’s Reactions
       Syngenta did not expect significant generic azoxystrobin entry in 2014, particularly
because only certain patents directed to the azoxystrobin compound itself expired in that year
while several other patents directed to methods of making azoxystrobin were still in effect
through at least 2015 and beyond.




                                                                                      .96
       However, as discussed in the prior section, the Defendants were able to market generic
azoxystrobin in 2014 because they filed their EPA end-use application in 2013.
        Faced with unexpected competition from lower-priced generic azoxystrobin offerings
from Willowood, Syngenta’s existing azoxystrobin products were no longer viewed as a
premium product by purchasers. Because Syngenta could not react by quickly altering its
pricing, it was selling azoxystrobin in 2014 that the market viewed as being “overpriced.”
       Syngenta’s 2014 sales decline is reflected in industry publications. For example in
Exhibit 4, the AgroTrak data shows that
                                            .
       By late 2014 and 2015, Syngenta recognized the effect Willowood was having on the
market and responded by significantly lowering its overall prices. 97

                      ”98
        To provide context for the price decline Syngenta experience, in 2014, Willowood sold
its Azoxy 2SC for $125 per gallon with rebates that brought the net price down to as low as $100
per gallon, 99 which was well below the $191.80 average per gallon price for Syngenta’s
comparable Quadris (a $66 price premium without the rebate and more than $90 with the
rebate).100

95
     Deposition of Rex Wichert, dated July 15, 2016, p. 35.
96
     Exhibit 4                                                    (SYN 291271).
97
  Willowood personnel noted that companies could alter their azoxystrobin prices based on “the absolute lowest
number we hear to sell,” even if that price is unattainable. (Email between Brian Heinze and Joe Middione, dated
July 8, 2015 (WW010306-07).
98
                                                                                  .
99
  Deposition of Brian Heinze, dated August 4, 2016, pp. 160 and 169-170; Deposition of Brad Reichman, dated
July 25, 2016, p. 68.
100
                                (SYN 287760).
                                                        Page 14
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                          101


       In addition, Willowood’s 2014 price for AzoxyProp Xtra was $90 per gallon,102 while
Syngenta charged                                     for the comparable Quilt Xcel.103 Although
Syngenta reduced the price of Quilt Xcel                            in 2015,104 it was not able to
reduce the relative price premium of Quilt Xcel over AzoxyProp Xtra because Willowood
continued to reduce the price of its AzoxyProp Xtra to as low as $76 per gallon.105
            Syngenta also had to lower the prices it charged to its private label suppliers.




                                      . 110 This was further confirmed by Mr. Brian Heinze’s
testimony that Willowood offered Loveland azoxystrobin technical in October 2015 at $40.90
per kg and was considering prices as low as $38.50 per kg. 111 In a similar fashion, Syngenta’s
prices to       another third-party provider, declined.112
      Syngenta entered into new contracts with third party suppliers after Willowood
announced its market entry.




101
                                (SYN 287760).
102
   Deposition of Brian Heinze, dated August 4, 2016, pp. 160 and 169-170; Deposition of Brad Reichman, dated
July 25, 2016, p. 68.
103
                                (SYN 287760).
104
                                (SYN 287760).
105
      Deposition of Brian Heinze, dated August 4, 2016, pp. 152-153, 174-175, and 181-185.
106
      S
          (SYN 284237)
107
                                                                         (SYN 284226).
108
                                                                                             SYN 134640-42).
109

                            (SYN 058305-06).
110
      Deposition of Rex Wichert, dated July 15, 2016, pp. 250-254.
111
      Deposition of Brian Heinze, dated August 4, 2016, pp. 191-192.
112
                                                                                         (SYN 284149).
113

(SYN 284208-28) and
                                     (SYN 284202-7).
                                                       Page 15
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        Even though Syngenta’s post-Willowood entry agreements with
                           were at pre-Willowood entry Market Minus prices, the timing and
pricing of these agreements (and         ) likely would have been more favorable to Syngenta but
                       118
for Willowood’s entry.      It is my understanding that Syngenta entered into these agreements to
minimize Willowood’s market impact and stem Syngenta’s 2014 azoxystrobin sales decline.
           AgroTrak shows that
                   .119


        .120

           2. Reactions of Other Market Participants
       Established brand-name companies like BASF, despite being much larger than
Willowood, had little impact on the sales and pricing of Syngenta’s azoxystrobin products. If
anything, Willowood’s sales and pricing affected the brand-name companies like Syngenta and
BASF.
        Significantly, Willowood directed its actions at Syngenta, not the other brand-name
companies. In fact, in a September 2015 presentation to investors, Willowood identified
Syngenta as its only branded competitor in the sale of azoxystrobin products.121 As discussed
above, Willowood’s azoxystrobin products utilize the same active ingredient as Syngenta. They
also used the same label as Syngenta’s azoxystrobin products and continue to target the same
crops and diseases as Syngenta’s azoxystrobin products. In addition, Willowood’s advertising is
directed against Syngenta’s products. For example, Willowood’s website states that its
Azoxyprop Xtra “contains the same active ingredient as Quilt Xcel,” and that its Azoxy 2SC

114

(SYN 284273-83).
115
   EPA Registration Nos. 228-720 (SYN 290373-423), 228-721 (SYN 290424-94), 228-722 (SYN 290495-529),
228-724 (SYN 290530-55), 55146-147 (SYN 290556-72), 55146-149 (SYN 290573-78), 55146-150 (SYN 290579-
84), and 35935-101 (SYN 290367-72).
116

(SYN 284238-58).
117
                                                                                       (SYN 284188-201).
118
  Syngenta also signed post-Willowood entry supply agreements with                                         ,
which sold azoxystrobin for lawn & garden and wallboard applications, respectively.
119
      See Exhibit 4                                               (SYN 291271).
120
                                          .
121
      Deposition of Brian Heinze, dated August 4, 2016, p. 99.
                                                        Page 16
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“contains the same active as Quadris.” 122 Furthermore, industry participants knew that
Willowood’s products were targeting Syngenta’s products. For example, Norder Supply Inc., an
independent retailer of crop protection and agricultural products, 123 observed that growers were
obtaining Willowood’s AzoxyProp Xtra, which was an “exact look alike to [Syngenta’s] Quilt
Xcel.”124 As noted above, Willowood also emailed customers indicating that its products were
substitutes for Syngenta’s Quadris, Quilt Xcel, and Abound products.125
       Even though both Willowood and Syngenta participate in the larger strobilurin industry,
other brand-name strobilurin products are focused differently than azoxystrobin. For example,




                                  .129 Given these different focuses, Willowood’s actions appear
to have had a greater effect on Syngenta than other strobilurin manufacturers.
       However, Willowood’s actions did have a chain reaction effect on the other strobilurin
manufacturers. As discussed above, in reaction to Willowood’s actions, Syngenta’s azoxystrobin
prices were lowered. Because azoxystrobin was also a part of the larger strobilurin industry,
Syngenta’s price reduction also affected other strobilurin manufacturers.130




                                                                                                  133




122
   Azoxy 2SC Product Profile (www.willowoodusa.com/products/fungicides/azoxy-2sc/); AzoxyProp Xtra Product
Profile (www.willowoodusa.com/products/fungicides/azoxyprop-xtra/).
123
      www.nordersupply.com/images/e0187101/about.htm.
124
      Email from Eric Larson to Rusty Harder, et al on January 14, 2015 (SYN 038212-13).
125
      Deposition of Brian Heinze, dated August 4, 2016, pp. 153 and 155-156.
126
      Deposition of Jeff Cecil dated July 13, 2016, p. 174.
127
      Deposition of Jeff Cecil dated July 13, 2016, pp. 174-175.
128
      Deposition of Jeff Cecil, dated July 13, 2016, p. 87.
129
      Ibid., pp. 86-87.
130
   Other brand-name strobilurin manufacturers did not have generic competition (Deposition of Jeff Cecil, dated
July 13, 2016, p. 198).
131
      Deposition of Jeff Cecil, dated July 13, 2016, pp. 71-72.
132
                                                                    (SYN 037161).
133
                                                                           (SYN 037471-73).
                                                          Page 17
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       As Syngenta further noted, its experience was that Willowood’s actions had a more
profound effect on the strobilurin industry than brand-name manufacturers ever had historically.
For example, Dr. Wichert testified:
            At the time this was written, which would have been somewhere prior to
            November [20]14, I’m not aware at that point that [the other branded products]
            had had an impact on our azoxystrobin sales.134
            We’ve been in the fungicide market a long time with BASF and competed, and
            we’ve always considered them in our pricing in the fungicide market because they
            hold a large position in that. And then I believe I said that in all those years,
            we’ve never experienced the decline as we have with the early entry by
            Willowood and the way they’ve priced and compared their products in terms of
            labels, products to Syngenta with our azoxystrobin products in the market.135
            The impact (if any) of generic companies other than Willowood was also limited.
        Albaugh, LLC received EPA approval for generic azoxystrobin products only after
Willowood’s entry.136 Thus, as an initial matter, Albaugh’s fungicide strategy could have been
different had Willowood not prematurely entered the azoxystrobin industry. Moreover, it does
not appear that Albaugh had much of a presence. For example, Dr. Wichert testified:




                                                                                      .137


                                                                        .” 138 While Albaugh may have

134
      Deposition of Rex Wichert, dated July 15, 2016, p. 196.
135
      Deposition of Rex Wichert, dated July 15, 2016, p. 242.
136
  EPA Registration Nos. 42750-261 (SYN 289530-86), 42750-262 (SYN 289587-92), 42750-284 (SYN 289593-
611), 42750-285 (SYN 289612-36), 42750-289 (SYN 289637-72), 42750-290 (SYN 289673-707), 42750-291 (SYN
289708-21), 42750-292 (SYN 289722-34), and 42750-297 (SYN 289735-40).
137
   Deposition of Rex Wichert, dated July 15, 2016, pp. 67, 75, and 262 – 263. While Albaugh produced sales data,
the data does not provide customer details. Albaugh, LLC, Sales by Item, February 16, 2015 through March 23,
2016 (ALB 000001-5).
138
      Deposition of Jeff Cecil, dated July 13, 2016, p. 81.
                                                          Page 18
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potentially offered crop protection products that competed with the AZ Products-at-Issue
beginning in early 2015,139
                                                                           140
                                                                               As discussed above,
the AZ Products-at-Issue include Syngenta brands in the crop protection industry and exclude
Syngenta brands in the seed care industry. Consequently, one could question Albaugh’s ability
to affect the crop protection azoxystrobin industry, especially before early 2015.
       Moreover, the available evidence indicates that Albaugh was not the lowest-cost generic
provider. As an example, in November 2015, Albaugh’s quoted price was almost 30% greater
than Willowood’s. 141 Thus, to the extent that Albaugh participated in the crop protection
azoxystrobin industry, they were not a major driver.
       Cheminova A/S also sold crop protection azoxystrobin products, but Cheminova’s impact
(if any) on Syngenta’s azoxystrobin sales and pricing was also limited. For example,
Cheminova’s EPA end-use product applications were approved after Willowood began
marketing its azoxystrobin products and announced its entrance into the azoxystrobin industry.142
Thus, Cheminova could have altered its entry strategy if Willowood had not achieved the
premature success that it did.
        Despite Cheminova’s EPA approval, Syngenta did not find Cheminova to be a significant
player in the azoxystrobin industry. As Jeff Cecil testified, the “[v]olumes actually of
Cheminova were quite low at the time as well and therefore, we were responding to a Willowood
offer in the end.143 He went on to say that even if Cheminova was a participant, “Willowood was
the primary concern.”144 Dr. Wichert similarly explained that “[w]e didn’t have a lot feedback or
couldn’t find much Cheminova product in the marketplace, so we never considered it to be of
concern.”145
       Part of the reason for the minimal competitive impact of Cheminova on Syngenta was
that Cheminova approached the industry differently than Syngenta. For example,




139
                                     (Albaugh 000001-50).
140
      Deposition of Robert Andrew Fisher, dated July 22, 2016, p. 90.
141
      Deposition of Jeff Cecil, dated July 13, 2016, pp. 154-155.
142
   EPA Registration Nos. 67760-124 (SYN 290002-62), 67760-129 (SYN 29155-70), and 67760-130 (SYN
290063-97).
143
      Deposition of Jeff Cecil, dated July 13, 2016, p. 38.
144
      Deposition of Jeff Cecil, dated July 13, 2016, p. 69.
145
      Deposition of Rex Wichert, dated July 15, 2016, p. 173.
146
      Deposition of Rex Wichert, dated July 15, 2016, pp. 260-261.
                                                          Page 19
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                                      .
       In fact, whereas Willowood’s azoxystrobin labels targeted the entire gamut of crops
addressed by Syngenta’s products, Cheminova’s EPA approvals were limited and did not include
key crops such as corn or tobacco. 147 As Dr. Wichert testified, these limitations made
Cheminova’s products less appealing to growers and, in turn, limited Cheminova’s impact:
           Willowood had all crops on their label from what I recall where Cheminova
           missed a few crops on their label, and one of those crops was corn. And why that
           has an impact is it’s not a hundred percent, but a large number of the corn growers
           also grow soybeans, and most of the retailers are customers that service those
           growers, sell products for both crops, many crops. And so it’s advantageous for
           them to have a product that can be used crows [sic] all the crops. And in this
           situation, there’s actually risk, since our products are labeled on all crops and
           theirs aren’t, that they could have an unlabeled application with, say, the
           Cheminova product, and so that would be a disadvantage for them. And given
           that, we actually weren’t overly concerned about the impact of Cheminova’s
           product.148
      Dr. Wichert went on to say that a key customer might not want to purchase from
Cheminova because of these label restrictions.
           When they bring in a product [they want] to have flexibility on the crops and
           markets they can sell into; makes it simpler for them and easier for them. And
           also if they sell a product or even in the worst case would happen to recommend
           that product on a crop in which it wasn’t on the label, which is a risk given it’s a
           generic of one of our products, there could be EPA fines and other issues
           associated with that.149
           Andrew Fisher echoed these thoughts when he testified:
           Cheminova, they didn’t have plant performance, and we talked earlier how
           important plant performance was. They didn’t have that on their label. They also
           didn’t have corn or tobacco on their label, and as you said earlier, corn, soy, and
           wheat, majority of the farmers throughout the U.S. will farm corn, soybeans, and
           wheat. And if you don't have a product that really carries all those labels, you can
           imagine the inventory issues, the concern that you would get into if you were
           spraying soybeans and it drifted on corn, it doesn't have a corn label, you can't sell
           that corn crop anymore. So Cheminova just didn't have the crops on their label to
           really be an issue in the market.150


147
      Deposition of Rex Wichert, dated July 15, 2016, p. 257.
148
      Deposition of Rex Wichert, dated July 15, 2016, p. 74-75.
149
      Deposition of Rex Wichert, dated July 15, 2016, p. 257.
150
      Deposition of Robert Andrew Fisher, dated July 22, 2016, p. 64.
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       Dr. Wichert also noted the similarities between the azoxystrobin labels of Willowood and
Syngenta and contrasted it with Cheminova’s label. For example, he testified that “Cheminova
was a bit different. Willowood was directly competitive, same ratio, same product. It was just
sold as a substitute, which is a damaging proposition to a company like ours.” 151 Additionally,
Jeff Cecil found that Cheminova’s azoxystrobin contained more impurities than Willowood’s
product. 152 Industry officials also noted that Cheminova’s azoxystrobin was more expensive
than Willowood’s,153 making the latter more of a market influence. These factors further limited
any impact Cheminova may have had.
       Although the EPA later approved Cheminova’s azoxystrobin to treat corn in March 2015,
Cheminova’s industry participation also fell dramatically at the same time. Notably, in
September 2014, FMC announced its intent to purchase Cheminova,154 which was consummated
in April 2015.155 Brad Reichman testified that during this period of time, Cheminova became
diverted with the merger and stopped selling azoxystrobin. 156 After the merger, and by June
2015, FMC/Cheminova stopped importing azoxystrobin into the United States.157 In fact, Mr.
Reichman explained that, by July 2015, FMC/Cheminova was “getting out of the business
completely.”158
        I understand there have been three recent entrants into the azoxystrobin industry. For
example, on October 1, 2015, LG Life Sciences, Ltd. received EPA approval to sell a crop
protection azoxystrobin fungicide. 159 However, LG has not imported any azoxystrobin or
otherwise made any sales of this fungicide,160 and its website does not even show that it sells
azoxystrobin fungicides.161 Sharda USA LLC received EPA approval to sell an azoxystrobin
fungicide on March 17, 2016.162 Agro USA, Inc., also known as Sipcam, received approval
three months later.163 Given the recency of these entries, that these firms have not made any
sales to date and that Sipcam primarily services the specialty agriculture and lawn & garden
sectors,164 it would be speculative to draw conclusions about the future effects of these three

151
      Deposition of Rex Wichert, dated July 15, 2016, p. 172.
152
      Deposition of Jeff Cecil dated July 13, 2016, p. 114.
153
      Deposition of Brad Reichman, Dated July 25, 2016, p. 83.
154
      www.bloomberg.com/news/articles/2014-09-08/fmc-to-buy-cheminova-for-1-8-billion-as-ceo-modifies-strategy.
155
      phx.corporate-ir.net/phoenix.zhtml?c=117919&p=irol-homeProfile&t=&id=&.
156
      Deposition of Brad Reichman, dated July 25, 2016, p. 26.
157
      Deposition of Rex Wichert, dated July 15, 2016, p. 258, Exhibit 19.
158
      Deposition of Brad Reichman, dated July 25, 2016, pp. 50-52.
159
   EPA Registration No. 71532-35 (SYN 290200-70). It also received EPA approval to sell a lawn & garden
azoxystrobin product (EPA Registration No. 71532-34 (SYN 290191-99)).
160
      Deposition of Rex Wichert, dated July 15, 2016, p. 263.
161
      www.lgls.com/chemistry/prod/product_view.jsp?ke_gubun=EN&group_code=10&mcategory_seq=18.
162
      EPA Registration No. 83529-49 (SYN 290585-614).
163
      EPA Registration No. 60063-57 (SYN 290615-34).
164
      Ibid.
                                                         Page 21
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 companies on the sale of crop production fungicides. Furthermore, LG, Sharda, and Sipcam
 could have altered their entry strategies if Willowood had not achieved the premature success
 that it did.


III.           Damages Models
         In this matter, Syngenta has alleged that the Defendants engaged in two different types of
 improper behavior: A) patent infringement and B) copyright infringement. The available
 remedies and the economic models used to calculate damages for each claim type slightly vary.
 I discuss these models in Sections A – B below.

        A. Patent Infringement Damages
         Under patent laws, a patent holder or plaintiff is entitled to “damages adequate to
 compensate for the infringement, but in no event less than a reasonable royalty for the use made
 of the invention by the infringer.”165 A patent holder may seek to recover lost profits damages as
 well as reasonable royalty damages, so long as the losses are not double-counted. In this case,
 Syngenta has never considered licensing its patents relating to azoxystrobin. 166 In fact, Dr.
 Wichert testified that “[i]f Willowood would have approached us and asked us for a license, we
 would not have even entertained that option.”167 Therefore, although Syngenta is entitled to at
 least reasonable royalty damages, I have focused my analysis on Syngenta’s lost profits damages.
         In determining the amount of lost profit damages to which a plaintiff patent holder is
 entitled, economists often look to the four-factor test from Panduit Corp. v. Stahlin Bros. Fibre
 Works, Inc.168 Panduit sets forth the following four factors that a patent holder must demonstrate
 to establish lost profits:
               1. Demand existed for the infringed product during the period of infringement.

               2. Acceptable non-infringing substitute products were not available to satisfy
                  demand during the period of infringement.

               3. The patent owner possessed the manufacturing and marketing capability to
                  have supplied the patented product to the customers who bought the infringing
                  product.

               4. The amount of profit the patent holder would have made.169


 165
       35 U.S.C. §284.
 166
       Deposition of Rex Wichert, dated July 15, 2016, p. 22.
 167
       Deposition of Rex Wichert, dated July 15, 2016, pp. 245-246.
 168
       575 F.2d 1152 (6th Cir. 1978).
 169
       Ibid.
                                                         Page 22
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      In discussing the Second Panduit factor, the American Institute of Certified Public
Accountants (“AICPA”) wrote:
        [A] patent holder need not negate each and every possibility that the purchaser
        would not have purchased a product other than its own, absent the infringement.
        Rather, the patent holder need only show that there was a ‘reasonable probability’
        that the sales would have been made by it ”but for” the infringement. If the patent
        holder establishes the reasonableness of this inference by satisfying all four
        prongs of the Panduit test, the burden of proving entitlement to lost profits due to
        the infringing sales has been sustained.170
        The Fourth Panduit factor requires the calculation of what economists call the “but for”
profits: the profits the patent holder would have made “but for” the defendant’s alleged
infringement. Lost profit damages equal the difference between these “but for” profits and the
profits the patent holder actually made. In other words, damages equals “but for” minus “actual.”
        One commonly accepted method of calculating a patent holder’s “but for” profits (or
sales) is the “yardstick” or “benchmark” method. In this method, the profits (or sales) the patent
holder would have made “but for” the defendant’s alleged infringement are estimated based on
the profits (or sales) of a benchmark. Possible benchmarks include:

           The performance of the patent holder at a different location;

           The patent holder’s actual experience versus past budgeted results;

           The actual experience of a similar business unaffected by the alleged infringement;

           Comparable experience and projections by nonparties;

           Industry averages; and,

           Pre-litigation projections171
      In this approach, care must be taken to ensure that the patented product is sufficiently
comparable to the benchmark.
        In addition to “but for” profits on the patented products, the patent holder could be
awarded profits on other products the patent holder would have sold “but for” the alleged
infringement. These latter products are called convoyed products. For example, as discussed
above in Section II.A., agriculture distributors, retailers, and growers sometimes simultaneously
purchase, mix and apply herbicides, insecticides, and fungicides from a single supplier.
Consequently, in this case, Syngenta could have lost profits on sales of herbicides and

170
  Jackson, Daniel L. and Kedrowski, Kathleen M. “Calculating Intellectual Property Infringement Damages,”
AICPA, 2013, p. 31 (SYN 289748-897) (“AICPA IP Damages”).
171
   Pollack, Richard A., Scott M. Bouchner, Craig M. Enos, Colin A. Johns and John D. Moyl “Calculating Lost
Profits” AICPA, 2006, paragraph 67 (SYN 289898-972).
                                                 Page 23
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insecticides if the Finder of Fact determines that the Defendants infringed on Syngenta’s
azoxystrobin fungicide patents.
        Because lost profit damages equal “but for” profits minus “actual” profits, the costs the
plaintiff incurred or would have incurred are included in the calculations. Costs generally can be
categorized in two ways: fixed and incremental. For example, as discussed below, Syngenta
would have made additional sales “but for” the Defendants’ infringement, and it had the
manufacturing capacity in place to produce the additional product. Consequently, Syngenta
would not have had to incur additional rent costs if it made additional sales. Economists call
such costs that are unchanged in the “but for” and “actual” scenarios fixed. On the other hand,
costs that vary between scenarios such as chemical ingredient costs are considered incremental.
Incremental profits equal sales minus incremental costs. Basic math then implies that lost profit
damages equal “but for” incremental profits minus “actual” incremental profits.
       After calculating damages, economists must consider whether an award of all damages is
an appropriate remedy. Under the “entire market value rule,” a patent holder may recover
damages based on the value of an entire apparatus or composition containing several features,
even when only one feature is covered by the patents-at-issue, if 1) the patented and non-
patented components are physically part of the same apparatus or composition, and 2) the
patented feature drives demand for the entire apparatus or composition.172 If the entire market
value rule is not met, the economic expert must apportion damages between the patented and
unpatented features of the product.
       A patent holder’s lost profits damages are not always limited to the infringement period;
sometimes infringement can have a lingering effect that leads to future lost profits for the patent
holder even after patent expiration. In this regard, the AICPA notes:
           An issue that may affect damages is whether a defendant’s infringement resulted
           in a market entry advantage that would not have existed but for the infringement.
           If the defendant, after issuance of an injunction, can enter the market again with a
           competing product sooner than would have been possible without the
           infringement, the plaintiff may suffer additional future lost sales and profits. This
           is most likely to occur if the patent is at or near expiration.173
       The lingering effects of head starts are especially important in the agriculture industry.
For example, Everett Rogers, a leading expert on innovations, noted that the diffusion and
adoption of innovation takes time:
           Many technologists believe that advantageous innovations will sell themselves,
           the obvious benefits of a new idea will be widely realized by potential adopters,
           and that the innovation will diffuse rapidly. Seldom is this the case. Most
           innovations, in fact, diffuse at a disappointingly slow rate, at least in the eyes of



172
  AICPA IP Damages, p. 52 (SYN 289748-897); Lucent Techs., Inc. v. Gateway Inc., 580 F.3d 1301 (Fed. Cir.
2009).
173
      AICPA IP Damages, p. 45 (SYN 289748-897).
                                                  Page 24
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           the inventors and technologists who create the innovations and promote them to
           others.174
           Providing an example of hybrid corn in the agricultural industry, Dr. Rogers observed:
           Administrators of the Iowa Agricultural Experiment Station … were puzzled as to
           why such an obviously advantageous innovation as hybrid corn was not adopted
           more rapidly….Today we understand that the uncertainty and risk associated with
           hybrid seed was one reason Iowa farmers were deliberate in adopting.175
      Based on his research, Dr. Rogers found that farmers, in particular, spend time gaining
knowledge about a new product before adopting the product.
           Knowledge proceeds at a more rapid rate than does adoption, which suggests that
           relatively later adopters have a longer average innovation-decision period than do
           earlier adopters. For example, a study of the diffusion of a new weed spray
           among Iowa farmers by Beal and Rogers (1960) found 1.7 years between 10
           percent awareness-knowledge and 10 percent adoption but 3.1 years between 92
           percent awareness-knowledge and 92 percent adoption….
           None of Beal and Rogers’s 148 respondents reported adopting immediately after
           becoming aware of a new weed spray. And 63 percent of the adopters of a new
           livestock feed reported a different year at which they acquired knowledge from
           the year in which they decided to adopt. Most individuals seemed to require a
           period of time that could be measured in years to pass through the innovation-
           decision process. So adoption behavior is a process that contains stages, and
           these stages occur over time.176


       B. Copyright Infringement Damages
        As compensation for copyright infringement, the copyright holder or plaintiff is entitled
to not only lost profit damages and reasonable royalty damages, but also the profits the defendant
unjustly earned because of the infringement, so long as no one sale is double-counted. In
particular, the Copyright Act allows for the recovery of “any profits of the infringer that are
attributable to the infringement and are not taken into account in computing the actual
damages.”177 Consequently, as long as there is no double recovery, the copyright holder may
recover both (1) its actual damages and (2) the infringer’s profits.
       In my analysis, I focus on Syngenta’s lost profits in calculating its actual damages for the
alleged copyright infringement. I understand that the calculation of lost profit damages for
copyright infringement follows the same principles as patent infringement, which I discuss in the

174
      Rogers, Everett M. Diffusion of Innovations, 5th Edition, 2003, p. 7 (SYN 290147-55).
175
      Ibid., p. 55 (SYN 290147-55).
176
      Ibid., pp. 197 and 214 (SYN 290147-55).
177
      17 USC § 504 (b).
                                                        Page 25
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 previous section. Although a plaintiff is not required to follow the specific steps prescribed in
 the Panduit, it can still be applied.
       With regard to the disgorgement of the defendant’s unjust earnings, I understand the
 plaintiff must show that the infringement affected the defendant’s profits.178 The plaintiff must
 identify the sales the defendant made that related to the alleged infringement, and the burden
 then shifts to the defendant who must then identify the costs associated with those sales and/or
 other deductions.179


IV.       Calculation of Damages in this Matter
        Because Syngenta asserts several claims in this matter, I separately calculate damages
 associated with each claim:
         Section A below calculates lost profit damages assuming the Finder of Fact determines
 that the Defendants infringed Syngenta’s’076 Patent and the ’256 Patent.
       Section B calculates lost profit damages assuming the Finder of Fact determines that the
 Defendants infringed Syngenta’s ’138 Patent.
       Section C calculates lost profit damages assuming the Finder of Fact determines that the
 Defendants infringed Syngenta’s ’761 Patent.
         The Finder of Fact could also determine that the Defendants infringed on Syngenta’s
 copyrights. The profits the Defendants unfairly garnered because of such infringement are
 calculated in Section D. The profits Syngenta lost relating to such infringement are calculated in
 Section E.
         In the aforementioned sections, I assume that it is determined that only the
 patent/copyright being analyzed in that section is being infringed. For example, in Section B, I
 assume that Syngenta’s ’138 Patent was infringed, while the ’761 Patent was not infringed.
 Section F summarizes the results from Section A – E and calculates damages if the Finder of
 Fact determines that multiple patents/copyrights were infringed.


        A. Lost Profits from the Defendants’ Infringement of the ’076
           and’256 Patents
        The damages calculated in this section are applicable if the Finder of Fact determines that
 the Defendants infringed Syngenta’s ’076 Patent and ’256 Patent.180 In fact, I understand that
 Willowood has admitted that at least Willowood USA, LLC infringed the ’076 and ’256 Patents

 178
       AICPA IP Damages, p. 93 (SYN 289748-897).
 179
       Ibid., p. 94 (SYN 289748-897); 17 USC § 504 (b).
 180
    I understand that the ’076 and ’256 Patents both cover the azoxystrobin compound, and for purposes of my
 analysis, the Defendants need only infringe one of these patents.
                                                          Page 26
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before their expiration on February 11, 2014. 181 The damages calculated in this section are
applicable regardless of whether the Defendants are found to infringe or have infringed
Syngenta’s ’138 or ’761 Patents.
        To determine whether or not Syngenta is entitled to lost profits, I have applied the four-
factor Panduit test (discussed above). Based on my analysis detailed below, I find that
Syngenta’s lost profits resulting from the Defendants’ infringement of the ’076 and ’256 Patents
are reasonably calculable.

           1. Demand existed for the azoxystrobin which was covered by the ’076
              and ’256 Patents
       It is my understanding that the ’076 Patent and the ’256 Patent both cover the
azoxystrobin compound, including all azoxystrobin technical.182
           As I set forth below, several factors demonstrate the demand for azoxystrobin.
       First, the Defendants sold $24.4 million of infringing azoxystrobin technical, Azoxy 2SC,
AzoxyProp Xtra, and Tebustrobin SC products between July 2014 and July 2016.183 Refer to
Exhibit 5.
        Second, demand for the patented product is also demonstrated by Syngenta’s historical
sales experience. As shown in Exhibit 6,
                                                                            . 184 I conservatively
exclude Syngenta’s azoxystrobin sales for non-crop protection products from Exhibit 6. In
particular, I exclude the sales of azoxystrobin used for wallboards, lawn & garden, and seed care
from the lost profits calculation in this section.
        Third, industry publications and Syngenta’s product marketing demonstrate the demand
for and importance of the patented products. According to the February 28, 2011 AgriBusiness
Global product profile article on azoxystrobin, Syngenta’s “broad-spectrum fungicide
azoxystrobin has become the best-selling fungicide [active substance] in the world with sales of
more than $1 billion.” 185 Syngenta’s product marketing demonstrates the importance of the
patents-at-issue by touting that Syngenta’s end-use azoxystrobin products 1) improve plant
growth and average yields, 2) provide long-lasting preventative and curative disease control to




181
   Defendants’ Second Supplemental Non-Infringement and Invalidity Contentions, dated June 27, 2016, pp. 2 and
7-8; Defendants’ Responses to Plaintiff’s First Set of Requests for Admission, dated July 29, 2016, pp. 1-12.
182
   Plaintiff Syngenta Crop Protection, LLC’s Second Supplemental Infringement Contentions, dated July 29, 2016,
pp. 1-14.
183
      Willowood Sales Data. Willowood provided July sales data for only Tebustrobin SC (WW026690-91).
184
      Gross to Net June LP.xlsx (SYN 287760) and Gross to Net June YTD 2016.xlsx (SYN 287759).
185
     Azoxystrobin      Product    Profile   (www.agribusinessglobal.com/agrichemicals/fungicides/product-profile-
azoxystrobin/).
                                                     Page 27
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combat existing diseases, and 3) provide movement throughout the entire plant to provide
uniform coverage.186

       2. Customers who purchased azoxystrobin from the Defendants likely
          would have purchased from Syngenta in absence of the Defendants’
          product

        As I discuss above in Section II.C.2, customers who purchased Willowood azoxystrobin
likely would have purchased from Syngenta “but for” Willowood’s infringement of the ’076
Patent and ’256 Patents. In fact, Willowood’s products decidedly targeted and competed against
Syngenta’s azoxystrobin products, rather than other brand-name strobilurin products. Other
companies were approved to sell azoxystrobin after Willowood’s entry, which they might not
have done if Willowood had not achieved the premature success that it did. Even if they
continued to enter, most of these companies have not made any sales. Additional azoxystrobin
providers sell Syngenta-based private label azoxystrobin. Moreover, as Syngenta personnel
concluded that Cheminova and Albaugh were not active market participants; and they
participated in different sectors of the industry. Albaugh was in the seed care sector and had a
limited presence to the extent that Syngenta was unable to locate Albaugh products. Cheminova
targeted different customers, geographies, and crop types, and after its corporate buy-out,
FMC/Cheminova ceased selling azoxystrobin products.
        Therefore, “but for” Willowood’s infringement, I conclude that Syngenta would have
been the only company able to provide this patented technology. Because Willowood’s
customers chose to purchase the infringing products, despite the existence of the other branded
strobilurin crop protection fungicides, I have assumed that these customers would seek the AZ
Products-at-Issue.

       3. DESIGNATED AS ATTORNEYS’ EYES ONLY BY SYNGENTA -
          Syngenta had the manufacturing and marketing capacity to make
          additional sales




186
   QUILT XCEL Competitor Sheet (www.syngentacropprotection.com/quilt-xcel-fungicide?tab=details);
QUADRIS Early Info Sheet (www.syngentacropprotection.com/quadris-fungicide?tab=details).
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       Therefore, Syngenta had, and would have had, sufficient manufacturing and marketing
capacity to make the additional azoxystrobin sales implied in the analyses below.

       4. The profits Syngenta would have made “but for” the Defendants'
          infringement of the ’076 Patent and the ’256 Patent.

        As I discuss above, one commonly accepted method of calculating a patent holder’s “but
for” sales and profits is to utilize benchmarks. I conclude, based on discussions with Syngenta
personnel and my own analysis that a combination of Syngenta’s 1) budgets for azoxystrobin and
2) budgets and actual sales of herbicides with the active ingredient mesotrione provide the proper
benchmarks for estimating Syngenta’s azoxystrobin sales “but for” the Defendants’ infringement
of the ’076 and ’256 Patents.

               a. Budgets as a Benchmark
      I have discussed Syngenta’s exacting budgeting process for its products with several
Syngenta employees, including Dr. Rex Wichert, Andrew Fisher, and Victoria Bublyk. I
summarize below my understanding based on these discussions.




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                                   However, given the exacting process employed to create the
budgets and LPs, Syngenta believes that the budgets and LPs provide the best estimate about
what the gross sales, net sales, cost of goods sold, and gross profits will be for each Syngenta
product.

                    b. Mesotrione as a Benchmark
        I find that mesotrione provides another benchmark for Syngenta’s azoxystrobin.
Whereas azoxystrobin is Syngenta’s best-selling fungicide, mesotrione is one of Syngenta’s best-
selling herbicides. Mesotrione is available in more than 50 countries and posted more than $400
million in annual revenue between 2012 and 2015.187 As I discuss below, and as confirmed by
Dr. Wichert at his deposition, mesotrione and azoxystrobin have a number of product lifecycle
similarities.188
       In addition to azoxystrobin and mesotrione both being well-established products,
mesotrione is approved to be applied on the major crops on which azoxystrobin is applied,
including corn and soybeans.189 Thus, as I discuss above, growers sometimes simultaneously
purchase, mix and apply fungicides and herbicides like azoxystrobin and mesotrione.
        Moreover, generic companies faced similar barriers to entry with respect to azoxystrobin
and mesotrione. For example, I understand that Syngenta’s ’076 and ’256 Patents, which
covered the azoxystrobin compound, expired on February 11, 2014.190 I understand that during
the lifetime of the ’076 and ’256 Patents, Syngenta possessed the right to exclude others from
importing, making, using, selling, or offering for sale the azoxystrobin compound in the United
States. Similarly, although Syngenta had patents relating to the mesotrione compound that began
to expire in 2012, I understand that, under FIFRA, Syngenta had data exclusivity over



187
   www.agribusinessglobal.com/uncategorized/product-profile-mesotrione/; Gross to Net June LP.xlsx. (SYN
287760).
188
      Deposition of Rex Wichert, dated July 15, 2016, pp. 265-267.
189
  Syngenta AG Form 20-F, p. 17; Syngenta Quilt Xcel Label (SYN 279541-69); Syngenta Calisto Label (SYN
289395-31); Syngenta Zemax Label (SYN 289432-59).
190
   Syngenta holds other patents relating to azoxystrobin, including the asserted ’138 and ’761 Patents, which I
understand are directed to processes for manufacturing azoxystrobin.
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mesotrione through June 4, 2014 in the United States.191 I understand that this data exclusivity
barred generic companies from relying on data Syngenta had previously submitted to the EPA so
that the generic companies could support their own mesotrione registration applications before
June 4, 2014. Thus, with respect to both azoxystrobin and mesotrione, generic companies faced
significant barriers to entry until the first half of 2014.
       Further, with respect to both azoxystrobin and mesotrione, Syngenta introduced new
combination products that contained other active ingredients. As I discuss in Section II.A. above,
Syngenta introduced Trivapro, which is a combination fungicide that contains azoxystrobin,
Solatenol, and propiconazole as active ingredients. 192 I understand Trivapro received EPA
approval on August 28, 2015, about 16 months after the ’076 and ’256 Patents expired.193,194
Similarly, Syngenta introduced Acuron, which is a combination herbicide that contains
mesotrione, and bicyclopyrone as active ingredients
                                      195
                                           Syngenta received EPA approval to sell Acuron on
                196
April 24, 2015,     which was about 10.5 months after Syngenta lost data exclusivity over
mesotrione.

                   c. Calculating “But For” and Lost Profits
       As a result of the Defendants’ infringement of the ’076 and ’256 Patents, Syngenta
suffered lost profits in the form of price erosion and lost quantity sales. To quantify these
damages, I begin by calculating Syngenta’s “but for” gross profits.
           As shown in Exhibit 7,

conservatively exclude azoxystrobin used for seed care, lawn & garden, and wallboard
applications from these figures because the Defendants’ azoxystrobin was not used in these
applications except in very limited quantities.197 If anything, consideration of seed care, lawn &
garden, and wallboard applications would reflect even greater lost profits.
       In determining Syngenta’s “but for” gross profit, I have considered Syngenta’s AZ
Products-at-Issue. I understand that the AZ Products-at-Issue contain not only azoxystrobin,

191
   EPA’s response re: Petition for Extension of the Exclusive Use Data Protection Period for Mesotrione (EPA Reg.
No. 100-1140) to June 4, 2014, Under FIFRA section 3(c)(1)(F)(ii) (www.epa.gov/sites/production/files/2014-
04/documents/mesotrione-response.pdf).
192
                             (SYN 287760);                                     (SYN 287759).
193
   Based on discussions with Syngenta, Trivapro is a mixture of Trivapro A and Trivapro B (Quilt Xcel; EPA
approval was obtained March 25, 2009).
194
      EPA Registrations Nos. 100-1471 (SYN 290896-935) and 100-1324 (SYN 290696-748).
195
      EPA Registration Nos. 100-1466 (SYN 290749-90).
196
      EPA Registration Nos. 100-1466 (SYN 290749-90).
197
   EPA Registration No. 87290-44 (SYN 291126-84); Deposition of Brian Heinze, dated August 4, 2016, pp. 134-
135. Because Willowood sold approximately $662,000 worth of azoxystrobin for lawn & garden applications
(approximately less than 3% of its total azoxystrobin sales; refer to Willowood Sales data), I conservatively ignore
Willowood’s effect on Syngenta’s lawn & garden azoxystrobin sales from my lost profits calculations. As discussed
above, the AZ Products-at-Issue exclude Syngenta’s lawn & garden azoxystrobin products.
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which is covered by the ’076 and ’256 Patents, but also other components. I find that the use of
the AZ Products-at-Issue as the basis for my lost profits analysis appropriate because, as
discussed above in Section IV.A.1, azoxystrobin drove demand for the products directly or
through the Brand Ladder. Further, in each of the AZ Products-at-Issue, the azoxystrobin and
other components are physically part of the same apparatus or composition. Thus, to the extent
necessary, the entire market value rule is satisfied.

                                     2014 “But For” Gross Profits
        As I discuss above, the Defendants began marketing their end-use of azoxystrobin
products as early as 2013 and began selling end-use azoxystrobin products in 2014. Thus, to
estimate Syngenta’s “but for” profits for 2014, I have assumed that “but for” the Defendants’
actions, Syngenta would have achieved its budgeted amount of gross profits for azoxystrobin to
the extent that Syngenta achieved its budget for its comparable mesotrione product. As shown in
Exhibit 9.d, Syngenta’s actual 2014 gross profits of mesotrione products for crop protection
were               than 2014 budgeted gross profits. Actual 2014 gross profits for all Syngenta
crop protection fungicides (less gross profits of the AZ Products-at-Issue) (“Crop Protection
Fungicides”) were              than the 2014 budget. Actual 2014 gross profits for all Syngenta
products were               than the 2014 budget.198
        At the same time, Syngenta’s actual 2014 azoxystrobin gross profits for the AZ Products-
at-Issue were              than 2014 budget.199
       Because azoxystrobin and mesotrione face similar market conditions, I have used
mesotrione as a benchmark to account for any potential impact of market conditions. For
example, Exhibit 8 shows that farm incomes declined from 2012 through 2014 as corn, soybean,
and wheat commodity prices fell. Under these conditions, mesotrione achieved
       of its 2014 gross profit budget.
        Thus, I have conservatively assumed that Syngenta would have made            of its 2014
gross profit budget on the AZ Products-at-Issue “but for” the Defendants’ infringement of
the ’076 and ’256 Patents. This assumption is conservative because Syngenta achieved
            of its 2014 budgets for Crop Protection Fungicides and all products, respectively.200
Additionally, the Producer Price Index for Agricultural and Commercial Pesticides and
Chemicals increased from 2013 to 2014, 201 which implies that prices of similar products
economy-wide increased in 2014. Thus, if other benchmarks were used, they would likely
reflect even greater lost profits.



198
                            (SYN 287760);                          (SYN 283412).
199
   Based on Exhibits 6 and 7, the actual gross profits of the AZ Products-at-Issue were             , and the
budgeted gross profits of the AZ Products-at-Issue were            , which results in a            compared
to budget.
200
                            (SYN 287760);                          (SYN 283412).
201
  Producer Price Index by Industry: Pesticide and Other Agricultural Chemical Manufacturing: Agricultural and
Commercial Pesticides and Chemicals (fred.stlouisfed.org/series/PCU3253203253201).
                                                   Page 32
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       Against this backdrop, as shown in Exhibit 9.c, I conservatively conclude that “but for”
the Defendants’ infringement of the ’076 and ’256 Patents, Syngenta should have anticipated a
gross profit of               on its AZ Products-at-Issue in 2014. Because Syngenta actually
earned gross profits of                on its AZ Products-at-Issue in 2014, I conclude that its
gross profits would have been $20.0 million or                             higher “but for” the
Defendants’ infringement.

                                2015 “But –For” Gross Profits
         In 2015, Syngenta budgeted that it would generate         million in gross profits on the
AZ Product-at-Issue. This budget was generated utilizing Syngenta’s experiences in 2014.
Because Syngenta’s 2014 gross profits on the AZ Products-at-Issue would have been
        than what it actually experienced “but for” the Defendants’ infringement, I conclude that
Syngenta would have developed a 2015 budget that generated at least                       in gross
profits than its actual 2015 budget. Consequently, I estimate that Syngenta would have created a
2015 budget where it estimated that it would earn                                          in gross
profits on the AZ Products-at-Issue. Again, Syngenta’s 2015 budget for the AZ Products-at-
Issue would have been even greater had crop protection fungicides or all products been used as a
benchmark.
       Similar to 2014, I assume that “but for” the Defendants’ alleged actions, Syngenta would
have created a 2015 budget where it estimated that it would earn                       on the AZ
Products-at-Issue to the extent that Syngenta’s mesotrione products achieved their 2015 budgets.
As Syngenta actually earned                  gross profits on mesotrione than it had originally
budgeted, I assume that Syngenta would have generated                   gross profits on its AZ
Products-at-Issue in 2015 than it had budgeted. As shown in Exhibit 9.c,          million is
higher than Syngenta’s estimated 2015 budget of             million. Because Syngenta actually
earned gross profits of                 on its AZ Products-at-Issue in 2015, I conclude that its
gross profits would have been $24.9 million                                  higher “but for” the
Defendants’ infringement.

                                 2016 “But-For” Gross Profits
        By similar logic, Syngenta’s 2016 budget for the AZ Products-at-Issue “but for” the
Defendants’ alleged actions would have been at least           greater than its actual 2016 budget
given that Syngenta’s “but for” 2015 gross profits on the AZ Products-at-Issue were
        than Syngenta’s actual 2015 AZ Products-at-Issue gross profits. Because Syngenta
earned               gross profits than it had budgeted on its mesotrione products, I assume that
Syngenta would have expected to earn                 gross profits than it had budgeted on the AZ
Products-at-Issue. As shown in Exhibit 9.c, these calculations imply that Syngenta expected to
earn                   in gross profits on the AZ Products-at-Issue. As of June 2016, Syngenta
projects that it will actually generate              in gross profits on the AZ Products-at-Issue,
leading to losses of $15.5 million.

                                 2017 “But-For” Gross Profits
       To estimate 2017 “but for” lost profits, I have applied a similar methodology as I did for
2016 detailed in Exhibit 9.c, which indicates that Syngenta should have earned                 in
                                             Page 33
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gross profits on the AZ Products-at-Issue. As of June 2016, Syngenta projects that it will
actually generate            in gross profits in 2017 on the AZ Products-at-Issue, leading to
losses of $15.3 million.

                                         Convoyed Sales
        As discussed above, Trivapro is a mixture of Trivapro A and Trivapro B. I understand
these products are packaged together and are used in combination to obtain the benefits marketed
under the Trivapro brand. Additionally, one could separately purchase Trivapro A. Because
Trivapro A does not contain azoxystrobin, it is not included in the AZ Products-at-Issue.
However, if Syngenta’s sales of the AZ Products-at-Issue were greater, so would its sales of
Trivapro A, even though it does not contain chemicals related to the patents at issue. The lost
sales of Trivapro A would be called convoyed sales. I have conservatively excluded Syngenta’s
losses from Trivapro A from my damages calculations.
        In addition, growers sometimes mix azoxystrobin with other products like insecticides
and herbicides. Consequently, if Syngenta lost azoxystrobin sales because of the Defendants’
infringement of the ’076 Patent and the ’256 Patent, it also lost sales on other insecticide and
herbicide products. These losses would also be convoyed sales. Although Syngenta is entitled
to regain the profits it lost on these convoyed sales, I have conservatively excluded these sales
from my lost profits analysis as well. However, I reserve the right to update this report to reflect
Syngenta’s lost profit damages related to convoyed sales of Trivapro A as well as its insecticide
and herbicide products.

                                       Incremental Costs
         Gross profits are calculated by deducting the cost of manufacturing the products from the
revenue earned on those products. Syngenta bore other costs associated with the AZ Products-
at-Issue. Some of these costs are incremental, while some are fixed. Based upon my own
analysis and conversations with Syngenta personnel, I classified these costs as either incremental
(i.e., variable) or fixed. Because Syngenta does not allocate the additional incremental costs to
each product sold, I have calculated these costs as a percentage of gross profits. For example, a
Syngenta document indicates it bore additional incremental costs of         of gross profits related
to sales in 2015.202 As shown in Exhibit 9.b, I have assumed the same level of incremental
expenses for all historical and for all future years.

                                           Lost Profits
       Syngenta’s lost profits are calculated by deducting the additional incremental costs from
Syngenta’s “but for” lost gross profits. Exhibit 9.b shows that after these deductions, Syngenta’s
“but for” lost profits from the Defendants’ infringement of the ’076 and ’256 Patents in years
2014 – 2017 was $20.0 million, $24.9 million, $15.4 million, and $15.3 million, respectively.
        I have calculated and provided lost profits even after the expiration of the ’076 and ’256
Patents because, as mentioned above, lost profits damages are not always limited to the
infringement period and Willowood’s infringement had a lingering effect that led to future lost

202
                                                          (SYN 287820).
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profits for Syngenta after patent expiration. I understand that Willowood admits that at least
Willowood USA, LLC infringed the ’076 and ’256 Patents before these patents expired by
importing azoxystrobin into the United States in early 2013 and using that azoxystrobin technical
by having it formulated and tested to support its end-use registrations of Azoxy 2SC and
AzoxyProp Xtra. 203 These infringing actions allowed Willowood to gain early access to the
azoxystrobin market by as much as a year, such that Willowood was offering for sale and selling
Azoxy 2SC and AzoxyProp Xtra by July 2014. An assumption of a one-year “head start” is
conservative for several reasons. For example, Willowood itself characterizes its registration
process as “unique” and touts that it can register a product and bring it to market in about 12
months, whereas other competitors take significantly longer. 204 Thus, had Willowood waited
until the ’076 and ’256 Patents expired before importing azoxystrobin technical and carrying out
its formulation and testing activities, it would have likely taken Willowood until 2015 or later to
introduce its end-use azoxystrobin products (assuming Willowood did not infringe on any other
Syngenta patents). I also understand it takes a significant amount of time to gain individual state
approvals to sell azoxystrobin products. Additionally, as I discuss above in Section II.B,
Willowood likely would have missed the peak selling season for the 2015 crop year had it not
infringed on Syngenta’s ’076 and ’256 Patents.
        Exhibit 9.e graphs Syngenta’s “but for” and actual incremental profits for the AZ
Products-at-Issue for 2012 through 2017, assuming infringement of the ’076 and ’256 Patents.
This Exhibit shows that Syngenta’s “but for” incremental profits in a given year are roughly
similar to Syngenta’s actual profits in the preceding year. That is consistent with the Defendants
having received approximately a one year “head start” in marketing and selling azoxystrobin and
indicates that the effect of this “head start” continues to linger.
       Exhibit 9.a displays the losses Syngenta faced due to the Defendants’ infringement of
the ’076 and ’256 Patents by year and cumulatively.
        For the reasons I discuss above, I believe to a reasonable degree of economic certainty
that the Defendants caused the losses displayed in Exhibit 9.a. Moreover, as I set forth in
Section II.C.2, I do not believe Cheminova, Albaugh, or any other generic had an effect on
Syngenta’s damages. However, to be conservative, I recognize that the Finder of Fact could
conclude that Cheminova could have had an effect on Syngenta’s damages. Exhibit 10.a
displays Syngenta’s “but for” losses due to the Defendants if the Finder of Fact draws such a
conclusion. The calculations in Exhibit 10.a are identical to those in Exhibit 9.a, except that I
have proportionally allocated Syngenta’s lost gross profits based upon the relative import shares
of kilograms of azoxystrobin of Cheminova and Willowood.205 This assumption is conservative
given Cheminova’s limited competitive effects as discussed in Section II.C.2.


203
   Defendants’ Second Supplemental Non-Infringement Noninfringment and Invalidity Contentions, dated June 27,
2016, pp. 2 and 7-8; Defendants’ Responses to Plaintiff’s First Set of Requests for Admission, dated July 29, 2016,
pp. 4-5.
204
  Deposition of Brian Heinze, dated August 4, 2016, pp. 119-122; Willowood Management Presentation
(WW026466).
205
   This methodology is akin to the proportional allocation of the infringer’s sales methodology detailed in State
Industries, Inc. v. Mor-flo Industries, Inc. and American Appliance Mfg. Corp., 883 F.2d 1573 (Fed. Cir. 1989).
                                                     Page 35
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        Some of the lost profits shown in Exhibit 9.a and Exhibit 10.a occurred in the past and
some will occur in the future. Thus, in Exhibit 9.a and Exhibit 10.a, I have separately calculated
and adjusted Syngenta’s lost profits to include prejudgment interest, 206 utilizing North Carolina’s
statutory prejudgment interest rate of 8.0% simple interest. 207 For ease of analysis, I have
calculated prejudgment interest through July 1, 2017 and December 31, 2017. I reserve the right
to update these interest calculations as trial approaches.


      B. Lost Profits from the Defendants’ Alleged Infringement of
         the ’138 Patent
        This section calculates damages assuming the Finder of Fact determines that the
Defendants infringed Syngenta’s ’138 Patent by importing, using, selling, or offering for sale
azoxystrobin that was made using the claimed process before the ’138 Patent expired on
December 8, 2015. This section calculates damages in such an instance. The damages
calculated in this section are applicable regardless of whether the Defendants are found to have
infringed any of Syngenta’s ’076, ’256, and ’761 Patents.

                                             Panduit Factors 1 - 3
        As with my analysis of the ’076 and ’256 Patents, I have applied the four-factor Panduit
test (discussed above) to determine the damages stemming from the infringement of the ’138
Patent. For the same reasons as in Sections IV.A.1 – 3, I conclude:

            Demand existed for the azoxystrobin manufactured using the method of the ’138
             Patent, which I understand is the most commercially reasonable method. I understand
             that it might be possible to manufacture azoxystrobin without the claimed method of
             the ’138 Patent; however, it would be more expensive and inefficient to do so.208 I
             understand that Syngenta alleges that Willowood willfully infringed on ’138 Patent.
             This further supports my opinion about the uneconomic nature of alternative
             processes to manufacture azoxystrobin without infringing the ’138 Patent;

            Customers who purchased azoxystrobin from the Defendants likely would have
             purchased from Syngenta in absence of the Defendants’ product; and

            Syngenta had the manufacturing and marketing capacity to make additional sales.




206
   Prejudgment interest is a rate of interest applied to an award to compensate the injured party, here Syngenta, for
the use of its monies between the infringement date and the judgment date.
207
    North      Carolina   General      Assembly,   Enacted    Legislation,          Chapter     24     –     Interest.
(www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
208
   Even if a generic was able to manufacture azoxystrobin without the ’138 Patent, lost profit damages would be no
less than the amounts calculated in the prior section for infringement of the ’076 and ’256 Patents.
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                              Calculating “But-For” and Lost Profits
        Consequently, only the profits Syngenta would have made “but for” the Defendant’s
alleged infringement of the ’138 Patent need to be calculated under the Panduit factors.
Utilizing the benchmark method, I conclude, based on discussions with Syngenta personnel and
my own analysis that a combination of Syngenta’s 1) actual gross profits for AZ Products-at-
Issue and 2) budgets and actual sales of Crop Protection Fungicides provides a proper benchmark
for estimating Syngenta’s sales of AZ Products-at-Issue “but for” the Defendants’ alleged
infringement of the ’138 Patent.
        For the same reasons I discuss in Section IV.A.4.a, Syngenta’s budgets are an
informative benchmark for what sales and profits would have been for Syngenta’s AZ Products-
at-Issue had the ’138 Patent not been infringed. However, I understand that Syngenta developed
its budgets for the AZ Products-at-Issue under the belief that there might be some amount of
azoxystrobin generic entry the industry in 2014. The results of this budgeting process would be
incorrect if the Finder of Fact determines that the Defendants infringed on the ’138 Patent, in
which case Syngenta would have been entitled to exclude the Defendants from importing, using,
selling, or offering for sale technical and end-use azoxystrobin through the expiration of the ’138
Patent on December 8, 2015. Consequently, in this section, I estimate what budgets Syngenta
would have developed for the AZ Products-at-Issue in years 2014 – 2017 assuming it had known
that it would have been able to exclude Willowood from using the claimed process until
December 8, 2015.
        Again, as with my analysis of damages due to infringement of the ’076 and ’256 Patents,
the AZ Products-at-Issue contain azoxystrobin made by the patented process of the ’138 Patent
as well as other compounds. I have not seen any way in which the AZ Products-at-Issue could
have been economically manufactured without the method of the ’138 Patent. Willowood’s
alleged willful infringment further supports my opinion about the uneconomic nature of
alternative processes to manufacture azoxystrobin without infringing the ’138 Patent. As a result,
the entire market value rule is satisfied. I reserve the right to update this conclusion if I am
presented with additional evidence.
        Unlike in my analysis of lost profits due to the alleged infringement of the ’076 and ’256
Patents, I find that mesotrione is likely an over-conservative benchmark in calculating lost profits
due to infringement of the ’138 Patent. Notably, Syngenta’s data exclusivity over mesotrione
ended on June 4, 2014, whereas Syngenta was entitled to exclude others from using the claimed
process of the ’138 Patent until December 8, 2015, eighteen months later. Thus, my analysis of
the damages due to infringement of the ’138 Patent is based on Syngenta’s gross profits on sales
of Crop Protection Fungicides, which contain products for which Syngenta maintained
exclusivity through 2015.209 As a result, lost profit damages would be no less than the amounts
calculated in the prior section for infringement of the ’076 and ’256 Patents, which used a
mesotrione benchmark.



209
   As discussed above, my definition of Syngenta’s Crop Protection Fungicides excludes products with
azoxystrobin.
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                                       2014 “But-For” Gross Profits
         Syngenta’s 2014 actual gross profits on its Crop Protection Fungicides were
        than its 2013 actual gross profits of those chemicals. Consequently, I have assumed that
Syngenta’s 2014 gross profits on the AZ Products-at-Issue would have been                    than
its actual 2013 gross profits on the AZ Products-at-Issue, as shown in Exhibit 11.c, “but for” the
Defendants’ alleged infringement of the ’138 Patent.

                                       2015 “But-For” Gross Profits
        Similarly, because Syngenta’s 2015 gross profits on its Crop Protection Fungicides were
             than its 2014 actual gross profits of those chemicals, I have calculated in Exhibit
11.c that Syngenta’s 2015 gross profits on the AZ Products-at-Issue would have been
than its expected 2014 gross profit budget on the AZ Products-at-Issue.

                                       2016 “But-For” Gross Profits
        Assuming the Finder of Fact determines that the Defendants infringed the ’138 Patent,
Syngenta would have lost its ability to exclude others from practicing the claimed process of
the ’138 Patent in December 2015. Because 2016 would have been the first year that Syngenta
would not have had such exclusivity, I assume that Syngenta’s 2016 experiences with the AZ
Products-at-Issue in the “but for” scenario would have been similar to Syngenta’s actual
experience in the first year it did not effectively have exclusivity over the azoxystrobin
compound. As discussed above, in the actual scenario, the Defendants’ actions caused Syngenta
to lose effective exclusivity over the azoxystrobin compound in 2014. Because Syngenta’s gross
profits on the AZ Products-at-Issue actually               by        in 2014 from 2013, I have
assumed that in the “but for” scenario, Syngenta’s 2016 gross profits would have              by
                                       210
        to a level of                 .    As set forth in Exhibit 11.c, I understand there was a
general decline in the agricultural economy in 2014. Consequently, my estimate of Syngenta’s
“but for” 2016 gross profits is conservative because the agricultural economy is not expected to
contract in 2016 as it did in 2014. If anything, to the extent the economic decline in 2014 had
any impact on Syngenta’s azoxystrobin sales that year, it would make my estimate of Syngenta’s
“but-for” 2016 gross profits all that more conservative.

                                       2017 “But-For” Gross Profit
       Because 2017 would be the second year Syngenta would not have had exclusivity over
the azoxystrobin compound in the “but for” scenario and Syngenta’s gross profits on the AZ
Products-at-Issue actually         by         in 2015, the second year Syngenta effectively did
not have exclusivity over the azoxystrobin compound, I have assumed that Syngenta’s expected
gross profits would have          by        in 2017 to              in the “but for” scenario.

                                                Convoyed Sales
       Syngenta is entitled to lost profit damages related to its convoyed sales of Trivapro A as
well as its insecticides and herbicides that are often mixed with the AZ Products-at-Issue.
210
   This assumption is conservative as the agricultural economy is not expected to contract as much in 2016 as it did
in 2014.
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However, I conservatively excluded these sales from my lost profits analysis. I reserve the right
to update this report to reflect Syngenta’s lost profit damages related to convoyed sales of
Trivapro A as well as its insecticide and herbicide products.

                                             Incremental Costs
       As discussed above in Section IV.A.4.c, Syngenta bore additional incremental costs of
     of gross profits on its sales in 2015; I have assumed these costs will continue into 2016 and
2017, and I conservatively include these costs in all years prior to 2015.

                                                 Lost Profits
        Exhibit 11.b shows that after deducting the additional incremental costs, Syngenta’s lost
profits from the Defendants’ infringement of the ’138 Patent in 2014 – 2017 was $33.2 million,
$55.8 million, $36.0 million, and $10.5 million, respectively.
        I have calculated and provided lost profits even after the expiration of the ’138 Patent
because, as mentioned above, lost profits damages are not always limited to the infringement
period and Willowood’s infringement had a lingering effect that led to future lost profits of
Syngenta after patent expiration. If the Finder of Fact determines Willowood infringed the ’138
Patent, Willowood’s infringing actions enabled it to gain premature access to the azoxystrobin
market of over two years (covering the period between August 13, 2013 EPA application to the
expiration of the ’138 Patent on December 8, 2015 and conservatively excluding the time it takes
to obtain individual state approval).
        Exhibit 11.e graphs Syngenta’s “but for” and actual incremental profits for the AZ
Products-at-Issue for 2012 through 2017 assuming infringement of the ’138 Patent. This Exhibit
shows that Syngenta’s “but for” incremental profits in a given year are roughly similar to the
Syngenta’s actual profits two years before given the two years of growth Syngenta would have
achieved in 2014 and 2015. This result is consistent with the Defendants receiving an
approximately two year “head start” in marketing and selling azoxystrobin and that the effect of
this “head start” continues to linger.
        Exhibit 11.a displays the resulting losses Syngenta faced due to the Defendants’
infringement of the ’138 Patent by year and cumulatively.211
        For the reasons I discuss above, I believe to a reasonable degree of economic certainty
that the Defendants are the cause of the losses displayed in Exhibit 11.a. However, I recognize
that the Finder of Fact could conclude that Cheminova could have had an effect on Syngenta’s
damages. Exhibit 12.a displays Syngenta’s losses due to the Defendants if the Finder of Fact
draws such a conclusion. The calculations in Exhibit 12.a are identical to those in Exhibit 11.a,
except that I have proportionally allocated Syngenta’s lost gross profits based upon the relative
import shares of kilograms of active ingredient of Cheminova and Willowood. 212 This
211
   As shown in Exhibit 11.a, the lost profits are calculated from 2014 through 2017 and total $135.5 million.
Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired,
then the cumulative damages are equal to the 2014 damages plus 93.7% of the 2015 damages shown in Exhibit 11.a.
212
   This methodology is akin to the proportional allocation of the infringer’s sales methodology detailed in State
Industries, Inc. v. Mor-flo Industries, Inc. and American Appliance Mfg. Corp., 883 F.2d 1573 (Fed. Cir. 1989).
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assumption is conservative given Cheminova’s limited competitive effects as discussed in
Section II.C.2. Additionally, I have conservatively excluded 2017 damages from this calculation.
        Some of the lost profits shown in Exhibit 11.a and Exhibit 12.a occurred in the past and
some will occur in the future. Thus, in Exhibit 11.a and Exhibit 12.a, I have separately
calculated and adjusted Syngenta’s lost profits to include prejudgment interest,213 utilizing North
Carolina’s statutory prejudgment interest rate of 8.0% simple interest. 214 For ease of analysis, I
have calculated prejudgment interest through July 1, 2017 and December 31, 2017. I reserve the
right to update these interest calculations as trial approaches.


      C. Lost Profits from the Defendants’ Infringement of the ’761
         Patent
        This section calculates damages assuming the Finder of Fact determines that the
Defendants infringe on the ’761 Patent by importing, using, selling, or offering for sale
azoxystrobin that was made using the claimed process of the ’761 Patent. 215 This section
calculates damages in such an instance. This calculated damages in this section are applicable
regardless of whether the Defendants are found to have infringed any of Syngenta’s ’076, ’256,
and ’138 Patents.

                                             Panduit Factors 1 - 3
        As discussed in Sections IV.A.1 – 3 and III.B, Syngenta meets the first three Panduit
factors for the ’761 Patent. I then calculate Syngenta’s lost profits assuming infringement of
the ’761 Patent in a similar manner to my calculation of lost profits assuming infringement of
the ’138 Patent and the entire market value rule is satisfied.

                                 Calculating “But-for” and Lost Profits
       Section IV.B discusses and Exhibit 11.c shows that I utilize a different calculation
methodology for calculating damages for infringement of the ’138 Patent in different time
periods. I used one methodology for 2014 and 2015 when the ’138 Patent entitled Syngenta to
exclude others from using the claimed process; I used another methodology for 2016 through
2017 when ’138 Patent had expired and Syngenta no longer possessed such exclusivity.
        Because the ’761 Patent remains in effect for the entire 2014 – 2017 period and beyond, I
have utilized the same methodology as I did in calculating Syngenta’s 2014 and 2015 lost profits
for infringement of the ’138 Patent to calculate Syngenta’s 2014 – 2017 lost profits for the
infringement of the ’761 Patent.

213
   Prejudgment interest is a rate of interest applied to an award to compensate the injured party, here Syngenta, for
the use of its monies between the infringement date and the judgment date.
214
    North      Carolina   General      Assembly,   Enacted    Legislation,          Chapter     24     –     Interest.
(www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
215
   Even if a generic was able to manufacture azoxystrobin without the ’761 Patent, lost profit damages would be no
less than the amounts calculated in the prior section for infringement of the ’076 and ’256 Patents.
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                              2014 & 2015 “But-For” Gross Profits
       Exhibit 13.c shows that using the same methodology discussed in Section IV.B for 2014
and 2015, Syngenta suffered lost gross profits of $33.2 million and $55.9 million in 2014 and
2015, respectively from the Defendants’ infringement of the ’761 Patent.

                                 2016 “But-For” Gross Profits
        For 2016, I assume that Syngenta would have developed a gross profit for the AZ
Products-at-Issue of                 had it realized that it was entitled to exclude Willowood in
2016. As set forth in Exhibits 13.c and 13.d, this amount is                       than Syngenta’s
expected 2015 budget for the AZ Products-at-Issue because Syngenta’s latest projection in June
2016 of actual gross profits for all Crop Protection Fungicides was                      than 2015
actual gross profits of those chemicals.

                                 2017 “But-for” Gross Profits
        As set forth in Exhibit 13.c, for 2017, I have assumed that Syngenta would have
developed a 2017 expected gross profit budget for the AZ Products-at-Issue of
had it realized that it was entitled to exclude Willowood in 2017. This amount is
than Syngenta’s expected 2016 gross profits budget for the AZ Products-at-issue because
Syngenta’s latest June projection in June 2016 of gross profit actuals for all Crop Protection
Fungicides              by      over actual the 2016 June latest projection.

                                        Convoyed Sales
        Moreover, as discussed above, Syngenta is entitled to lost profit damages related to its
convoyed sales of Trivapro A as well as its insecticides and herbicides that are sometimes mixed
with the AZ Products-at-Issue. However, I have conservatively excluded these sales from my
lost profits analysis. I reserve the right to update this report to reflect Syngenta’s lost profit
damages related to convoyed sales of Trivapro A as well as its insecticide and herbicide products.

                                       Incremental Costs
       Also, as I discuss above in Section IV.A.4.c, Exhibit 13.b shows that Syngenta bore
additional incremental costs of          of gross profits on sales in 2015. I have conservatively
assumed that Syngenta will bear these additional incremental costs in future years, and I also
included these costs in all historical years.

                                          Lost Profits
        Exhibit 13.b shows that after deducting the additional incremental costs, Syngenta’s lost
profits from the Defendants’ infringement of the ’761 Patent in 2014 – 2017 was $33.2 million,
$55.8 million, $94.6 million, and $89.8 million, respectively.
        As discussed previously, a plaintiff’s lost profits damages are not always limited to the
infringement period. Assuming the Finder of Fact determines Willowood infringed the ’761
Patent, Willowood’s infringing actions enabled it to gain access to the azoxystrobin market over
15 years in advance of all other generic manufacturers (given that the ’761 patent expires in
April 2029) allowing Willowood to obtain significant sales during key months. Although
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Willowood obtained a sizeable head start over its generic competitors, I have conservatively
limited my damage calculations to the period between 2014 and 2017.
       Exhibit 13.a displays the losses Syngenta faced due to the Defendants’ infringement of
the ’761 Patent by year and cumulatively.
        For the reasons I discuss above, I believe to a reasonable degree of economic certainty
that the Defendants caused the losses displayed in Exhibit 13.a. However, I recognize that the
Finder of Fact may conclude that Cheminova caused some of these losses. Exhibit 14.a displays
Syngenta’s losses due to the Defendants if the Finder of Fact draws such a conclusion. The
calculations in Exhibit 14.a are identical to those in Exhibit 13.a, except that I have
proportionally allocated Syngenta’s lost gross profits based upon the relative import shares of
kilograms of active ingredient of Cheminova and Willowood.216 This assumption is conservative
given Cheminova’s limited competitive effects as discussed in Section II.C.2.

        Some of the lost profits shown in Exhibit 13.a and Exhibit 14.a occurred in the past and
some will occur in the future. Thus, in Exhibit 13.a and Exhibit 14.a, I have separately
calculated and adjusted Syngenta’s lost profits to include prejudgment interest,217 utilizing North
Carolina’s statutory prejudgment interest rate of 8.0% simple interest. 218 For ease of analysis, I
have calculated prejudgment interest through July 1, 2017 and December 31, 2017. I reserve the
right to update these interest calculations as trial approaches.


       D. The Defendants’ Unjust Enrichment Arising from their Alleged
          Copyright Infringement
        In this matter, Syngenta alleges that the Defendants copied portions of Syngenta’s
Quadris Flowable Fungicide label and Syngenta’s Quilt Xcel label. These allegedly copied
labels were placed on the Defendants’ Azoxy 2SC and AzoxyProp Xtra products. As discussed
above and confirmed by Dr. Wichert, portions of the labels the Defendants allegedly copied are
vital to the underlying product; it is difficult to make product sales without such an effective
label.219 Similarly, Dr. Clark explained that the labels tell Syngenta’s story to the grower about
how to utilize the fungicide and how the product fits the grower’s needs.220 Using a label that
has been copied from another manufacturer also could provide an improper quality assurance to
fungicide purchasers. As noted above, Dr. Rogers wrote that “diffusion scholars have found
relative advantage to be one of the strongest predictors of an innovation’s rate of adoption.”221
216
   This methodology is akin to the proportional allocation of the infringer’s sales methodology detailed in State
Industries, Inc. v. Mor-flo Industries, Inc. and American Appliance Mfg. Corp., 883 F.2d 1573 (Fed. Cir. 1989).
217
   Prejudgment interest is a rate of interest applied to an award to compensate the injured party, here Syngenta, for
the use of its monies between the infringement date and the judgment date.
218
    North      Carolina   General      Assembly,   Enacted    Legislation,           Chapter    24     –     Interest.
(www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
219
      Deposition of Rex Wichert, dated July 15, 2016, pp. 74-75, 116-117, 197-198, and 257.
220
      Deposition of Adora Clark, dated July 22, 2016, p. 20.
221
      Rogers, Everett M. Diffusion of Innovations, 5th Edition, 2003, p. 233 (SYN 290147-55).
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Drafting a label that indicates to the public that generic products, like the Defendants’, have the
same characteristics as the branded company’s product lessens the relative advantage gap faced
by the generic.
         It is my understanding that the copying of the labels occurred prior to the Defendants’
first sale of Azoxy 2SC on July 12, 2014 and AzoxyProp Xtra on December 29, 2014. 222 I also
understand that since the filing of this lawsuit, the Defendants edited their Azoxy 2SC label,
which the EPA approved on February 8, 2016, and Defendants also edited their AzoxyProp Xtra
label, which the EPA approved on December 10, 2015.223 I understand that Defendants made
these edits in an attempt to avoid infringing on the copyrights of Syngenta’s labels and that
Syngenta disputes that the edits resolve Defendants’ copyright infringement.224 Regardless, the
copyright infringement likely continued after the edited labels were approved because I am not
aware of the Defendants recalling products with the infringing labels. Further, the EPA allowed
Willowood to distribute the allegedly infringing labels on the Azoxy 2SC product and the
AzoxyProp Xtra product in the market for up to 18 months after February 8, 2016 and December
10, 2015, respectively.225 Consequently, the alleged infringement could cease only when the
Defendants’ products with the infringing labels are no longer available for sale. For the purpose
my analysis, I have conservatively assumed that the copyright infringement will cease on August
8, 2017 for the Azoxy 2SC product labels and on June 10, 2017 for the AzoxyProp Xtra product
labels (including the 18-month grace period the Defendants had to remove the allegedly
infringing content). I reserve the right to update this assumption upon receipt of new information.
        Alternatively, the Finder of Fact could determine that the Defendants garnered all of their
technical azoxystrobin, Azoxy 2SC, AzoxyProp Xtra, and Tebustrobin SC sales because of the
copyrighted material they copied from Syngenta. Exhibit 15 displays the Defendants’ actual
sales of these products through June 13, 2016 as well as the sales of these products I project to
make in the second half of 2016 and 2017. 226 As shown in Exhibit 5, Willowood produced
monthly sales data for Azoxy 2SC and AzoxyProp Xtra through June 13, 2016. To project the
sales shown in Exhibit 15 in 2016, I annualized the 2016 monthly product sales. For 2017, I
applied the percentage sales decline projected between 2016 and 2017 as shown in the
Willowood USA Management Presentation.227 I conservatively do not project sales of technical
azoxystrobin and Tebustrobin SC. Willowood’s sales (and profits) would be larger in Exhibit 15
if I considered future technical azoxystrobin and Tebustrobin SC sales.



222
      Willowood Sales Data.
223
  EPA Approval of Azoxy 2SC Label Amendment, dated February 8, 2016 (SYN 289460-524); EPA Approval of
AzoxyProp Xtra Label Amendment, dated December 10, 2015 (WW021447).
224
      Submission of AzoxyProp Xtra Label Amendment, dated May 21, 2015 (WW018540).
225
   EPA Approval of Azoxy 2SC Label Amendment, dated February 8, 2016 (SYN 289460-524); EPA Approval of
AzoxyProp Xtra Label Amendment, dated December 10, 2015 (WW021447); 40 C.F.R. §152.130(c) (permitting
registrants to use previously approved labeling for a period of 18 months after approval of voluntarily amended
label); Existing Stocks Policy, 56 Fed. Reg. 29362.
226
      Tebustrobin sales go through July 20, 2016.
227
      Willowood USA Management Presentation (WW026503).
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        Similar to Syngenta, Willowood sells herbicides and insecticides that growers can mix
with its azoxystrobin products.228 Therefore, if Willowood unjustly obtained azoxystrobin sales,
it likely also unjustly obtained sales of other insecticide and herbicide products. I have
conservatively excluded these convoyed sales from my damage analysis. However, I reserve the
right to update this report to incorporate such sales.
        Exhibit 15 shows the technical azoxystrobin, Azoxy 2SC, AzoxyProp Xtra, and
Tebustrobin SC sales that the Defendants unjustly received, by year and cumulatively, because
of their alleged copyright infringement for 2014 through 2017. I reserve the right to update these
calculations upon receipt of new information and for the passage of time.
        Even though the Defendants have the burden of proof, I have estimated the costs that the
Defendants incurred to make the sales listed in Exhibit 15. In particular, I have applied
Willowood’s net direct income margin to its Azoxy 2SC and AzoxyProp Xtra infringing sales for
2014 through 2017 to estimate the net profits the Defendants garnered because of their alleged
copyright infringement. To estimate profits on technical azoxystrobin and Tebustrobin SC, I
have applied Willowood’s average annual direct income margin of its Azoxy 2SC and
AzoxyProp Xtra products. I reserve the right to update this assumption upon receipt of new
information and for the passage of time. Exhibit 15 displays an estimate of the Defendants’
unjust enrichment by year and cumulative.
        As set forth in Exhibit 15, I have separately calculated and adjusted Willowood’s unjust
enrichment sales and net profits to include prejudgment interest,229 utilizing North Carolina’s
statutory prejudgment interest rate of 8.0% simple interest. 230 For ease of analysis, I have
calculated prejudgment interest through July 1, 2017 and December 31, 2017. I reserve the right
to update these interest calculations as trial approaches.


       E. Lost Profits              from         the      Defendants’              Alleged           Copyright
          Infringement
       As I discuss above, the Defendants’ alleged copyright infringement commenced before
the Defendants’ first sale of Azoxy 2SC on July 12, 2014 and AzoxyProp Xtra on December 29,
2014.231 I have assumed that the alleged infringement ceased on August 8, 2017 for Azoxy 2SC
and on June 10, 2017 for AzoxyProp Xtra (18 months after the Defendants modified their labels
for these products). 232 Because the alleged infringement ceased over a year after
228
      www.willowoodusa.com/products/by-category/.
229
   Prejudgment interest is a rate of interest applied to an award to compensate the injured party, here Syngenta, for
the use of its monies between the infringement date and the judgment date.
230
    North      Carolina   General      Assembly,   Enacted    Legislation,          Chapter     24     –     Interest.
(www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
231
      Willowood Sales Data.
232
   EPA Approval of Azoxy 2SC Label Amendment, dated February 8, 2016 (SYN 289460-524); EPA Approval of
AzoxyProp Xtra Label Amendment, dated December 10, 2015 (WW021447); 40 C.F.R. §152.130(c) (permitting
registrants to use previously approved labeling for a period of 18 months after approval of voluntarily amended
label); Existing Stocks Policy, 56 Fed. Reg. 29362.
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Syngenta’s ’138 Patent expired (December 8, 2015), I have conservatively assumed that the
profits Syngenta lost from the Defendants’ alleged copyright infringement equals the profits
Syngenta lost from the Defendants’ alleged infringement of Syngenta’s ’138 Patent, which I
calculated in Section B above.


     F. Summary
       Exhibit 16.a summarizes the damages results for the infringement claims discussed in
Sections A – E above and in Exhibits 9 – 15. Exhibit 16.b displays these damages by year.
Exhibits 16.c and 16.d display the damages results, after accounting for prejudgment interest
through July 1, 2017 and December 31, 2017.
      Exhibits 17.a - 17.d are similar to 16.a - 16.d except they conservatively allocate some of
Syngenta’s losses to Cheminova’s actions.
        If the Finder of Fact determines that the Defendant is liable for multiple actions, the
resulting damages would be the maximum of the losses for the actions deemed to be infringing.

V.     Conclusion
       Syngenta alleges that the Defendants infringed on four of their patents and two of their
copyrighted labels. These alleged actions allowed the Defendants to enter the industry
prematurely. Syngenta, other branded strobilurin manufacturers, and other generic azoxystrobin
manufacturers reacted to the Defendants’ actions, which lowered Syngenta’s profits and enriched
the Defendants.
        As detailed in this Report, if the Finder of Fact determines the Defendants’ actions are
improper, I find that Syngenta’s damages are between $75.7 million and $273.4 million, with
prejudgment interest, damages are between $85.7 million and $297.9 million. If it is determined
that the Defendants infringed on Syngenta’s patents, I find that Syngenta’s lost profit damages
are between $75.7 million and $273.4.2 million ($85.7 million to $297.9 million, with
prejudgment interest). If the Finder of Fact determines that the Defendants infringed on
Syngenta’s copyrights, the damages would be $135.5 million ($155.3 million with prejudgment
interest).




August 19, 2016                                            ___________________________

                                                           Benjamin S. Wilner, Ph.D.




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                             Exhibit 1
Documents Considered


I. Pleadings, Legal Filings

    Beginning Bates               Ending Bates            Document Description
    -                             -                       Complaint, dated March 27, 2015 (including exhibits)
    -                             -                       Answer of Defendants Willowood, LLC, Willowood USA, LLC and Willowood Azoxystrobin, LLC to the Complaint, dated June 16, 2015
    -                             -                       Answer of Defendant Willowood Limited to the Complaint, dated October 28, 2015
    -                             -                       Defendants' Answers and Objections to Plaintiff's Fourth Set of Interrogatories, dated July 14, 2016
    -                             -                       Defendants' Responses to Syngenta Crop Protection's Third Set of Interrogatories, dated June 2, 2016
    -                             -                       Defendant's Second Supplemental Non-Infringement and Invalidity Contentions, dated June 27, 2016
    -                             -                       Defendant's Responses to Plaintiff's First Set of Requests for Admission (Nos. 1-34), dated July 29, 2016
    -                             -                       Plaintiff Syngenta Crop Protection, LLC's Second Supplemental Infringement Contentions, dated July 2016
    -                             -                       Expert Report of Dr. Joseph M. D. Fortunak, August 19, 2016


II. Deposition Transcripts

    Beginning Bates               Ending Bates            Document Description
    -                             -                       Deposition of Rex Wichert, dated July 15, 2016 (including exhibits)
    -                             -                       Deposition of Jeff Cecil, dated July 13, 2016 (including exhibits)
    -                             -                       Deposition of Brian Heinze, dated August 4, 2016 (including exhibits)
    -                             -                       Deposition of Adora Clark, dated July 22, 2016 (including exhibits)
    -                             -                       Deposition of Brad Reichman, dated July 25, 2016 (including exhibits)
    -                             -                       Deposition of Robert Andrew Fisher, dated July 22, 2016 (including exhibits)
    -                             -                       Deposition of Joseph Middione, dated July 26, 2016 (including exhibits)


III. Documents Produced by Willowood

    Beginning Bates               Ending Bates            Document Description
    WW000057                      WW000060                Willowood AzoxyProp Xtra Sales Summary, January 1, 2014 through December 7, 2015
    WW000061                      WW000096                Willowood Sales Invoices of AzoxyProp Xtra, December 29, 2014 through June 19, 2015
    WW000097                      WW000125                Willowood Sales Invoices of AzoxyProp Xtra, June 19, 2015 through July 27, 2015
    WW000126                      WW000133                Willowood Azoxy 2SC Sales Summary, January 1, 2014 through December 7, 2015
    WW000134                      WW000166                Willowood Sales Invoices of Azoxy 2SC, June 2, 2015 through July 16, 2015
    WW000167                      WW000210                Willowood Sales Invoices of Azoxy 2SC, July 17, 2015 through November 18, 2015
    WW010305                      WW010309                Email between Brian Heinze and Joe Middione on July 8, 2015
    WW012046                      WW012046                Willowood Azoxy 2SC - United Turf Alliance (UTA) Proposal
    WW018540                      WW018623                Pyxis Regulatory Consulting Letter to EPA re: Willowood AzoxyProp Xtra Submission of a Non-PRIA Fast Track Label Amendment, dated May 21, 2015
    WW020109                      WW020117                Email from Joseph Middione to Brian Heinze on March 26, 2014




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III. Documents Produced by Willowood (Continued)

    Beginning Bates               Ending Bates            Document Description
    WW021447                      WW021483                EPA Letter to Pyxis Regulatory Consulting re: Label Amendment for Willowood AzoxyProp Xtra, dated December 10, 2015
    WW025053                      WW025053                Email from Brian Heinze to Joe Middione, et al, on December 23, 2013
    WW026223                      WW026237
    WW026255                      WW026273
    WW026277                      WW026279                Willowood Azoxy 2SC Sales Summary, December 8, 2015 through June 21, 2016
    WW026280                      WW026282                Willowood AzoxyProp Xtra Sales Summary, December 8, 2015 through June 21, 2016
    WW026381                      WW026397
    WW026430                      WW026508                Willowood USA Management Presentation
    WW026509                      WW026553                Willowood Sales Invoices of Azoxy 2SC, April 4, 2014 through June 13, 2016
    WW026554                      WW026597                Willowood Sales Invoices of Azoxy 2SC, December 17, 2015 through April 13, 2016
    WW026598                      WW026623                Willowood Sales Invoices of Azoxy 2SC, December 18, 2015 through March 31, 2016
    WW026624                      WW026653                Willowood Sales Invoices of AzoxyProp Xtra, April 5, 2016 through April 29, 2016
    WW026654                      WW026686                Willowood Sales Invoices of AzoxyProp Xtra, May 2, 2016 through June 13, 2016
    WW026687                      WW026688                Willowood Sales Invoices of Azoxy Technical to Innvictus, dated April 24, 2015 and December 25, 2015
    WW026689                      WW026691                Willowood Sales Summary & Invoices of Tebustrobin SC to AgXplore II, dated July 18, 2016 and July 20, 2016
    WW026692                      WW026692                Willowood Paid Rebates Summary by Year and Customer, 2014-2016


IV. Documents Produced by Syngenta Crop Protection, LLC

    Beginning Bates               Ending Bates            Document Description
    SYN 026718                    SYN 026740
    SYN 036816                    SYN 036816
    SYN 037154                    SYN 037174
    SYN 037471                    SYN 037473
    SYN 038212                    SYN 038213
    SYN 038709                    SYN 038709
    SYN 056311                    SYN 056312
    SYN 058305                    SYN 058306
    SYN 058805                    SYN 058805
    SYN 059143                    SYN 059144              Email from Matt Heinze to Bret Horner on July 08, 2015
    SYN 061003                    SYN 061003
    SYN 061668                    SYN 061677
    SYN 062113                    SYN 062122
    SYN 134640                    SYN 134642
    SYN 279541                    SYN 279569              Syngenta Quilt Xcel EPA Label
    SYN 283371                    SYN 283381
    SYN 283391                    SYN 283411
    SYN 283412                    SYN 283412
    SYN 283413                    SYN 283413



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IV. Documents Produced by Syngenta Crop Protection, LLC (Continued)

    Beginning Bates               Ending Bates                Document Description
    SYN 283414                    SYN 283414
    SYN 283415                    SYN 283415
    SYN 283416                    SYN 283416
    SYN 283417                    SYN 283417
    SYN 283425                    SYN 283425
    SYN 283426                    SYN 283426
    SYN 283427                    SYN 283427
    SYN 283428                    SYN 283428
    SYN 283429                    SYN 283429
    SYN 283430                    SYN 283430
    SYN 283431                    SYN 283431
    SYN 283434                    SYN 283434
    SYN 283435                    SYN 283436
    SYN 283437                    SYN 283437
    SYN 283438                    SYN 283438
    SYN 283440                    SYN 283440
    SYN 283441                    SYN 283462
    SYN 283463                    SYN 283463
    SYN 283464                    SYN 283490
    SYN 283492                    SYN 283495
    SYN 283496                    SYN 283496
    SYN 283497                    SYN 283497
    SYN 283498                    SYN 283498
    SYN 283499                    SYN 283499
    SYN 283500                    SYN 283500
    SYN 283501                    SYN 283501
    SYN 283502                    SYN 283502
    SYN 283512                    SYN 283573
    SYN 283574                    SYN 283574
    SYN 283575                    SYN 283586
    SYN 283587                    SYN 283629
    SYN 283674                    SYN 283731
    SYN 283733                    SYN 283798
    SYN 283800                    SYN 283800
    SYN 283802                    SYN 283802
    SYN 283803                    SYN 283803
    SYN 283804                    SYN 283804
    SYN 283805                    SYN 283805
    SYN 284136                    SYN 284173




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IV. Documents Produced by Syngenta Crop Protection, LLC (Continued)

    Beginning Bates               Ending Bates                Document Description

    SYN 284174                    SYN 284187
    SYN 284188                    SYN 284201
    SYN 284202                    SYN 284207
    SYN 284208                    SYN 284221
    SYN 284222                    SYN 284223
    SYN 284224                    SYN 284227
    SYN 284228                    SYN 284237
    SYN 284238                    SYN 284258
    SYN 284273                    SYN 284283
    SYN 287740                    SYN 287755
    SYN 287756                    SYN 287757
    SYN 287759                    SYN 287759
    SYN 287760                    SYN 287760
    SYN 287817                    SYN 287817
    SYN 287818                    SYN 287818
    SYN 287820                    SYN 287820
    SYN 289305                    SYN 289315                  United Turf Alliance ArmorTech Zoxy 2 SC EPA label
    SYN 289316                    SYN 289321                  Albaugh ArmorTech Zoxy-T EPA label
    SYN 289322                    SYN 289333                  Liberty Crop Protection Liberty 3 Way EPA label
    SYN 289334                    SYN 289369                  Innvictis Crop Care Trevo EPA label
    SYN 289375                    SYN 289394                  Innvictis Crop Care Trevo Prop EPA label
    SYN 289395                    SYN 289431                  Syngenta Callisto EPA Label
    SYN 289432                    SYN 289459                  Syngenta Zemax EPA Label
    SYN 289460                    SYN 289524                  EPA Approval of Azoxy 2SC Label Amendment, dated February 8, 2016
    SYN 289525                    SYN 289529                  Product Label for #: 74054-7
    SYN 289530                    SYN 289586                  Product Label for #: 42750-261
    SYN 289587                    SYN 289592                  Product Label for #: 42750-262
    SYN 289593                    SYN 289611                  Product Label for #: 42750-284
    SYN 289612                    SYN 289636                  Product Label for #: 42750-285
    SYN 289637                    SYN 289672                  Product Label for #: 42750-289
    SYN 289673                    SYN 289707                  Product Label for #: 42750-290
    SYN 289708                    SYN 289721                  Product Label for #: 42750-291
    SYN 289722                    SYN 289734                  Product Label for #: 42750-292
    SYN 289735                    SYN 289740                  Product Label for #: 42750-297
    SYN 289741                    SYN 289747                  Product Label for #: 264-770
    SYN 289748                    SYN 289897                  Jackson, Daniel L. and Kedrowski, Kathleen M. “Calculating Intellectual Property Infringement Damages,” AICPA, 2013
    SYN 289898                    SYN 289972                  Pollack, Richard A., Scott M. Bouchner, Craig M. Enos, Colin A. Johns and John D. Moyl “Calculating Lost Profits” AICPA, 2006
    SYN 289973                    SYN 289994                  Product Label for #: 279-3442
    SYN 289995                    SYN 290001                  Product Label for #: 4787-65



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IV. Documents Produced by Syngenta Crop Protection, LLC (Continued)

    Beginning Bates               Ending Bates                Document Description
    SYN 290002                    SYN 290062                  Product Label for #: 67760-124
    SYN 290063                    SYN 290097                  Product Label for #: 67760-130
    SYN 290098                    SYN 290102                  Product Label for #: 81964-5
    SYN 290103                    SYN 290133                  Product Label for #: 53883-343
    SYN 290134                    SYN 290146                  Product Label for #: 53883-358
    SYN 290147                    SYN 290155                  Rogers, Everett M. Diffusion of Innovations, 5th Edition, 2003
    SYN 290156                    SYN 290168                  Product Label for #: 352-840
    SYN 290169                    SYN 290185                  Product Label for #: 10163-332
    SYN 290186                    SYN 290190                  Product Label for #: 89966-2
    SYN 290191                    SYN 290199                  Product Label for #: 71532-34
    SYN 290200                    SYN 290270                  Product Label for #: 71532-35
    SYN 290271                    SYN 290289                  Product Label for #: 34704-934
    SYN 290290                    SYN 290340                  Product Label for #: 34704-1068
    SYN 290341                    SYN 290366                  Product Label for #: 66222-250
    SYN 290367                    SYN 290372                  Product Label for #: 35935-101
    SYN 290373                    SYN 290423                  Product Label for #: 228-720
    SYN 290424                    SYN 290494                  Product Label for #: 228-721
    SYN 290495                    SYN 290529                  Product Label for #: 228-722
    SYN 290530                    SYN 290555                  Product Label for #: 228-724
    SYN 290556                    SYN 290572                  Product Label for #: 55146-147
    SYN 290573                    SYN 290578                  Product Label for #: 55146-149
    SYN 290579                    SYN 290584                  Product Label for #: 55146-150
    SYN 290585                    SYN 290614                  Product Label for #: 83529-49
    SYN 290615                    SYN 290634                  Product Label for #: 60063-57
    SYN 290651                    SYN 290655                  Product Label for #: 100-1140
    SYN 290656                    SYN 290695                  Product Label for #: 100-1161
    SYN 290696                    SYN 290748                  Product Label for #: 100-1324
    SYN 290749                    SYN 290790                  Product Label for #: 100-1466
    SYN 290791                    SYN 290829                  Product Label for #: 100-1480
    SYN 290830                    SYN 290873                  Product Label for #: 100-1098
    SYN 290874                    SYN 290895                  Product Label for #: 100-1178
    SYN 290896                    SYN 290935                  Product Label for #: 100-1471
    SYN 290936                    SYN 290992                  Product Label for #: 33270-32
    SYN 290993                    SYN 291060                  Product Label for #: 89118-3
    SYN 291126                    SYN 291184                  Product Label for #: 87290-44
    SYN 291185                    SYN 291217                  Product Label for #: 87290-56
    SYN 291255                    SYN 291270                  Product Label for #: 67760-129
    SYN 291271                    SYN 291271




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Documents Considered


V. Documents Produced by Third Party

    Beginning Bates                Ending Bates           Document Description
    ALB 000001                     ALB 0000005
    CPS000001                      CPS000001
    FMC00000001                    FMC0000710
    FMC00000713                    FMC00000715
    GOW-000001                     GOW-000004
    LARIAT00003444                 LARIAT00003445
    LARIAT00004282                 LARIAT00004285
    LARIAT00004341                 LARIAT00004343
    LARIAT00011266                 LARIAT00011269
    LARIAT0001160                  LARIAT0001161
    LARIAT00012925                 LARIAT00012925
    LARIAT00013138                 LARIAT00013138
    LARIAT00013374                 LARIAT00013374
    LPI000001                      LPI000001
    PINN 0001                      PINN 0663
    REI00000001                    REI00000122
    TPS00000005                    TPS00000005
    TPS00000820                    TPS00000821
    TPS00001332                    TPS00001332
    TPS00001550                    TPS00001581
    USI00000294                    USI00000360
    WIN 000001                     WIN 000011
    WIN 000012                     WIN 000012


VI. Other Information Considered

    Beginning Bates                Ending Bates           Document Description
    -                              -                      U.S. Copyright Registration TX0007992684 (http://www.copyright.gov/records/)
    -                              -                      U.S. Copyright Registration TX0007994113 (http://www.copyright.gov/records/)
    -                              -                      U.S Trademark Serial Number 85373576 (http://www.uspto.gov/trademarks-application-process/search-trademark-database)
    -                              -                      U.S. Patent No. 8,124,761B2 (http://www.uspto.gov/patents-application-process/search-patents)
    -                              -                      U.S. Patent No. 5,847,138 (http://www.uspto.gov/patents-application-process/search-patents)
    -                              -                      U.S. Patent No. 5,602,076 (http://www.uspto.gov/patents-application-process/search-patents)
    -                              -                      U.S. Patent No. 5,633,256 (http://www.uspto.gov/patents-application-process/search-patents)
    -                              -                      Syngenta AG Form 20-F, dated February 11, 2016 (http://www4.syngenta.com/~/media/Files/S/Syngenta/media-releases/2015-form-20-f.pdf)
    -                              -                      Adama Agricultural Solutions Ltd, Periodic Report for the Year 2015 (http://www.adama.com/en/Images/2015_annual_report_english_tcm15-81671.pdf)
    -                              -                      NuFarm Annual Report 2015 (http://www.nufarm.com/Assets/31936/1/NufarmAR2015.pdf)
    -                              -                      http://www.syngentacropprotection.com
    -                              -                      http://www.syngenta-us.com/labels/quilt



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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                     Exhibit 1
Documents Considered


VI. Other Information Considered (Continued)

    Beginning Bates               Ending Bates            Document Description
    -                             -                       http://www.syngenta-us.com/labels/quadris
    -                             -                       http://www.syngenta-us.com/labels/abound-flowable
    -                             -                       http://www.syngenta-us.com/labels/trivapro
    -                             -                       http://www.syngenta-us.com/crops
    -                             -                       http://www.syngentaprofessionalproducts.com/ppmain.aspx
    -                             -                       http://www4.syngenta.com/investors/investors-faq
    -                             -                       http://www.syngentacropprotection.com/quilt-xcel-fungicide?tab=details
    -                             -                       http://www.syngentacropprotection.com/quadris-fungicide?tab=details
    -                             -                       http://www.syngenta-us.com/labels/zemax
    -                             -                       http://www.syngenta-us.com/labels/callisto
    -                             -                       http://www.syngentacropprotection.com/trivapro-fungicide
    -                             -                       http://www.syngentacropprotection.com/elatus?tab=details-(solatenol-fungicide-+-azo)-fungicide
    -                             -                       http://www.willowoodusa.com/products/fungicides/azoxy-2sc/
    -                             -                       http://www.willowoodusa.com/products/fungicides/azoxyprop-xtra/
    -                             -                       http://www.nordersupply.com/images/e0187101/about.htm
    -                             -                       http://www.lgls.com/chemistry/prod/product_view.jsp?ke_gubun=EN&group_code=10&mcategory_seq=18
    -                             -                       http://www.helenachemical.com/about-us/
    -                             -                       http://lanxess.us/en/lanxess-in-the-usa/
    -                             -                       http://www.tide-china.com/en/About.aspx?id=1
    -                             -                       http://www.controlsolutionsinc.com/
    -                             -                       http://www.agprofessional.com/news/Cheminova-launches-Azaka-and-Equation-fungicides-for-US--259126991.html
    -                             -                       http://www.gfagrochem.com/aboutus-e.html
    -                             -                       http://www.shardausa.com/about
    -                             -                       http://www.lgls.com/about/company/business/chemistry.jsp
    -                             -                       http://www.nufarm.com/US/AboutUs
    -                             -                       http://albaughllc.com/company/
    -                             -                       http://www.fmccrop.com/grower/Products/Fungicides.aspx
    -                             -                       http://www.mfa-inc.com/AboutUs.aspx
    -                             -                       http://ag.wilburellis.com/Products/Pages/Home.aspx
    -                             -                       http://vivecrop.com/products/
    -                             -                       http://vivecrop.com/products/
    -                             -                       http://www.agribusinessglobal.com/uncategorized/product-profile-mesotrione/
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=2732461
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=117472488
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=118748243
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=4583604
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=41315534.
    -                             -                       http://www.bloomberg.com/profiles/companies/0132004D:US-gowan-co-llc
    -                             -                       http://www.bloomberg.com/news/articles/2014-09-08/fmc-to-buy-cheminova-for-1-8-billion-as-ceo-modifies-strategy
    -                             -                       http://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=4321020



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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                    Exhibit 1
Documents Considered


VI. Other Information Considered (Continued)

    Beginning Bates               Ending Bates            Document Description
    -                             -                       http://www.agribusinessglobal.com/agrichemicals/fungicides/product-profile-azoxystrobin/
    -                             -                       http://www.prnewswire.com/news-releases/syngenta-receives-epa-registration-for-breakthrough-fungicide-solatenol-300135791.html
    -                             -                       http://www.pinnacleagholdings.com/company/about
    -                             -                       http://phx.corporate-ir.net/phoenix.zhtml?c=117919&p=irol-homeProfile&t=&id=&
    -                             -                       http://news.agropages.com/News/NewsDetail---7112.htm
    -                             -                       http://www.prnewswire.com/news-releases/makhteshim-agan-to-re-brand-global-business-as-adama-242342531.html
    -                             -                       https://www.nass.usda.gov/Charts_and_Maps/graphics/data/pricecn.txt
    -                             -                       https://www.nass.usda.gov/Charts_and_Maps/graphics/data/pricesb.txt
    -                             -                       https://www.nass.usda.gov/Charts_and_Maps/graphics/data/pricewh.txt
    -                             -                       http://www.ers.usda.gov/data-products/farm-income-and-wealth-statistics/net-cash-income.aspx
    -                             -                       http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf
    -                             -                       http://npirspublic.ceris.purdue.edu/ppis/Default.aspx
    -                             -                       https://iaspub.epa.gov/apex/pesticides/f?p=PPLS:1
    -                             -                       http://researchinformation.Co.Uk/Pest/2001/B106300F.Pdf
    -                             -                       http://www.dupont.com/content/dam/assets/industries/agriculture/assets/cp_PSD-95_K-27702-1.pdf
    -                             -                       https://www.pwc.com/gx/en/international-transfer-pricing/assets/itp-2013-final.pdf
                                                          EPA’s response re: Petition for Extension of the Exclusive Use Data Protection Period for Mesotrione (EPA Reg. No. 100-1140) to June 4, 2014
    -                             -
                                                          (www.epa.gov/sites/production/files/2014-04/documents/mesotrione-response.pdf)
    -                             -                       http://www.copyright.gov/title17/92chap5.html#504
    -                             -                       https://www.dmreztrak.com/default.aspx
                                                          Georgia-Pacific Corp. v. United States Plywood Corp., 318 F.Supp 1116 (S.D.N.Y. 1970), modified, 446 F.2d 295 (Second Cir. 1970), cert. denied, 505
    -                             -
                                                          U.S. 870 (1971)
    -                             -                       Lucent Techs., Inc. v. Gateway Inc., 580 F.3d 1301 (Fed. Cir. 2009)
    -                             -                       Panduit Corp. v. Stahlin Bros. Fibre Works, Inc.. 575 F.2d 1152, 1164 n.11 (6th Cir. 1978)
    -                             -                       State Industries, Inc. v. Mor-flo Industries, Inc. and American Appliance Mfg. Corp., 883 F.2d 1573 (Fed. Cir. 1989)
    -                             -                       35 U.S.C. §284
    -                             -                       40 C.F.R. §152.130(c)
    -                             -                       Existing Stocks Policy, 56 Fed. Reg. 29362




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                            Benjamin S. Wilner, Ph.D.
                            Managing Director – Disputes and Investigations
                            bwilner@alvarezandmarsal.com

540 West Madison St.        Dr. Benjamin Wilner has more than twenty years of advisory, valuation, and
Suite 1800
Chicago, IL 60661
                            general economic & financial services experience as a consultant, academic
Tel: (312) 470-8450         & testifier. He is a Ph.D. economist and statistician who regularly serves as a
                            consultant and testifying expert witness on financial damages, economic &
Education                   statistical issues.
Kellogg Graduate School
of Management,
Northwestern University     Dr. Wilner’s disputes experience encompasses many industries and a broad
Ph.D.                       range of single plaintiff, class action and criminal disputes including antitrust
Managerial Economics        liability & damages, business interruption, business valuations, economic
and Decision Science
                            analyses, intellectual property, labor, lost income, product liability, statistical
University of               data analyses, and other corporate and litigation related matters.
Pennsylvania
BA magna cum laude          In his consulting practice, Dr. Wilner advises corporations and governments
with distinction in major
Economics &
                            on economic and statistical issues. For example, in addition to redesigning
Mathematics                 statistical aspects of an automobile manufacturer’s warranty process, Dr.
                            Wilner received a special commendation from the Commissioner of US
London School of            Customs & Border Protection for building an economic model to restructure a
Economics
General Course Degree
                            $2.5 billion tariff, which has won praise by a Cabinet member, Congressional
Mathematics & Statistics    officials, and the industry.

                            Prior to joining Alvarez & Marsal, Dr. Wilner worked at other multinational
                            consulting firms. He also has been a professor in the business schools at the
                            University of Michigan, University of Iowa, Northwestern University, and the
                            Helsinki School of Economics. Dr. Wilner was a research assistant for a
                            Nobel Prize–winning economist and studied under two other Nobel Laureates.
                            His work has been published in leading academic journals, textbooks and the
                            popular press as well as regularly cited in the academic and popular press.
                            Dr. Wilner won several awards for teaching and research including a grant
                            from the National Science Foundation.




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         Testimony before a Trier of Fact
          Trial Testimony in The People of the State of Illinois v. Ronald A. Pieri,
            State of Illinois, Circuit Court of Lake County, October 2015
          Trial Testimony in Sleepy’s LLC, v. Select Comfort Wholesale
            Corporation, et al., United States District Court, Eastern District of New
            York, May – June 2012 & July 2015
          Trial Testimony in Grater, Inc., and James T. Zavacki v. Kevin T. Keating
            and Keating & Shure, Ltd., State of Illinois, Circuit Court of Cook County,
            March 2015
          Trial Testimony in Think Tank Software Development Corporation et al. v.
            Chester Inc., et al., State of Indiana, County of Porter, March 2014
          Trial Testimony in Sharon P. Clark, Commissioner of the Kentucky
            Department of Insurance, in her Capacity as Rehabilitator of AIK Comp v.
            TransAmerica Insurance Company and TIG Insurance Company,
            Commonwealth of Kentucky, Franklin Circuit Court, Division Two, October
            2012
          Trial Testimony in Mario Vara v. Integra Properties, Inc., Abe Polatsek,
            S&M Corporation and Michael Strick, State of Illinois, Circuit Court of
            Cook County, July 2011
          Trial Testimony in Indeck Power Equipment Company v. Professional
            Power Products, et al., State of Illinois, Circuit Court of Cook County, April
            2010
          Trial Testimony in Saint-Gobain Autover USA, Inc., et al. v. Xinyi Glass
            North America, Inc., et al., United States District Court, Northern District of
            Ohio, Eastern Division, November 2009
          Trial Testimony in NSM Music Group, Ltd. and NSM Music, Inc. v.
            Synergy Law Group and Arthur E. Mertes, State of Illinois, Circuit Court of
            Cook County, June 2009
          Arbitration Testimony in Global Link Logistics, Inc., GLL Holdings, Inc.,
            and Golden Gate Logistics, Inc., v. Olympus Growth Fund III, L.P., et al.,
            American Arbitration Association, October 2008
          Arbitration Testimony in Sarah Sanford v. Society of Actuaries & Bruce
            Schobel, American Arbitration Association, August 2008
          Hearing Testimony in Chinitz v. Chinitz, State of Michigan, Circuit Court
            for the County of Oakland, May 2008
          Arbitration Testimony in BP Products North America, Inc. v. Laidlaw
            Educational Services, JAMS Arbitration, October 2007




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         Deposition Testimony
          In re: Hardieplank Fiber Cement Siding Litigation, United States District
            Court, District of Georgia, February 2016
          In re: Atlas Roofing Corporation Chalet Shingle Products Liability
            Litigation, United States District Court, Northern District of Georgia,
            December 2015
          Churchill Downs Incorporated v. Illinois Department of Revenue, Brian
            Hamer, as Director of The Illinois Department of Revenue, and Dan
            Rutherford as Treasurer of the State of Illinois, State of Illinois, Circuit
            Court of Cook County, August 2014
          Victor Tracy, Power of Attorney for Anne Tracy and Victor Tracy,
            Individually v. Robert K. Erickson, M.D., Lake County Neurosurgery, LLC,
            Advocate Condell Medical Center, State of Illinois, Circuit Court of Cook
            County, July 2014
          Marylee Arrigo v. Link Stop, Inc., et al., United States District Court,
            Western District of Wisconsin, October 2013
          Andrew C. Dillon v. Transportation Solutions Group, LLC, Freight
            Exchange of North America, LLC, 3PLogic, LLC, Transportation Solutions
            Enterprises, LLC and Todd Berger, United States District Court, Northern
            District of Illinois, Eastern Division, September 2013
          Grater, Inc., and James T. Zavacki v. Kevin T. Keating and Keating &
            Shure, Ltd., State of Illinois, Circuit Court of Cook County, September
            2013
          Think Tank Software Development Corporation et al. v. Chester Inc., et
            al., State of Indiana, County of Porter, February 2012 & October 2009
          Continental Datalabel, Inc. v. Avery Dennison Corporation, United States
            District Court, Northern District of Illinois, Eastern Division, December
            2011
          Ross v. Ross, Circuit Court of the Nineteenth Judicial Circuit, Waukegan,
            Lake County, Illinois, September 2011
          In re: IKO Roofing Shingle Products Liability Litigation, United States
            District Court, Central District of Illinois, Urbana Division, August 2011
          Jessica Ellen Legens, et al. v. Mark Alan Ikerman and Manheim Services
            Corporation, d/b/a Manheim Gateway St. Louis, et al., State of Illinois,
            Circuit Court of Madison County, November 2010
          Ronald Seymour v. Wausau Signature Agency, et al., United States
            District Court, Northern District of Illinois, Eastern Division, May 2010
          Neil Simon and Clarissa Simon v. Heritage Title Company, State of Illinois,
            Circuit Court of Cook County, December 2009




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             Mario Vara v. Integra Properties, Inc., Abe Polatsek, S&M Corporation and
              Michael Strick, State of Illinois, Circuit Court of Cook County, December
              2009
             Saint-Gobain Autover USA, Inc., et al. v. Xinyi Glass North America, Inc.,
              et al., United States District Court, Northern District of Ohio, Eastern
              Division, October 2009
             Sleepy’s LLC, v. Select Comfort Wholesale Corporation, et al., United
              States District Court, Eastern District of New York, July 2009
             Indeck Power Equipment Company v. Professional Power Products, et al.,
              State of Illinois, Circuit Court of Cook County, September 2008
             NSM Music Group, Ltd. and NSM Music, Inc. v. Synergy Law Group and
              Arthur E. Mertes, State of Illinois, Circuit Court of Cook County, May 2008
             Maria Belbis, et al. v. County of Cook, United States District Court,
              Northern District of Illinois, Eastern Division, January 2008
             Bucyrus International, Inc. v. Price Erecting Company and Kentucky
              Rebuild Corp., State of Wisconsin, Circuit Court of Milwaukee County,
              October 2007
             Mark A. Sindecuse, M.D. v. Dean M. Katsaros, Katsaros & Associates,
              and CIB Marine Bancshares, Inc., United States District Court, Eastern
              District of Missouri, Eastern Division, June 2007
             Quentin Bullock et al., v. Michael Sheahan and Cook County, United
              States District Court, Northern District of Illinois, Eastern Division,
              September 2006


         Publications
          “The U.S. Federal Crop Insurance Program in 2012 and Beyond,” (with
            Frank Schnapp) Trébol, July 2013
          “Profitability & Effectiveness of the Federal Crop Insurance Program,”
            (with Laura Carolan & Frank Schnapp), Crop Insurance Today, 44(2), pp.
            28 – 32, May 2011
          “Economic and Accounting Analyses in Post-Acquisition Disputes,” (with
            Allen Burt and Matthew Paye) The SRR Journal, Spring 2010
          “Statistical Analyses Relation to Reductions In Force,” The SRR Journal,
            Spring 2009
          “Antitrust Analyses in Horizontal Mergers,” (with Thomas R. Jackson) The
            SRR Journal, Fall 2007
          “Options Backdating: The Latest Corporate Imbroglio,” (with Idris Raja)
            The SRR Journal, Spring 2007 (reprinted on mondaq.com)




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             “Multi-Unit Auctions: A Comparison of Static and Dynamic Mechanisms”
              (with Alejandro Manelli and Martin Sefton), Journal of Economic Behavior
              and Organization, 61(2), pp. 304 – 323, October 2006
             “The Exploitation of Relationships in Financial Distress: The Case of
              Trade Credit,” Journal of Finance, February 2000
             “Everything you always wanted to know about discounting, but were afraid
              to ask: A Finance 101 Primer,” Credit and Financial Management Review,
              Summer 1999
             “Paying Your Bills: The Effect of Corporate Quality” September 1996
             Refereed for the American Economic Review, American Real Estate
              Society, Journal of Finance, the Journal of Business, Finance and
              Accounting, and John Wiley Publishers


         Professional Memberships
          American Bar Association (Associate Status)
          American Statistical Association
          Credit Research Foundation (Research Fellow)
          National Association of Forensic Economists


         Awards
          National Science Foundation Grant, 1998
          Old Gold Research Fellowship, University of Iowa, Summer 1997
          Outstanding Professor, University of Iowa Panhellenic Council, Fall 1996
          Doctoral Teaching Award, Kellogg Graduate School of Management, 1994




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                         Exhibit 3
Syngenta's Azoxystrobin Brands by Year




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                 Exhibit 4
U.S. AG Fungicide Market Share, Excluding Seed Care




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                              Exhibit 5
Willowood's Monthly Sales Data Summary

                                                                                                                    Azoxystrobin
    Month                                                   Line           Azoxy 2SC 1    AzoxyProp Xtra 1           Technical 2        Tebustrobin SC 3       Total by Month

    Jul-14                                                    1     $        1,584,080 $                -    $               -      $               -      $       1,584,080
    Aug-14                                                    2                262,488                  -                    -                      -                262,488
    Sep-14                                                    3                 74,772                  -                    -                      -                 74,772
    Oct-14                                                    4                 32,000                  -                    -                      -                 32,000
    Nov-14                                                    5                 28,800                  -                    -                      -                 28,800
    Dec-14                                                    6              2,438,224            2,508,680                  -                      -              4,946,904
    Jan-15                                                    7                 49,000                  -                    -                      -                 49,000
    Feb-15                                                    8                370,440               39,600                  -                      -                410,040
    Mar-15                                                    9                441,212              517,550                  -                      -                958,762
    Apr-15                                                   10                236,204               32,400              405,000                    -                673,604
    May-15                                                   11                293,634            1,241,140                  -                      -              1,534,774
    Jun-15                                                   12               (278,530)            (783,220)                 -                      -             (1,061,750)
    Jul-15                                                   13              1,493,100              934,110                  -                      -              2,427,210
    Aug-15                                                   14                208,515                  -                    -                      -                208,515
    Sep-15                                                   15                 97,070                  -                    -                      -                 97,070
    Oct-15                                                   16                 16,800                  -                    -                      -                 16,800
    Nov-15                                                   17                 65,400                  -                    -                      -                 65,400
    Dec-15                                                   18                493,020            1,043,100            1,237,500                    -              2,773,620
    Jan-16                                                   19                129,840               84,600                  -                      -                214,440
    Feb-16                                                   20                 90,820              806,810                  -                      -                897,630
    Mar-16                                                   21              1,594,057              613,615                  -                      -              2,207,672
    Apr-16                                                   22              1,043,175            3,502,155                  -                      -              4,545,330
    May-16                                                   23                456,725              432,810                  -                      -                889,535
    Jun-16 (6/1 - 6/13 for Azoxy 2SC & AzoxyProp Xtra)       24                 46,640              494,440                  -                      -                541,080
    Jul-16 (7/18 & 7/20 for Tebustrobin SC)                  25                     n/a                  n/a                  n/a                34,560               34,560
    Total                                                    26     $       11,267,486 $         11,467,790 $          1,642,500    $            34,560    $      24,412,336

    Subtotals
    2014 (7/12/14 - 12/31/14)                                27     $        4,420,364   $        2,508,680   $              -      $               -      $       6,929,044
    2015                                                     28              3,485,865            3,024,680            1,642,500                    -              8,153,045
    2016 (1/1/16 - 7/20/16)                                  29              3,361,257            5,934,430                  -                   34,560            9,330,247

    2016 Annualized                                          30     $        7,455,879   $       13,163,645   $               -     $            34,560    $      20,654,084

Notes:
(1) Per Willowood Sales Data (WW000057-60, WW000126-33, WW0026277-79, WW0026280-82 and Defendants' Answers and Objections to Plaintiff's Fourth Set of
    Interrogatories, dated July 14, 2016). The 2016 sales for Azoxy 2SC and AzoxyProp Xtra were annualized in line 30 by multiplying the daily average of sales from January
    1 through June 13, 2016 and multiplying by the 366 days in 2016.
(2) Per two Willowood USA, LLC sales invoices for Azoxystrobin Technical to Innvictis Crop Care, LLC (WW026687-88). Amounts were not included in the Willowood Sales
    Data for sales of Azoxy 2SC and AzoxyProp Xtra.
(3) Per two Willowood USA, LLC sales invoices in July 2016 for Tebustrobin SC to AgXplore II (WW026690-91). Amounts were not included in the Willowood Sales Data
    for sales of Azoxy 2SC and AzoxyProp Xtra. In addition, the 2016 sales of Tebustrobin 2SC were not annualized in line 30 beyond the actual supporting documentation
    received of sales due to limited history.


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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                    Exhibit 6
Summary of Syngenta's AZ Products-at-Issue Actual Net Sales and Gross Profits
Amounts in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                   Exhibit 7
Summary of Syngenta's AZ Products-at-Issue Budgeted Net Sales and Gross Profits
Amounts in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                                                                                          Exhibit 8



                                                        U.S. Price by Crop v. Farm Income for 2012 - 2016 1,2
              $18
                                                                                                                                                                                                                                                      $225,000

              $16
                                                                                                                                                                                                                                                      $200,000

              $14
                                                                                                                                                                                                                                                      $175,000

              $12
                                                                                                                                                                                                                                                      $150,000


              $10




                                                                                                                                                                                                                                                                 In Millions
   Price/Bu




                                                                                                                                                                                                                                                      $125,000


               $8
                                                                                                                                                                                                                                                      $100,000


               $6
                                                                                                                                                                                                                                                      $75,000


               $4                                                                                                                                                                                                                                     $50,000


               $2                                                                                                                                                                                                                                     $25,000



               $-                                                                                                                                                                                                                                     $-
                    Q1 - 2012


                                Q2 - 2012


                                            Q3 - 2012


                                                         Q4 - 2012


                                                                     Q1 - 2013


                                                                                    Q2 - 2013


                                                                                                Q3 - 2013


                                                                                                            Q4 - 2013


                                                                                                                        Q1 - 2014


                                                                                                                                    Q2 - 2014


                                                                                                                                                Q3 - 2014


                                                                                                                                                                Q4 - 2014


                                                                                                                                                                            Q1 - 2015


                                                                                                                                                                                        Q2 - 2015


                                                                                                                                                                                                    Q3 - 2015


                                                                                                                                                                                                                Q4 - 2015


                                                                                                                                                                                                                              Q1 - 2016


                                                                                                                                                                                                                                          Q2 - 2016
                                                                                 Corn Price                     Soybeans Price                              Wheat Price                     Farm Income


Notes:
(1) Per http://www.nass.usda.gov and http://www.ers.usda.gov/data-products/farm-income-and-wealth-statistics/net-cash-income.aspx.
(2) Farm Income is forecasted for 2015 and 2016.




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                              Exhibit 9.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '076 and '256 Patents
$ in thousands

                                                            Lost Profits of AZ Products-at-Issue
                                  Line      Source                                               Formula                                             Amount
   2014                            1        Exh. 9.b - Line 4                                       [a]                                   $           20,020
   2015                            2        Exh. 9.b - Line 8                                       [b]                                               24,920
   2016                            3        Exh. 9.b - Line 12                                      [c]                                               15,449
   2017                            4        Exh. 9.b - Line 16                                      [d]                                               15,275
   Total                           5                                                    [e] = [a] + [b] + [c] + [d]                       $           75,663


                                                      Cumulative Lost Profits of AZ Products-at-Issue
                                  Line       Source                                             Formula                                              Amount
   2014                            6                                                             [f] = [a]                                $           20,020
   2015                            7                                                         [g] = [a] + [b]                                          44,940
   2016                            8                                                      [h] = [a] + [b] + [c]                                       60,388
   2017                            9                                                   [i] = [a] + [b] + [c] + [d]                        $           75,663


                                    Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                  Line     Source                                              Formula                                               Amount
   2014                            10      See Note 1 & 2                           [j] = [a] + ([a] * 8.0% * 3.0)                        $           24,825
   2015                            11      See Note 1 & 2                           [k] = [b] + ([b] * 8.0% * 2.0)                                    28,907
   2016                            12      See Note 1 & 2                           [l] = [c] + ([c] * 8.0% * 1.0)                                    16,684
   2017                            13      See Note 1 & 2                                      [m] = [d]                                              15,275
   Total                           14                                                 [n] = [j] + [k] + [l] + [m]                         $           85,691


                              Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                Line      Source                                              Formula                                                Amount
   2014                          15                                                            [o] = [j]                                  $           24,825
   2015                          16                                                        [p] = [j] + [k]                                            53,732
   2016                          17                                                      [q] = [j] + [k] + [l]                                        70,416
   2017                          18                                                  [r] = [j] + [k] + [l] + [m]                          $           85,691

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0%
    simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Lost Profits of AZ
    Products-at-Issue with Prejudgment Interest for 2014 through 2017 would equal $25,625, $29,904, $17,302, and $15,886, respectively.




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                             Exhibit 9.b
Syngenta's "But For" Lost Profits for 2014 - 2017, Net of Incremental Expenses
Assuming Infringement of the '076 and '256 Patents
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                             Exhibit 9.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2017
Assuming Infringement of the '076 and '256 Patents
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                          Exhibit 9.d
Mesotrione Benchmark Budget vs. Actual Analysis
Assuming Infringement of the '076 and '256 Patents
$ in thousands




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                                 Case 1:15-cv-00274-CCE-JEP   Document 148-1   Filed 04/10/17   Page 69 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                        Exhibit 9.e
AZ Products-at-Issue: "But For" vs. Actual Incremental Profits 1, 2
Assuming Infringement of the '076 and '256 Patents
$ in thousands




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                              Case 1:15-cv-00274-CCE-JEP    Document 148-1   Filed 04/10/17   Page 70 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                          Exhibit 10.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '076 and '256 Patents - Excludes Losses Potentially due to Cheminova
$ in thousands

                                                                                                                                           Losses due to
                                                                                                                                        Willowood's Actions
                                                             Lost Profits of AZ Products-at-Issue
                                 Line      Source                                              Formula                                                Amount
   2014                           1        Exh. 10.b - Line 4                                     [a]                                  $               14,118
   2015                           2        Exh. 10.b - Line 8                                     [b]                                                  13,841
   2016                           3        Exh. 10.b - Line 12                                    [c]                                                   3,715
   2017                           4        Exh. 10.b - Line 16                                    [d]                                                   2,761
   Total                          5                                                   [e] = [a] + [b] + [c] + [d]                      $               34,435


                                                       Cumulative Lost Profits of AZ Products-at-Issue
                                 Line       Source                                             Formula                                                Amount
   2014                           6                                                             [f] = [a]                              $               14,118
   2015                           7                                                         [g] = [a] + [b]                                            27,959
   2016                           8                                                      [h] = [a] + [b] + [c]                                         31,674
   2017                           9                                                   [i] = [a] + [b] + [c] + [d]                      $               34,435


                                     Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                 Line      Source                                              Formula                                                Amount
   2014                           10      See Note 1 & 2                            [j] = [a] + ([a] * 8.0% * 3.0)                     $               17,506
   2015                           11      See Note 1 & 2                           [k] = [b] + ([b] * 8.0% * 2.0)                                      16,056
   2016                           12      See Note 1 & 2                           [l] = [c] + ([c] * 8.0% * 1.0)                                       4,012
   2017                           13      See Note 1 & 2                                       [m] = [d]                                                2,761
   Total                          14                                                  [n] = [j] + [k] + [l] + [m]                      $               40,335


                               Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                Line      Source                                              Formula                                                 Amount
   2014                          15                                                           [o] = [j]                                $               17,506
   2015                          16                                                        [p] = [j] + [k]                                             33,562
   2016                          17                                                     [q] = [j] + [k] + [l]                                          37,574
   2017                          18                                                 [r] = [j] + [k] + [l] + [m]                        $               40,335

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0%
    simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Lost Profits of AZ Products-
    at-Issue with Prejudgment Interest for 2014 through 2017 would equal $18,071, $16,610, $4,160, and $2,872, respectively.

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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                         Exhibit 10.b
Syngenta's "But For" Lost Profits for 2014 - 2017, Net of Incremental Expenses
Assuming Infringement of the '076 and '256 Patents - Excludes Losses Potentially due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                Exhibit 10.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2017
Assuming Infringement of the '076 and '256 Patents - Excludes Losses Potentially due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                     Exhibit 11.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '138 Patent
$ in thousands

                                                            Lost Profits of AZ Products-at-Issue
                                 Line      Source                                                Formula                                            Amount
   2014                           1        Exh. 11.b - Line 4                                       [a]                                   $          33,206
   2015                           2        Exh. 11.b - Line 8                                       [b]                                              55,802
   2016                           3        Exh. 11.b - Line 12                                      [c]                                              36,010
   2017                           4        Exh. 11.b - Line 16                                      [d]                                              10,504
   Total                          5                                                     [e] = [a] + [b] + [c] + [d]                       $         135,522


                                                      Cumulative Lost Profits of AZ Products-at-Issue
                                 Line       Source                                               Formula                                            Amount
   2014                           6                                                               [f] = [a]                               $          33,206
   2015                           7                                                           [g] = [a] + [b]                                        89,007
   2016                           8                                                        [h] = [a] + [b] + [c]                                    125,018
   2017                           9                                                     [i] = [a] + [b] + [c] + [d]                       $         135,522


                                   Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                 Line     Source                                                Formula                                             Amount
   2014                           10     See Note 1 & 2                              [j] = [a] + ([a] * 8.0% * 3.0)                       $          41,175
   2015                           11     See Note 1 & 2                             [k] = [b] + ([b] * 8.0% * 2.0)                                   64,730
   2016                           12     See Note 1 & 2                             [l] = [c] + ([c] * 8.0% * 1.0)                                   38,891
   2017                           13     See Note 1 & 2                                         [m] = [d]                                            10,504
   Total                          14                                                   [n] = [j] + [k] + [l] + [m]                        $         155,301


                             Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                               Line      Source                                               Formula                                               Amount
   2014                         15                                                             [o] = [j]                                  $          41,175
   2015                         16                                                         [p] = [j] + [k]                                          105,905
   2016                         17                                                       [q] = [j] + [k] + [l]                                      144,796
   2017                         18                                                   [r] = [j] + [k] + [l] + [m]                          $         155,301

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0%
    simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Lost Profits of AZ Products-
    at-Issue with Prejudgment Interest for 2014 through 2017 would equal $42,504, $66,962, $40,332, and $10,925 million, respectively.
(3) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages are
    equal to the 2014 damages shown in Line 1 plus 93.7% (342 out of 365 days) of the 2015 damages shown in Line 2. For damages with prejudgment
    interest as of July 1, 2017, the cumulative damages are equal to the 2014 damages shown in Line 10 plus 93.7% (342 out of 365 days) of the 2015
    damages shown in Line 11. If the judgment date was December 31, 2017 for this scenario, the cumulative damages would be 103.2% of the 2014
    damages shown in Line 10 and 96.9% of the 2015 damages shown in Line 11.


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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                             Exhibit 11.b
Syngenta's "But For" Lost Profits for 2014 - 2017, Net of Incremental Expenses
Assuming Infringement of the '138 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                               Exhibit 11.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2017
Assuming Infringement of the '138 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                           Exhibit 11.d
Fungicide Benchmark Budget vs. Actual Analysis
Assuming Infringement of the '138 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                         Exhibit 11.e
AZ Products-at-Issue: "But For" vs. Actual Incremental Profits 1, 2
Assuming Infringement of the '138 Patent
$ in thousands




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                              Case 1:15-cv-00274-CCE-JEP     Document 148-1   Filed 04/10/17   Page 78 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                            Exhibit 12.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '138 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                                          Losses due to
                                                                                                                                       Willowood's Actions
                                                              Lost Profits of AZ Products-at-Issue
                                 Line      Source                                                Formula                                             Amount
   2014                           1        Exh. 12.b - Line 4                                       [a]                                $              23,417
   2015                           2        Exh. 12.b - Line 8                                       [b]                                               32,121
   2016                           3        Exh. 12.b - Line 12                                      [c]                                               10,883
   Total                          4                                                        [d] = [a] + [b] + [c]                       $              66,420


                                                       Cumulative Lost Profits of AZ Products-at-Issue
                                 Line      Source                                              Formula                                               Amount
   2014                           5                                                            [e] = [a]                               $              23,417
   2015                           6                                                         [f] = [a] + [b]                                           55,537
   2016                           7                                                      [g] = [a] + [b] + [c]                         $              66,420


                                     Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                 Line     Source                                               Formula                                               Amount
   2014                            8      See Note 1 & 2                            [h] = [a] + ([a] * 8.0% * 3.0)                     $              29,037
   2015                            9      See Note 1 & 2                            [i] = [b] + ([b] * 8.0% * 2.0)                                    37,260
   2016                           10      See Note 1 & 2                            [j] = [c] + ([c] * 8.0% * 1.0)                                    11,753
   Total                          11                                                      [k] = [h] + [i] + [j]                        $              78,050


                               Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                Line     Source                                              Formula                                                 Amount
   2014                          12                                                           [l] = [h]                                $              29,037
   2015                          13                                                       [m] = [h] + [i]                                             66,297
   2016                          14                                                     [n] = [h] + [i] + [j]                          $              78,050

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0%
    simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-3 would be added to its corresponding lines 8-10, and the Lost Profits of AZ Products-at-
    Issue with Prejudgment Interest for 2014 through 2016 would equal $29,973, $38,545, and $12,189, respectively.
(3) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages are equal
    to the 2014 damages shown in Line 1 plus 93.7% (342 out of 365 days) of the 2015 damages shown in Line 2. For damages with prejudgment interest as
    of July 1, 2017, the cumulative damages are equal to the 2014 damages shown in Line 8 plus 93.7% (342 out of 365 days) of the 2015 damages shown in
    Line 9. If the judgement date was December 31, 2017 for this scenario, the cumulative damages would be 103.2% of the 2014 damages shown in Line 8
    and 96.9% of the 2015 damages shown in Line 9.


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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                         Exhibit 12.b
Syngenta's "But For" Lost Profits for 2014 - 2016, Net of Incremental Expenses
Assuming Infringement of the '138 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                              Exhibit 12.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2016
Assuming Infringement of the '138 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                          Exhibit 13.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '761 Patent
$ in thousands


                                                             Lost Profits of AZ Products-at-Issue
                                  Line      Source                                                Formula                                            Amount
   2014                            1        Exh. 13.b - Line 4                                       [a]                                   $          33,206
   2015                            2        Exh. 13.b - Line 8                                       [b]                                              55,802
   2016                            3        Exh. 13.b - Line 12                                      [c]                                              94,620
   2017                            4        Exh. 13.b - Line 16                                      [d]                                              89,790
   Total                           5                                                     [e] = [a] + [b] + [c] + [d]                       $         273,418


                                                      Cumulative Lost Profits of AZ Products-at-Issue
                                  Line      Source                                              Formula                                              Amount
   2014                            6                                                             [f] = [a]                                 $          33,206
   2015                            7                                                         [g] = [a] + [b]                                          89,007
   2016                            8                                                      [h] = [a] + [b] + [c]                                      183,627
   2017                            9                                                   [i] = [a] + [b] + [c] + [d]                         $         273,418


                                    Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                  Line     Source                                               Formula                                              Amount
   2014                            10     See Note 1 & 2                             [j] = [a] + ([a] * 8.0% * 3.0)                        $          41,175
   2015                            11     See Note 1 & 2                            [k] = [b] + ([b] * 8.0% * 2.0)                                    64,730
   2016                            12     See Note 1 & 2                             [l] = [c] + ([c] * 8.0% * 1.0)                                  102,189
   2017                            13     See Note 1 & 2                                        [m] = [d]                                             89,790
   Total                           14                                                  [n] = [j] + [k] + [l] + [m]                         $         297,885


                              Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                Line      Source                                                Formula                                              Amount
   2014                          15                                                             [o] = [j]                                  $          41,175
   2015                          16                                                         [p] = [j] + [k]                                          105,905
   2016                          17                                                       [q] = [j] + [k] + [l]                                      208,095
   2017                          18                                                   [r] = [j] + [k] + [l] + [m]                          $         297,885

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate
    (8.0% simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Lost Profits of AZ
    Products-at-Issue with Prejudgment Interest for 2014 through 2017 would equal $42,504, $66,962, $105,974, and $93,382, respectively.

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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                             Exhibit 13.b
Syngenta's "But For" Lost Profits for 2014 - 2017, Net of Incremental Expenses
Assuming Infringement of the '761 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                            Exhibit 13.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2017
Assuming Infringement of the '761 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                               Exhibit 13.d
Fungicide Benchmark Budget vs. Actual Analysis
Assuming Infringement of the '761 Patent
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                           Exhibit 13.e
AZ Products-at-Issue: "But For" vs. Actual Incremental Profits 1, 2
Assuming Infringement of the '761 Patent
$ in thousands




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                              Case 1:15-cv-00274-CCE-JEP       Document 148-1   Filed 04/10/17   Page 86 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                          Exhibit 14.a
Summary of Syngenta's Lost Profit Damages
Assuming Infringement of the '761 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                                           Losses due to
                                                                                                                                        Willowood's Actions
                                                                  Lost Profits AZ Products-at-Issue
                                 Line       Source                                                  Formula                                           Amount
   2014                           1         Exh. 14.b - Line 4                                         [a]                              $              23,417
   2015                           2         Exh. 14.b - Line 8                                         [b]                                             32,121
   2016                           3         Exh. 14.b - Line 12                                        [c]                                             45,362
   2017                           4         Exh. 14.b - Line 16                                        [d]                                             29,887
   Total                          5                                                        [e] = [a] + [b] + [c] + [d]                  $             130,786


                                                        Cumulative Lost Profits of AZ Products-at-Issue
                                 Line        Source                                              Formula                                              Amount
   2014                           6                                                               [f] = [a]                             $              23,417
   2015                           7                                                           [g] = [a] + [b]                                          55,537
   2016                           8                                                        [h] = [a] + [b] + [c]                                      100,899
   2017                           9                                                     [i] = [a] + [b] + [c] + [d]                     $             130,786


                                        Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                 Line        Source                                               Formula                                             Amount
   2014                           10        See Note 1 & 2                             [j] = [a] + ([a] * 8.0% * 3.0)                   $              29,037
   2015                           11        See Note 1 & 2                             [k] = [b] + ([b] * 8.0% * 2.0)                                  37,260
   2016                           12        See Note 1 & 2                             [l] = [c] + ([c] * 8.0% * 1.0)                                  48,991
   2017                           13        See Note 1 & 2                                        [m] = [d]                                            29,887
   Total                          14                                                     [n] = [j] + [k] + [l] + [m]                    $             145,174


                                Cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest as of July 1, 2017
                                 Line     Source                                               Formula                                                Amount
   2014                           15                                                            [o] = [j]                               $              29,037
   2015                           16                                                        [p] = [j] + [k]                                            66,297
   2016                           17                                                      [q] = [j] + [k] + [l]                                       115,288
   2017                           18                                                  [r] = [j] + [k] + [l] + [m]                       $             145,174

Notes:
(1) Prejudgment Interest is computed for all historical lost profits through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0%
    simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(2) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Lost Profits of AZ Products-at-
    Issue with Prejudgment Interest for 2014 through 2017 would equal $29,973, $38,545, $50,806, and $31,082, respectively.


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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                       Exhibit 14.b
Syngenta's "But For" Lost Profits for 2014 - 2017, Net of Incremental Expenses
Assuming Infringement of the '761 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                       Exhibit 14.c
Syngenta's "But For" and Lost Gross Profits for 2014 - 2017
Assuming Infringement of the '761 Patent - Excluding Losses Potentially Due to Cheminova
$ in thousands




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                                                                                                                         Exhibit 15
Willowood's Unjust Enrichment Damages - Sales and Net Direct Income



                                                                                                                     Willowood Sales                                           Willowood Net Direct Income Percentage                                          Willowood Net Direct Income
                                                                                                       AzoxyProp      Azoxystrobin Tebustrobin    Total                              AzoxyProp Azoxystrobin Tebustrobin                                   AzoxyProp Azoxystrobin Tebustrobin    Total
    Year    Line Source                                       Formula                  Azoxy 2SC         Xtra           Technical      SC      Azoxystrobin              Azoxy 2SC      Xtra         Technical       SC                   Azoxy 2SC         Xtra        Technical        SC  Azoxystrobin

                                                                                                                                                                                            Unjust Enrichment
    2014      1   Exhibit 5 - Line 27; See Note 1                [a]                  $ 4,420,364     $ 2,508,680     $         -     $        -     $ 6,929,044           50.7%           47.3%         49.5%            49.5%          $ 2,242,780     $ 1,185,479      $        -      $       -      $ 3,428,259
    2015      2   Exhibit 5 - Line 28; See Note 1                [b]                    3,485,865       3,024,680         1,642,500            -       8,153,045           50.7%           47.3%         49.1%            49.1%            1,768,639       1,429,315           806,790            -        4,004,745
    2016      3   Exhibit 5 - Line 30; See Note 1                [c]                    7,455,879      13,163,645               -           34,560    20,654,084           55.8%           48.5%         51.1%            51.1%            4,160,554       6,383,330               -           17,672     10,561,556
    2017      4   See Notes 1, 2 & 5                             [d]                    6,272,406      11,074,177               -              -      17,346,584           55.8%           48.5%         51.1%            51.1%            3,500,149       5,370,103               -              -        8,870,252

    Total     5                                       [e] = [a] + [b] + [c] + [d]     $ 21,634,515    $ 29,771,182    $ 1,642,500     $     34,560   $ 53,082,757                                                                        $ 11,672,122    $ 14,368,227     $    806,790    $    17,672    $ 26,864,812



                                                                                                                                                                                     Cumulative Unjust Enrichment
    2014      6                                                 [f] = [a]             $ 4,420,364     $ 2,508,680     $       -       $        -     $ 6,929,044                                                                         $ 2,242,780     $ 1,185,479      $        -      $       -      $ 3,428,259
    2015      7                                             [g] = [a] + [b]              7,906,229       5,533,360      1,642,500              -       15,082,089                                                                           4,011,420       2,614,795          806,790            -         7,433,004
    2016      8                                          [h] = [a] + [b] + [c]          15,362,108      18,697,005      1,642,500           34,560     35,736,173                                                                           8,171,974       8,998,124          806,790         17,672      17,994,560
    2017      9                                       [i] = [a] + [b] + [c] + [d]     $ 21,634,515    $ 29,771,182    $ 1,642,500     $     34,560   $ 53,082,757                                                                        $ 11,672,122    $ 14,368,227     $    806,790    $    17,672    $ 26,864,812



                                                                                                                                                                    Unjust Enrichment with Prejudgment Interest as of July 1, 2017
    2014     10   See Note 3 & 4                     [j] = [a] + ([a] * 8.0% * 3.0)   $ 5,481,251     $ 3,110,763     $         -     $        -     $ 8,592,015                                                                         $ 2,781,048     $ 1,469,994      $        -      $       -      $ 4,251,042
    2015     11   See Note 3 & 4                    [k] = [b] + ([b] * 8.0% * 2.0)      4,043,604       3,508,629         1,905,300            -       9,457,533                                                                           2,051,622       1,658,006           935,876            -        4,645,504
    2016     12   See Note 3 & 4                    [l] = [c] + ([c] * 8.0% * 1.0)      8,052,349      14,216,736               -           37,325    22,306,411                                                                           4,493,398       6,893,996               -           19,086     11,406,481
    2017     13   See Note 3, 4 & 5                             [m] = [d]               6,272,406      11,074,177               -              -      17,346,584                                                                           3,500,149       5,370,103               -              -        8,870,252

    Total    14                                       [n] = [j] + [k] + [l] + [m]     $ 23,849,611    $ 31,910,306    $ 1,905,300     $     37,325   $ 57,702,541                                                                        $ 12,826,216    $ 15,392,099     $    935,876    $    19,086    $ 29,173,278



                                                                                                                                                             Cumulative Unjust Enrichment with Prejudgment Interest as of July 1, 2017
    2014     15                                                 [o] = [j]             $ 5,481,251     $ 3,110,763     $       -       $        -     $ 8,592,015                                                                  $ 2,781,048            $ 1,469,994      $        -      $       -      $ 4,251,042
    2015     16                                             [p] = [j] + [k]              9,524,855       6,619,392      1,905,300              -       18,049,547                                                                    4,832,669              3,128,000          935,876            -         8,896,545
    2016     17                                           [q] = [j] + [k] + [l]         17,577,205      20,836,128      1,905,300           37,325     40,355,958                                                                    9,326,068             10,021,996          935,876         19,086      20,303,026
    2017     18                                       [r] = [j] + [k] + [l] + [m]     $ 23,849,611    $ 31,910,306    $ 1,905,300     $     37,325   $ 57,702,541                                                                 $ 12,826,216           $ 15,392,099     $    935,876    $    19,086    $ 29,173,278


Notes:
(1) Per the Azoxystrobin 2SC and AzoxyProp Xtra profit & loss statements for the periods of 'first sale through 2015' and 'Jan 2016-May 2016' included as the Response to Interrogatory No. 21 in the Defendants' Answers and Objections to Plaintiff's Fourth Set of Interrogatories. The Net Direct Income percentage
    was calculated as the Net Direct Income divided by the gross revenue for Azoxystrobin 2SC and AzoxyProp Xtra. For Azoxystrobin 2SC and AzoxyProp Xtra, the Net Direct Income percentage for the 'first sale through end of 2015' was utilized for 2014 and 2015, and the Net Direct Income percentage for 'Jan
    2016-May 2016' was utilized as an estimate for the remainder of 2016 and 2017. For Azoxystrobin Technical and Tebustrobin SC, no product-specific profit & loss statement was provided. Therefore, I estimated the Net Direct Income percentage for Azoxystrobin Technical and Tebustrobin SC by utilizing
    the weighted average Net Direct Income percentage of Azoxystrobin 2SC and AzoxyProp Xtra for each year.
(2) Per the Willowood USA Management Presentation, Sales and Margins by Product (WW026503), the azoxystrobin sales were projected to decline by 15.9% from 2016 to 2017. Therefore, I applied that same percentage decline to the 2016 sales (line 3 above) to estimate the product sales for 2017. However, I
    conservatively did not project any 2017 sales for Tebustrobin SC due to limited sales history.
(3) Prejudgment Interest was computed through July 1, 2017 utilizing North Carolina's statutory prejudgment interest rate (8.0% simple interest; mid-year convention) (http://www.ncleg.net/EnactedLegislation/Statutes/PDF/ByChapter/Chapter_24.pdf).
(4) If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Unjust Enrichment with Prejudgment Interest of Total Willowood Azoxystrobin Sales for 2014 through 2017 would equal $8,869,176, $9,783,654, $23,132,574, and $18,040,447,
    respectively.
    If the judgment date was December 31, 2017, 4% of each line 1-4 would be added to its corresponding lines 10-13, and the Unjust Enrichment with Prejudgment Interest of Total Willowood Azoxystrobin Net Direct Income for 2014 through 2017 would equal $4,388,172, $4,805,693, $11,828,943, and
    $9,225,062, respectively.
(5) Alternatively, if the Finder of Fact determines infringement ceased 18 months after the EPA approved the Defendants' revised labels, the Defendants' cumulative Azoxy 2SC unjust enrichment without prejudgment interest for the period July 12, 2014 through August 8, 2017 is equal to 2014 through 2016
    shown in lines 1 through 3, and 60.3% (220 out of 365 days) of 2017 unjust enrichment shown above on line 4. The Defendant's cumulative AzoxyProp Xtra unjust enrichment without prejudgment interest for the period July 12, 2014 through June 10, 2017 is equal to 2014 through 2016 shown above in lines
    1 through 3, and 44.1% (161 out of 365 days) of 2017 unjust enrichment for 2017 shown above on line 4. The Defendants' cumulative Azoxystrobin Technical and Tebustrobin SC unjust enrichment without prejudgment interest would remain equal to 2014 through 2016 shown in lines 1 through 3. For all
    four products without prejudgment interest in this scenario, the cumulative unjust enrichment would be 83.7% of total damages on line 5. For all four products with prejudgment interest as of July 1, 2017 in this scenario, the cumulative unjust enrichment would be 85.0% of total damages on line 14. For all
    four products with prejudgment interest as of December 31, 2017 in this scenario, the cumulative unjust enrichment would be 88.0% of total damages on line 14.




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                           Exhibit 16.a
Damages Summary - Without Prejudgment Interest
$ in thousands

                                                                                                                                                      Without Prejudgment Interest
                                                                                                                                   A              B             C          D = Max(A or C) E = Max(A or B)
                                                                                                                                              Total Unjust  Total Unjust
                                                                                                                                 Total Lost   Enrichment     Enrichment
    Allegation                                                                Line   Source                                         Profits          Sales        Profits            Conclusion

                                                                                              Patent Infringement

    Infringement of the '076 Patent                                            1     Exh. 9.a - Line 9                       $     75,663            N/A            N/A    $       75,663   $      75,663

    Infringement of the '256 Patent                                            2     Exh. 9.a - Line 9                             75,663            N/A            N/A            75,663          75,663

    Infringement of the '138 Patent                                            3     Exh. 11.a - Line 9                           135,522            N/A            N/A           135,522         135,522

    Infringement of the '761 Patent                                            4     Exh. 13.a - Line 9                           273,418            N/A            N/A           273,418         273,418

    Infringement of All Patents                                                5     Exh. 13.a - Line 9                      $    273,418            N/A            N/A    $      273,418   $     273,418



                                                                                          Copyright Infringement

    Infringement of UCO Reg. No. TX0007992684 (Quadris) - Azoxy 2SC            6     Exh. 11.a - Line 9; Exh. 15 - Line 9    $    135,522     $   21,635   $     11,672    $      135,522   $     135,522

    Infringement of UCO Reg. No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra    7     Exh. 11.a - Line 9; Exh. 15 - Line 9         135,522         29,771         14,368           135,522         135,522

    Azoxystrobin Technical                                                     8     Exh. 11.a - Line 9; Exh. 15 - Line 9         135,522          1,643            807           135,522         135,522

    Tebustrobin SC                                                             9     Exh. 11.a - Line 9; Exh. 15 - Line 9         135,522             35             18           135,522         135,522

    Infringement of Both Registrations                                         10    Exh. 11.a - Line 9; Exh. 15 - Line 9    $    135,522     $   53,083   $     26,865    $      135,522   $     135,522




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                 Exhibit 16.b
Damages Summary by Year - Without Prejudgment Interest
$ in thousands

                                                                                            Without Prejudgment Interest
                                                                         A             B                 C            D = Max(A or C) E = Max(A or B)
                                                                                      Cumulative        Cumulative
                                                                        Cumulative         Unjust           Unjust
                                                                             Lost     Enrichment       Enrichment
    Allegation          Line     Source                                    Profits          Sales           Profits              Conclusion

                                                              Patent Infringement
    Infringement of the '076 Patent

      2014               1       Exh. 9.a - Line 6                 $         20,020         N/A               N/A   $         20,020   $       20,020
      2015               2       Exh. 9.a - Line 7                           44,940         N/A               N/A             44,940           44,940
      2016               3       Exh. 9.a - Line 8                           60,388         N/A               N/A             60,388           60,388
      2017               4       Exh. 9.a - Line 9                 $         75,663         N/A               N/A   $         75,663   $       75,663

    Infringement of the '256 Patent

      2014               5       Exh. 9.a - Line 6                 $         20,020         N/A               N/A   $         20,020   $       20,020
      2015               6       Exh. 9.a - Line 7                           44,940         N/A               N/A             44,940           44,940
      2016               7       Exh. 9.a - Line 8                           60,388         N/A               N/A             60,388           60,388
      2017               8       Exh. 9.a - Line 9                 $         75,663         N/A               N/A   $         75,663   $       75,663

    Infringement of the '138 Patent

      2014               9       Exh. 11.a - Line 6                $       33,206           N/A               N/A   $         33,206   $       33,206
      2015               10      Exh. 11.a - Line 7 1                      89,007           N/A               N/A             89,007           89,007
      2016               11      Exh. 11.a - Line 8 1                     125,018           N/A               N/A            125,018          125,018
      2017               12      Exh. 11.a - Line 9 1              $      135,522           N/A               N/A   $        135,522   $      135,522

    Infringement of the '761 Patent

      2014               13      Exh. 13.a - Line 6                $       33,206           N/A               N/A   $         33,206   $       33,206
      2015               14      Exh. 13.a - Line 7                        89,007           N/A               N/A             89,007           89,007
      2016               15      Exh. 13.a - Line 8                       183,627           N/A               N/A            183,627          183,627
      2017               16      Exh. 13.a - Line 9                $      273,418           N/A               N/A   $        273,418   $      273,418




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                    Exhibit 16.b
Damages Summary by Year - Without Prejudgment Interest
$ in thousands

                                                                                                                                  Without Prejudgment Interest
                                                                                                       A                     B                 C            D = Max(A or C) E = Max(A or B)
                                                                                                                            Cumulative        Cumulative
                                                                                                      Cumulative                 Unjust           Unjust
                                                                                                           Lost             Enrichment       Enrichment
    Allegation            Line     Source                                                                Profits                  Sales           Profits              Conclusion

                                                                                          Copyright Infringement
    Infringement of UCO Registration No. TX0007992684 (Quadris) - Azoxy 2SC

      2014                 17      Exh. 11.a - Line 6; Exh. 15 - Line 6                        $          33,206      $           4,420    $           2,243     $          33,206    $          33,206
      2015                 18      Exh. 11.a - Line 7; Exh. 15 - Line 7                                   89,007                  7,906                4,011                89,007               89,007
      2016                 19      Exh. 11.a - Line 8; Exh. 15 - Line 8                                  125,018                 15,362                8,172               125,018              125,018
      2017                 20      Exh. 11.a - Line 9; Exh. 15 - Line 9 2                      $         135,522      $          21,635    $          11,672     $         135,522    $         135,522

    Infringement of UCO Registration No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra

      2014                 21      Exh. 11.a - Line 6; Exh. 15 - Line 6                        $          33,206      $           2,509    $           1,185     $          33,206    $          33,206
      2015                 22      Exh. 11.a - Line 7; Exh. 15 - Line 7                                   89,007                  5,533                2,615                89,007               89,007
      2016                 23      Exh. 11.a - Line 8; Exh. 15 - Line 8                                  125,018                 18,697                8,998               125,018              125,018
      2017                 24      Exh. 11.a - Line 9; Exh. 15 - Line 9 2                      $         135,522      $          29,771    $          14,368     $         135,522    $         135,522

    Azoxystrobin Technical

      2014                 25      Exh. 11.a - Line 6; Exh. 15 - Line 6                        $          33,206      $             -      $             -       $          33,206    $          33,206
      2015                 26      Exh. 11.a - Line 7; Exh. 15 - Line 7                                   89,007                  1,643                  807                89,007               89,007
      2016                 27      Exh. 11.a - Line 8; Exh. 15 - Line 8                                  125,018                  1,643                  807               125,018              125,018
      2017                 28      Exh. 11.a - Line 9; Exh. 15 - Line 9                        $         135,522      $           1,643    $             807     $         135,522    $         135,522

    Tebustrobin SC

      2014                 29      Exh. 11.a - Line 6; Exh. 15 - Line 6                        $          33,206      $              -     $             -       $          33,206    $          33,206
      2015                 30      Exh. 11.a - Line 7; Exh. 15 - Line 7                                   89,007                     -                   -                  89,007               89,007
      2016                 31      Exh. 11.a - Line 8; Exh. 15 - Line 8                                  125,018                      35                  18               125,018              125,018
      2017                 32      Exh. 11.a - Line 9; Exh. 15 - Line 9                        $         135,522      $               35   $              18     $         135,522    $         135,522


Notes:
(1) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages are equal to the 2014 damages shown above in Line
    9 (or Exhibit 11.a - Line 1) plus 93.7% (342 out of 365 days) of the 2015 damages shown above as the difference between Line 10 and Line 9 (or Exhibit 11.a - Line 2).
(2) Alternatively, if the Finder of Fact determines infringement ceased 18 months after the EPA approved the Defendants' revised labels, the Defendants' Azoxy 2SC unjust enrichment for the period July
    12, 2014 through August 8, 2017 is equal to 2014 through 2016 shown in line 19 (or Exhibit 15 - Lines 1-3), and 60.3% of 2017 unjust enrichment shown above as the difference between Line 20
    and Line 19 (or Exhibit 15 - Line 4). The Defendant's AzoxyProp Xtra unjust enrichment for the period July 12, 2014 through June 10, 2017 is equal to 2014 through 2016 shown above in line 23 (or
    Exhibit 15 - Lines 1-3), and 44.1% of 2017 unjust enrichment for 2017 shown above as the difference between Line 24 and Line 23 (or Exhibit 15 - Line 4). The Defendants' cumulative
    Azoxystrobin Technical and Tebustrobin SC unjust enrichment without prejudgment interest would remain equal to Lines 27 and 31, respectively. For all four products without prejudgment interest
    in this scenario, the cumulative unjust enrichment would be 83.7% of total damages, which is the sum of Lines 20, 24, 28, and 32 above (or Exhibit 15 - Line 5).




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                              Exhibit 16.c
Damages Summary - Including Prejudgment Interest as of July 1, 2017
$ in thousands

                                                                                                                                                         Including Prejudgment Interest
                                                                                                                                   A                  B              C         D = Max(A or C) E = Max(A or B)
                                                                                                                                                  Total Unjust Total Unjust
                                                                                                                                 Total Lost       Enrichment     Enrichment
    Allegation                                                                Line   Source                                         Profits              Sales        Profits            Conclusion

                                                                                              Patent Infringement

    Infringement of the '076 Patent                                            1     Exh. 9.a - Line 18                      $     85,691                N/A           N/A     $       85,691   $      85,691

    Infringement of the '256 Patent                                            2     Exh. 9.a - Line 18                            85,691                N/A           N/A             85,691          85,691

    Infringement of the '138 Patent                                            3     Exh. 11.a - Line 18                          155,301                N/A           N/A            155,301         155,301

    Infringement of the '761 Patent                                            4     Exh. 13.a - Line 18                          297,885                N/A           N/A            297,885         297,885

    Infringement of All Patents                                                5     Exh. 13.a - Line 18                     $    297,885                N/A           N/A     $      297,885   $     297,885



                                                                                          Copyright Infringement

    Infringement of UCO Reg. No. TX0007992684 (Quadris) - Azoxy 2SC            6     Exh. 11.a - Line 9; Exh. 15 - Line 18   $    155,301     $       23,850   $    12,826    $       155,301   $     155,301

    Infringement of UCO Reg. No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra    7     Exh. 11.a - Line 9; Exh. 15 - Line 18        155,301             31,910        15,392            155,301         155,301

    Azoxystrobin Technical                                                     8     Exh. 11.a - Line 9; Exh. 15 - Line 18        155,301              1,905           936            155,301         155,301

    Tebustrobin SC                                                             9     Exh. 11.a - Line 9; Exh. 15 - Line 18        155,301                 37            19            155,301         155,301

    Infringement of Both Registrations                                         10    Exh. 11.a - Line 9; Exh. 15 - Line 18   $    155,301     $       57,703   $    29,173    $       155,301   $     155,301




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                            Exhibit 16.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017
$ in thousands

                                                                                                Including Prejudgment Interest 3
                                                                         A                  B                  C            D = Max(A or C) E = Max(A or B)
                                                                                           Cumulative         Cumulative
                                                                        Cumulative              Unjust            Unjust
                                                                             Lost          Enrichment        Enrichment
    Allegation           Line         Source                               Profits               Sales            Profits              Conclusion

                                                                    Patent Infringement
    Infringement of the '076 Patent

       2014                1          Exh. 9.a - Line 15        $            24,825              N/A               N/A    $        24,825   $        24,825
       2015                2          Exh. 9.a - Line 16                     53,732              N/A               N/A             53,732            53,732
       2016                3          Exh. 9.a - Line 17                     70,416              N/A               N/A             70,416            70,416
       2017                4          Exh. 9.a - Line 18        $            85,691              N/A               N/A    $        85,691   $        85,691

    Infringement of the '256 Patent

       2014                5          Exh. 9.a - Line 15        $            24,825              N/A               N/A    $        24,825   $        24,825
       2015                6          Exh. 9.a - Line 16                     53,732              N/A               N/A             53,732            53,732
       2016                7          Exh. 9.a - Line 17                     70,416              N/A               N/A             70,416            70,416
       2017                8          Exh. 9.a - Line 18        $            85,691              N/A               N/A    $        85,691   $        85,691

    Infringement of the '138 Patent

       2014                9          Exh. 11.a - Line 15       $           41,175               N/A               N/A    $        41,175   $        41,175
       2015               10          Exh. 11.a - Line 16 1                105,905               N/A               N/A            105,905           105,905
       2016               11          Exh. 11.a - Line 17 1                144,796               N/A               N/A            144,796           144,796
       2017               12          Exh. 11.a - Line 18 1     $          155,301               N/A               N/A    $       155,301   $       155,301

    Infringement of the '761 Patent

       2014               13          Exh. 13.a - Line 15       $           41,175               N/A               N/A    $        41,175   $        41,175
       2015               14          Exh. 13.a - Line 16                  105,905               N/A               N/A            105,905           105,905
       2016               15          Exh. 13.a - Line 17                  208,095               N/A               N/A            208,095           208,095
       2017               16          Exh. 13.a - Line 18       $          297,885               N/A               N/A    $       297,885   $       297,885




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                                Case 1:15-cv-00274-CCE-JEP    Document 148-1              Filed 04/10/17      Page 95 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                      Exhibit 16.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017
$ in thousands

                                                                                                          Including Prejudgment Interest 3
                                                                                      A               B                  C            D = Max(A or C) E = Max(A or B)
                                                                                                     Cumulative         Cumulative
                                                                                  Cumulative              Unjust            Unjust
                                                                                       Lost          Enrichment        Enrichment
    Allegation          Line     Source                                              Profits               Sales            Profits              Conclusion

                                                                           Copyright Infringement
    Infringement of UCO Registration No. TX0007992684 (Quadris) - Azoxy 2SC

       2014               17     Exh. 11.a - Line 15; Exh. 15 - Line 15     $          41,175   $        5,481       $     2,781      $      41,175   $        41,175
       2015               18     Exh. 11.a - Line 16; Exh. 15 - Line 16               105,905            9,525             4,833            105,905           105,905
       2016               19     Exh. 11.a - Line 17; Exh. 15 - Line 17               144,796           17,577             9,326            144,796           144,796
       2017               20     Exh. 11.a - Line 18; Exh. 15 - Line 18 2   $         155,301   $       23,850       $    12,826      $     155,301   $       155,301

    Infringement of UCO Registration No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra

       2014               21     Exh. 11.a - Line 15; Exh. 15 - Line 15     $          41,175   $        3,111       $     1,470      $      41,175   $        41,175
       2015               22     Exh. 11.a - Line 16; Exh. 15 - Line 16               105,905            6,619             3,128            105,905           105,905
       2016               23     Exh. 11.a - Line 17; Exh. 15 - Line 17               144,796           20,836            10,022            144,796           144,796
       2017               24     Exh. 11.a - Line 18; Exh. 15 - Line 18 2   $         155,301   $       31,910       $    15,392      $     155,301   $       155,301

    Azoxystrobin Technical

       2014               25     Exh. 11.a - Line 15; Exh. 15 - Line 15     $          41,175   $           -        $      -         $      41,175   $        41,175
       2015               26     Exh. 11.a - Line 16; Exh. 15 - Line 16               105,905             1,905             936             105,905           105,905
       2016               27     Exh. 11.a - Line 17; Exh. 15 - Line 17               144,796             1,905             936             144,796           144,796
       2017               28     Exh. 11.a - Line 18; Exh. 15 - Line 18     $         155,301   $         1,905      $      936       $     155,301   $       155,301

    Tebustrobin SC

       2014               29     Exh. 11.a - Line 15; Exh. 15 - Line 15     $          41,175   $           -        $       -        $      41,175   $        41,175
       2015               30     Exh. 11.a - Line 16; Exh. 15 - Line 16               105,905               -                -              105,905           105,905
       2016               31     Exh. 11.a - Line 17; Exh. 15 - Line 17               144,796                   37               19         144,796           144,796
       2017               32     Exh. 11.a - Line 18; Exh. 15 - Line 18     $         155,301   $               37   $           19   $     155,301   $       155,301




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                               Case 1:15-cv-00274-CCE-JEP                   Document 148-1          Filed 04/10/17       Page 96 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                Exhibit 16.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017
$ in thousands

Notes:
(1) (a) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages with prejudgment interest as of July 1,
        2017 are equal to the 2014 damages shown above in Line 9 (or Exhibit 11.a - Line 10) plus 93.7% (342 out of 365 days) of the 2015 damages shown above as the difference between
        Line 10 and Line 9 (or Exhibit 11.a - Line 11).
    (b) If the judgment date was December 31, 2017 for this scenario, the cumulative damages would be 103.2% of the 2014 damages shown in Line 9 (or Exhibit 11.a - Line 10) and 96.9% of
        the 2015 damages shown above as the difference between Line 10 and Line 9 (or Exhibit 11.a - Line 11).
(2) (a) Alternatively, if the Finder of Fact determines infringement ceased 18 months after the EPA approved the Defendants' revised labels, the Defendants' Azoxy 2SC unjust enrichment with
        prejudgment interest as of July 1, 2017 for the period July 12, 2014 through August 8, 2017 is equal to 2014 through 2016 shown in line 19 (or Exhibit 15 - Lines 10-12), and 60.3% of
        2017 unjust enrichment shown above as the difference between Line 20 and Line 19 (or Exhibit 15 - Line 13). The Defendant's AzoxyProp Xtra unjust enrichment with prejudgment
        interest as of July 1, 2017 for the period July 12, 2014 through June 10, 2017 is equal to 2014 through 2016 shown above in line 23 (or Exhibit 15 - Lines 10-12), and 44.1% of 2017
        unjust enrichment for 2017 shown above as the difference between Line 24 and Line 23 (or Exhibit 15 - Line 13). The Defendants' cumulative Azoxystrobin Technical and Tebustrobin
        SC unjust enrichment with prejudgment interest as of July 1, 2017 would remain equal to Line 27 and Line 31, respectively (or Exhibit 15 - Lines 10-12).
    (b) For all four products with prejudgment interest as of July 1, 2017 in this scenario, the cumulative unjust enrichment would be 85.0% of total damages, which is the sum of Lines 20, 24,
        28, and 32 above (or Exhibit 15 - Line 14).
    (c) For all four products with prejudgment interest as of December 31, 2017 in this scenario, the cumulative unjust enrichment would be 88.0% of total damages, which is the sum of Lines
        20, 24, 28, and 32 above (or Exhibit 15 - Line 14).
(3) (a) For the Infringement of the '076 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 1-4) would equal $25,625, $55,529, $72,831, and $88,717, respectively (See Exhibit 9.a).
    (b) For the Infringement of the '256 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 5-8) would equal $25,625, $55,529, $72,831, and $88,717, respectively (See Exhibit 9.a).
    (c) For the Infringement of the '138 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 9-12) would equal $42,504, $109,465, $149,797, and $160,722, respectively (See Exhibit 11.a).
    (d) For the Infringement of the '761 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 13-16) would equal $42,504, $109,465, $215,440, and $308,822, respectively (See Exhibit 13.a).
    (e) For the Infringement of UCO Registration Nos. TX0007992684 and TX0007994113, if the judgment date was December 31, 2017, the cumulative Unjust Enrichment with Prejudgment
        Interest of Total Sales for 2014 through 2017 (lines 17-20, 21-24, 25-28, and 29-32) would equal $8,869, $18,653, $41,785, and $59,826, respectively (See Exhibit 15).
    (f) For the Infringement of UCO Registration Nos. TX0007992684 and TX0007994113, if the judgment date was December 31, 2017, the cumulative Unjust Enrichment with Prejudgment
        Interest of Total Profits for 2014 through 2017 (lines 17-20, 21-24, 25-28, and 29-32) would equal $4,388, $9,194, $21,023, and $30,248, respectively (See Exhibit 15).




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                  Exhibit 17.a
Damages Summary - Without Prejudgment Interest and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                                                              Without Prejudgment Interest
                                                                                                                                       A                  B             C          D = Max(A or C) E = Max(A or B)
                                                                                                                                                      Total Unjust Total Unjust
                                                                                                                                     Total Lost       Enrichment     Enrichment
    Allegation                                                                  Line    Source                                          Profits              Sales        Profits            Conclusion

                                                                        Patent Infringement (Excluding Losses Potentially Due to Cheminova)

    Infringement of the '076 Patent                                               1     Exh. 10.a - Line 9                       $     34,435                N/A           N/A     $       34,435   $      34,435

    Infringement of the '256 Patent                                               2     Exh. 10.a - Line 9                             34,435                N/A           N/A             34,435          34,435

    Infringement of the '138 Patent                                               3     Exh. 12.a - Line 7                             66,420                N/A           N/A             66,420          66,420

    Infringement of the '761 Patent                                               4     Exh. 14.a - Line 9                            130,786                N/A           N/A            130,786         130,786

    Infringement of All Patents                                                   5     Exh. 14.a - Line 9                       $    130,786                N/A           N/A     $      130,786   $     130,786



                                                                                              Copyright Infringement

    Infringement of UCO Reg. No. TX0007992684 (Quadris) - Azoxy 2SC               6     Exh. 12.a - Line 7; Exh. 15 - Line 9     $     66,420     $       21,635   $    11,672    $        66,420   $      66,420

    Infringement of UCO Reg. No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra       7     Exh. 12.a - Line 7; Exh. 15 - Line 9           66,420             29,771        14,368             66,420          66,420

    Azoxystrobin Technical                                                        8     Exh. 12.a - Line 7; Exh. 15 - Line 9           66,420              1,643           807             66,420          66,420

    Tebustrobin SC                                                                9     Exh. 12.a - Line 7; Exh. 15 - Line 9           66,420                 35            18             66,420          66,420

    Infringement of Both Registrations                                           10     Exh. 12.a - Line 7; Exh. 15 - Line 9     $     66,420     $       53,083   $    26,865    $        66,420   $      66,420




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                                         Case 1:15-cv-00274-CCE-JEP                       Document 148-1                       Filed 04/10/17              Page 98 of 104
Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                       Exhibit 17.b
Damages Summary by Year - Without Prejudgment Interest and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                  Without Prejudgment Interest
                                                                                          A                  B                 C            D = Max(A or C) E = Max(A or B)
                                                                                                            Cumulative       Cumulative
                                                                                        Cumulative               Unjust           Unjust
                                                                                             Lost           Enrichment       Enrichment
    Allegation         Line      Source                                                    Profits                Sales           Profits              Conclusion

                                                        Patent Infringement (Excluding Losses Potentially Due to Cheminova)
    Infringement of the '076 Patent

      2014               1       Exh. 10.a - Line 6                                $          14,118                N/A            N/A     $        14,118   $       14,118
      2015               2       Exh. 10.a - Line 7                                           27,959                N/A            N/A              27,959           27,959
      2016               3       Exh. 10.a - Line 8                                           31,674                N/A            N/A              31,674           31,674
      2017               4       Exh. 10.a - Line 9                                $          34,435                N/A            N/A     $        34,435   $       34,435

    Infringement of the '256 Patent

      2014               5       Exh. 10.a - Line 6                                $          14,118                N/A            N/A     $        14,118   $       14,118
      2015               6       Exh. 10.a - Line 7                                           27,959                N/A            N/A              27,959           27,959
      2016               7       Exh. 10.a - Line 8                                           31,674                N/A            N/A              31,674           31,674
      2017               8       Exh. 10.a - Line 9                                $          34,435                N/A            N/A     $        34,435   $       34,435

    Infringement of the '138 Patent

      2014               9       Exh. 12.a - Line 5                                $          23,417                N/A            N/A     $        23,417   $       23,417
      2015               10      Exh. 12.a - Line 6 1                                         55,537                N/A            N/A              55,537           55,537
      2016               11      Exh. 12.a - Line 7 1                                         66,420                N/A            N/A              66,420           66,420
      2017               12      Exh. 12.a - Line 7 1                              $          66,420                N/A            N/A     $        66,420   $       66,420

    Infringement of the '761 Patent

      2014               13      Exh. 14.a - Line 6                                $        23,417                  N/A            N/A     $        23,417   $       23,417
      2015               14      Exh. 14.a - Line 7                                         55,537                  N/A            N/A              55,537           55,537
      2016               15      Exh. 14.a - Line 8                                        100,899                  N/A            N/A             100,899          100,899
      2017               16      Exh. 14.a - Line 9                                $       130,786                  N/A            N/A     $       130,786   $      130,786




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                                Exhibit 17.b
Damages Summary by Year - Without Prejudgment Interest and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                               Without Prejudgment Interest
                                                                                                     A                    B                 C            D = Max(A or C) E = Max(A or B)
                                                                                                                         Cumulative       Cumulative
                                                                                                   Cumulative                 Unjust           Unjust
                                                                                                        Lost             Enrichment       Enrichment
    Allegation           Line      Source                                                             Profits                  Sales           Profits              Conclusion

                                                                                        Copyright Infringement
    Infringement of UCO Registration No. TX0007992684 (Quadris) - Azoxy 2SC

      2014                17       Exh. 12.a - Line 5; Exh. 15 - Line 6                      $           23,417    $           4,420    $          2,243      $         23,417    $         23,417
      2015                18       Exh. 12.a - Line 6; Exh. 15 - Line 7                                  55,537                7,906               4,011                55,537              55,537
      2016                19       Exh. 12.a - Line 7; Exh. 15 - Line 8                                  66,420               15,362               8,172                66,420              66,420
      2017                20       Exh. 12.a - Line 7; Exh. 15 - Line 9 2                    $           66,420    $          21,635    $         11,672      $         66,420    $         66,420

    Infringement of UCO Registration No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra

      2014                21       Exh. 12.a - Line 5; Exh. 15 - Line 6                      $           23,417    $           2,509    $          1,185      $         23,417    $         23,417
      2015                22       Exh. 12.a - Line 6; Exh. 15 - Line 7                                  55,537                5,533               2,615                55,537              55,537
      2016                23       Exh. 12.a - Line 7; Exh. 15 - Line 8                                  66,420               18,697               8,998                66,420              66,420
      2017                24       Exh. 12.a - Line 7; Exh. 15 - Line 9 2                    $           66,420    $          29,771    $         14,368      $         66,420    $         66,420

    Azoxystrobin Technical

      2014                25       Exh. 12.a - Line 5; Exh. 15 - Line 6                      $           23,417    $             -      $            -        $         23,417    $         23,417
      2015                26       Exh. 12.a - Line 6; Exh. 15 - Line 7                                  55,537                1,643                 807                55,537              55,537
      2016                27       Exh. 12.a - Line 7; Exh. 15 - Line 8                                  66,420                1,643                 807                66,420              66,420
      2017                28       Exh. 12.a - Line 7; Exh. 15 - Line 9                      $           66,420    $           1,643    $            807      $         66,420    $         66,420

    Tebustrobin SC

      2014                29       Exh. 12.a - Line 5; Exh. 15 - Line 6                      $           23,417    $              -     $             -       $         23,417    $         23,417
      2015                30       Exh. 12.a - Line 6; Exh. 15 - Line 7                                  55,537                   -                   -                 55,537              55,537
      2016                31       Exh. 12.a - Line 7; Exh. 15 - Line 8                                  66,420                    35                  18               66,420              66,420
      2017                32       Exh. 12.a - Line 7; Exh. 15 - Line 9                      $           66,420    $               35   $              18     $         66,420    $         66,420


Notes:
(1) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages are equal to the 2014 damages shown above in
    Line 9 (or Exhibit 12.a - Line 1) plus 93.7% (342 out of 365 days) of the 2015 damages shown above as the difference between Line 10 and Line 9 (or Exhibit 12.a - Line 2).
(2) Alternatively, if the Finder of Fact determines infringement ceased 18 months after the EPA approved the Defendants' revised labels, the Defendants' Azoxy 2SC unjust enrichment for the period
    July 12, 2014 through August 8, 2017 is equal to 2014 through 2016 shown in line 19 (or Exhibit 15 - Lines 1-3), and 60.3% of 2017 unjust enrichment shown above as the difference between
    Line 20 and Line 19 (or Exhibit 15 - Line 4). The Defendant's AzoxyProp Xtra unjust enrichment for the period July 12, 2014 through June 10, 2017 is equal to 2014 through 2016 shown above in
    line 23 (or Exhibit 15 - Lines 1-3), and 44.1% of 2017 unjust enrichment for 2017 shown above as the difference between Line 24 and Line 23 (or Exhibit 15 - Line 4). The Defendants' cumulative
    Azoxystrobin Technical and Tebustrobin SC unjust enrichment without prejudgment interest would remain equal to Lines 27 and 31, respectively. For all four products without prejudgment
    interest in this scenario, the cumulative unjust enrichment would be 83.7% of total damages, which is the sum of Lines 20, 24, 28, and 32 above (or Exhibit 15 - Line 5).




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                                               Exhibit 17.c
Damages Summary - Including Prejudgment Interest as of July 1, 2017 and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                                                         Including Prejudgment Interest
                                                                                                                                       A              B              C         D = Max(A or C) E = Max(A or B)
                                                                                                                                                  Total Unjust Total Unjust
                                                                                                                                     Total Lost   Enrichment Enrichment
    Allegation                                                                 Line     Source                                          Profits          Sales        Profits            Conclusion

                                                                        Patent Infringement (Excluding Losses Potentially Due to Cheminova)

    Infringement of the '076 Patent                                              1      Exh. 10.a - Line 18                      $     40,335            N/A           N/A     $       40,335   $      40,335

    Infringement of the '256 Patent                                              2      Exh. 10.a - Line 18                            40,335            N/A           N/A             40,335          40,335

    Infringement of the '138 Patent                                              3      Exh. 12.a - Line 14                            78,050            N/A           N/A             78,050          78,050

    Infringement of the '761 Patent                                              4      Exh. 14.a - Line 18                           145,174            N/A           N/A            145,174         145,174

    Infringement of All Patents                                                  5      Exh. 14.a - Line 18                      $    145,174            N/A           N/A     $      145,174   $     145,174



                                                                                              Copyright Infringement

    Infringement of UCO Reg. No. TX0007992684 (Quadris) - Azoxy 2SC              6      Exh. 12.a - Line 14; Exh. 15 - Line 18   $     78,050     $   23,850   $    12,826    $        78,050   $      78,050

    Infringement of UCO Reg. No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra      7      Exh. 12.a - Line 14; Exh. 15 - Line 18         78,050         31,910        15,392             78,050          78,050

    Azoxystrobin Technical                                                       8      Exh. 12.a - Line 14; Exh. 15 - Line 18         78,050          1,905           936             78,050          78,050

    Tebustrobin SC                                                               9      Exh. 12.a - Line 14; Exh. 15 - Line 18         78,050             37            19             78,050          78,050

    Infringement of Both Registrations                                          10      Exh. 12.a - Line 14; Exh. 15 - Line 18   $     78,050     $   57,703   $    29,173    $        78,050   $      78,050




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                Exhibit 17.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017 and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                                                                    Including Prejudgment Interest 3
                                                                                           A                    B                  C            D = Max(A or C) E = Max(A or B)
                                                                                                               Cumulative         Cumulative
                                                                                          Cumulative                Unjust            Unjust
                                                                                               Lost            Enrichment        Enrichment
    Allegation           Line         Source                                                 Profits                 Sales            Profits              Conclusion

                                                              Patent Infringement (Excluding Losses Potentially Due to Cheminova)
    Infringement of the '076 Patent

       2014                1          Exh. 10.a - Line 15                           $          17,506                 N/A              N/A    $        17,506   $        17,506
       2015                2          Exh. 10.a - Line 16                                      33,562                 N/A              N/A             33,562            33,562
       2016                3          Exh. 10.a - Line 17                                      37,574                 N/A              N/A             37,574            37,574
       2017                4          Exh. 10.a - Line 18                           $          40,335                 N/A              N/A    $        40,335   $        40,335

    Infringement of the '256 Patent

       2014                5          Exh. 10.a - Line 15                           $          17,506                 N/A              N/A    $        17,506   $        17,506
       2015                6          Exh. 10.a - Line 16                                      33,562                 N/A              N/A             33,562            33,562
       2016                7          Exh. 10.a - Line 17                                      37,574                 N/A              N/A             37,574            37,574
       2017                8          Exh. 10.a - Line 18                           $          40,335                 N/A              N/A    $        40,335   $        40,335

    Infringement of the '138 Patent

       2014                9          Exh. 12.a - Line 12                           $          29,037                 N/A              N/A    $        29,037   $        29,037
       2015               10          Exh. 12.a - Line 13 1                                    66,297                 N/A              N/A             66,297            66,297
       2016               11          Exh. 12.a - Line 14 1                                    78,050                 N/A              N/A             78,050            78,050
       2017               12          Exh. 12.a - Line 14 1                         $          78,050                 N/A              N/A    $        78,050   $        78,050

    Infringement of the '761 Patent

       2014               13          Exh. 14.a - Line 15                           $         29,037                  N/A              N/A    $        29,037   $        29,037
       2015               14          Exh. 14.a - Line 16                                     66,297                  N/A              N/A             66,297            66,297
       2016               15          Exh. 14.a - Line 17                                    115,288                  N/A              N/A            115,288           115,288
       2017               16          Exh. 14.a - Line 18                           $        145,174                  N/A              N/A    $       145,174   $       145,174




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                 Exhibit 17.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017 and Excluding Losses Potentially Due to Cheminova
$ in thousands

                                                                           Copyright Infringement
    Infringement of UCO Registration No. TX0007992684 (Quadris) - Azoxy 2SC

       2014               17     Exh. 12.a - Line 12; Exh. 15 - Line 15      $        29,037   $          5,481      $     2,781      $    29,037   $    29,037
       2015               18     Exh. 12.a - Line 13; Exh. 15 - Line 16               66,297              9,525            4,833           66,297        66,297
       2016               19     Exh. 12.a - Line 14; Exh. 15 - Line 17               78,050             17,577            9,326           78,050        78,050
       2017               20     Exh. 12.a - Line 14; Exh. 15 - Line 18 2    $        78,050   $         23,850      $    12,826      $    78,050   $    78,050

    Infringement of UCO Registration No. TX0007994113 (Quilt Xcel) - AzoxyProp Xtra

       2014               21     Exh. 12.a - Line 12; Exh. 15 - Line 15      $        29,037   $          3,111      $     1,470      $    29,037   $    29,037
       2015               22     Exh. 12.a - Line 13; Exh. 15 - Line 16               66,297              6,619            3,128           66,297        66,297
       2016               23     Exh. 12.a - Line 14; Exh. 15 - Line 17               78,050             20,836           10,022           78,050        78,050
       2017               24     Exh. 12.a - Line 14; Exh. 15 - Line 18 2    $        78,050   $         31,910      $    15,392      $    78,050   $    78,050

    Azoxystrobin Technical

       2014               25     Exh. 12.a - Line 12; Exh. 15 - Line 15      $        29,037   $            -        $      -         $    29,037   $    29,037
       2015               26     Exh. 12.a - Line 13; Exh. 15 - Line 16               66,297              1,905             936            66,297        66,297
       2016               27     Exh. 12.a - Line 14; Exh. 15 - Line 17               78,050              1,905             936            78,050        78,050
       2017               28     Exh. 12.a - Line 14; Exh. 15 - Line 18      $        78,050   $          1,905      $      936       $    78,050   $    78,050

    Tebustrobin SC

       2014               29     Exh. 12.a - Line 12; Exh. 15 - Line 15      $        29,037   $            -        $       -        $    29,037   $    29,037
       2015               30     Exh. 12.a - Line 13; Exh. 15 - Line 16               66,297                -                -             66,297        66,297
       2016               31     Exh. 12.a - Line 14; Exh. 15 - Line 17               78,050                    37               19        78,050        78,050
       2017               32     Exh. 12.a - Line 14; Exh. 15 - Line 18      $        78,050   $                37   $           19   $    78,050   $    78,050




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Syngenta Crop Protection, LLC v. Willowood, LLC, et al.                                                                                                                               Exhibit 17.d
Damages Summary by Year - Including Prejudgment Interest as of July 1, 2017 and Excluding Losses Potentially Due to Cheminova
$ in thousands

Notes:
(1) (a) Alternatively, if the Finder of Fact determines infringement ceased December 8, 2015 when the '138 patent expired, then the cumulative damages with prejudgment interest as of July 1,
        2017 are equal to the 2014 damages shown above in Line 9 (or Exhibit 12.a - Line 8) plus 93.7% (342 out of 365 days) of the 2015 damages shown above as the difference between
        Line 10 and Line 9 (or Exhibit 12.a - Line 9).
    (b) If the judgment date was December 31, 2017 for this scenario, the cumulative damages would be 103.2% of the 2014 damages shown in Line 9 (or Exhibit 12.a - Line 8) and 96.9% of
        the 2015 damages shown above as the difference between Line 10 and Line 9 (or Exhibit 12.a - Line 9).
(2) (a) Alternatively, if the Finder of Fact determines infringement ceased 18 months after the EPA approved the Defendants' revised labels, the Defendants' Azoxy 2SC unjust enrichment for
        the period July 12, 2014 through August 8, 2017 is equal to 2014 through 2016 shown in line 19 (or Exhibit 15 - Lines 10-12), and 60.3% of 2017 unjust enrichment shown above as
        the difference between Line 20 and Line 19 (or Exhibit 15 - Line 13). The Defendant's AzoxyProp Xtra unjust enrichment for the period July 12, 2014 through June 10, 2017 is equal to
        2014 through 2016 shown above in line 23 (or Exhibit 15 - Lines 10-12), and 44.1% of 2017 unjust enrichment for 2017 shown above as the difference between Line 24 and Line 23 (or
        Exhibit 15 - Line 13). The Defendants' cumulative Azoxystrobin Technical and Tebustrobin SC unjust enrichment with prejudgment interest as of July 1, 2017 would remain equal to
        Line 27 and Line 31, respectively (or Exhibit 15 - Lines 10-12).
    (b) For all four products with prejudgment interest as of July 1, 2017 in this scenario, the cumulative unjust enrichment would be 85.0% of total damages, which is the sum of Lines 20, 24,
        28, and 32 above (or Exhibit 15 - Line 14).
    (c) For all four products with prejudgment interest as of December 31, 2017 in this scenario, the cumulative unjust enrichment would be 88.0% of total damages, which is the sum of Lines
        20, 24, 28, and 32 above (or Exhibit 15 - Line 14).
(3) (a) For the Infringement of the '076 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 1-4) would equal $18,071, $34,680, $38,841, and $41,713, respectively (See Exhibit 10.a).
    (b) For the Infringement of the '256 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 5-8) would equal $18,071, $34,680, $38,841, and $41,713, respectively (See Exhibit 10.a).
    (c) For the Infringement of the '138 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 9-12) would equal $29,973, $68,518, $80,707, and $80,707, respectively (See Exhibit 12.a).
    (d) For the Infringement of the '761 Patent, if the judgment date was December 31, 2017, the cumulative Lost Profits of AZ Products-at-Issue with Prejudgment Interest for 2014 through
        2017 (lines 13-16) would equal $29,973, $68,518, $119,324, and $150,406, respectively (See Exhibit 14.a).
    (e) For the Infringement of UCO Registration Nos. TX0007992684 and TX0007994113, if the judgment date was December 31, 2017, the cumulative Unjust Enrichment with Prejudgment
        Interest of Total Sales for 2014 through 2017 (lines 17-20, 21-24, 25-28, and 29-32) would equal $8,869, $18,653, $41,785, and $59,826, respectively (See Exhibit 15).
    (f) For the Infringement of UCO Registration Nos. TX0007992684 and TX0007994113, if the judgment date was December 31, 2017, the cumulative Unjust Enrichment with Prejudgment
        Interest of Total Profits for 2014 through 2017 (lines 17-20, 21-24, 25-28, and 29-32) would equal $4,388, $9,194, $21,023, and $30,248, respectively (See Exhibit 15).




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